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           EXHIBIT B
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        \            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                            WASHINGTON, D.C. 20460




                                                                                                                    OFFICE OF
                                                                                                           SOLID WASTE AND EMERGENCY
                                                                                                                    RESPONSE

                                      JUL        7 2001
                                                                                 OSWER 9 3 5 5 . 7 - 0 3 B - P


MEMORANDUM


SUBJECT:       Transmittal of the "Comprehensive Five-Year Review
               Guidance" r

FROM:
            x_J>ffice
                                                    •&Mi
                                            Airing Director
                                       Imergency and Remedial Response

               James's/rEv WoolforcJ, Director
               Federal
                    r
                          Facilities Restoration and Reuse Office

TO:            Superfund National Policy Managers
               Regions 1-10

      The policies and procedures established in the attached
document are intended solely for the guidance of government
personnel in conducting five year reviews at Superfund sites. The
 Comprehensive Five-Year Review Guidance, OSWER 9355.7-03B-P,
 supersedes/replaces all previously issued guidance on this topic.
 This document is available on the Internet at
http : / /www. epa . crov/superf und/pubs . htm. Paper copies of this
•document may be obtained from the OERR Document Center (703-603-
 9232). General questions about this topic should be referred to
 the Hotline at 1-800-424-9346. If you have questions, please
contact your Headquarters Regional Accelerated Response Center.

Attachment




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cc:     Jeff Josephson, Superfund Lead Region Coordinator, Region 2
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                 United States         Office of Emergency       EPA 540-R-01-007
                 Environmental         and Remedial              OSWER No. 9355.7-038-P
                 Protection Agency     Response (5204G)          June 2001


                 Superfund




                      Comprehensive
                     Five-Year Review
          I


                         Guidance




              Office of Emergency and Remedial Response
                  U.S. Environmental Protection Agency
                         Washington, D.C. 20460

                 URL: http://www.epa.gov/superfund/pubs.htm
                    Superfund Information 1-800-424-9346
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                                                                             OSWERNo. 9355.7-03B-P
                                            Preface
        The U.S. Environmental Protection Agency (EPA) is issuing this "Comprehensive Five-
Year Review Guidance" to assist EPA Headquarters (HQ), Regional staff, and support agencies
responsible for conducting five-year reviews under the Comprehensive Environmental Response,
Compensation, and Liability Act (CERCLA). This guidance generally is intended to promote
consistent implementation of the five-year review process.
                                      >


       Section 121 of CERCLA, as amended by the Superfund Amendments and
Reauthorization Act of 1986 (SARA), requires that remedial actions which result in any
hazardous substances, pollutants, or contaminants remaining at the site be subject to a five-year
review. The National Oil and Hazardous Substances Pollution Contingency Plan (NCP) further
provides that remedial actions which result in any hazardous substances, pollutants, or
contaminants remaining at the site above levels that allow for unlimited use and unrestricted
exposure be reviewed every five years to ensure protection of human health and the environment.

       The Five-Year Review requirement applies to all remedial actions selected under
CERCLA §121. Therefore, sites with CERCLA remedial actions may be subject to a five-year
review. Consistent with Executive Order (EO) 12580, other Federal agencies are responsible for
ensuring that five-year reviews are conducted at sites where five-year reviews are required or
appropriate.

       This guidance is designed and intended to:

       •       Provide an approach for conducting five-year reviews;

       •      Facilitate consistency across the ten EPA Regions;

       •      Clarify current policy; and

       •      Discuss roles and responsibilities of various entities in conducting or supporting
              five-year reviews.

       This guidance supersedes the following directives on five-year reviews:

       •      Office of Solid Waste and Emergency Response (OSWER) Directive 9355.7-02
              (May 23, 1991), Structure and Components of Five-Year Reviews;

       •      OSWER Directive 9355.7-02FS1 (August 1991), Factsheet: Structure and
              Components of Five-Year Reviews;
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                                                                                   OSWERNo. 9355.7-03B-P
                OSWER Directive 9355.7-02A (July 26, 1994), Supplemental Five-Year Review
                Guidance; and

        •       OSWER Directive 9355.7-03A (December 21, 1995), Second Supplemental Five-
                Year Review Guidance.

       In addition, this guidance updates and supersedes the text regarding five-year reviews in:

        •       OSWER 9200.1-23P (July 1999), A Guide to Preparing Superfund Proposed
                Plans, Records of Decision, and Other Remedy Selection Decision Documents.

     Questions or comments concerning this guidance should be directed to the appropriate
EPA Headquarters Regional Center.




 The policies and procedures established in this document are intended solely for the guidance of
 government personnel. They are not intended, and cannot be relied upon to create any rights,
 substantive or procedural, enforceable by any party in litigation with the United States. The Agency
 reserves the right to act at variance with these policies and procedures and to change them at any time
 without public notice.

This document provides guidance to EPA Regions concerning how the Agency intends to exercise its
discretion in implementing one aspect of the CERCLA remedy selection process. The guidance is
designed to implement national policy on these issues.

Some of the statutory provisions described in this document contain legally binding requirements.
However, this document is not a substitute for those provisions or regulations, nor is it a regulation
itself. Thus, it cannot impose legally-binding requirements on EPA, States, or the regulated
community, and may not apply to a particular situation based upon the circumstances. Any decisions
regarding a particular remedy selection decision will be made based on the statute and regulations,
and EPA decision makers retain the discretion to adopt approaches on a case-by-case basis that differ
from this guidance where appropriate. EPA may change this guidance in the future.
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                               List of Acronyms
AOC       Administrative Order on Consent
ARARs     Applicable or Relevant and Appropriate Requirements
CA        Cooperative Agreement                                              ^
CAG       Community Advisory Group
CD        Consent Decree
CERCLA    Comprehensive Environmental Response, Compensation, and Liability Act
CERCLIS   Comprehensive Environmental Response, Compensation, and Liability
          Information System
CFR       Code of Federal Regulations
CIC       Community Involvement Coordinator
CIP       Community Involvement Plan
DOD       Department of Defense
DOE       Department of Energy
EO        Executive Order
EPA       United States Environmental Protection Agency
ESD       Explanation of Significant Differences
FCOR      Final Close Out Report
FFA       Federal Facility Agreement
FFRRO     Federal Facilities Restoration and Reuse Office
FR        Federal Register
HASP      Health and Safety Plan
LAG       Lnteragency Agreement
1C        Institutional Control
IRIS      Integrated Risk Information System
LOAEL     Lowest Observed Adverse Effect Level
MCLs      Maximum Contaminant Levels
MNA       Monitored Natural Attenuation
NCP       National Oil and Hazardous Substances Pollution Contingency Plan
NOAEL     No Observed Adverse Effect Level
NPL       National Priorities List
O&M       Operation and Maintenance
OECA      Office of Enforcement and Compliance Assurance
OERR      Office of Emergency and Remedial Response
OSHA      Occupational Safety and Health Administration
OSWER     Office of Solid Waste and Emergency Response
OU        Operable Unit
PCOR      Preliminary Close Out Report
PRP       Potentially Responsible Party
RA        Remedial Action
RAGS      Risk Assessment Guidance for Superfund


                                        VII
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RAO        Remedial Action Objective
RCRA       Resource Conservation and Recovery Act
RD/RA      Remedial Design/Remedial Action
RI/FS      Remedial Investigation/Feasibility Study
ROD        Record of Decision
RPM        Remedial Project Manager
SARA       Superfund Amendments and Reauthorization Act of 1986
SMOA       Superfund Memorandum of Agreement
SPIM       Superfund Program Implementation Manual
SSC        Superfund State Contract
TAG        Technical Assistance Grant
TBCs       To Be Considereds
USAGE      United States Army Corps of Engineers
USCG       United States Coast Guard
UU/UE      Unlimited Use/Unrestricted Exposure
WasteLan   The Regional database related to CERCLIS
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1.0     OVERVIEW

         This chapter covers the purpose of five-year reviews, when are reviews required or
appropriate, discontinuation of five-year reviews, and triggering actions for five-year reviews.
This chapter also discusses the application of the Five-Year Review policy to sites with multiple
operable units (OUs), division of large complex sites, pre- and post-Superfund Amendments and
Reauthorization Act of 1986 (SARA) sites, Records of Decision (RODs), arid deleted or partially
deleted sites. You will also find information on Comprehensive Environmental Response,
Compensation, and Liability Act (CERCLA) remedial actions (RAs), CERCLA remedial actions
at sites with Resource Conservation and Recovery Act (RCRA) response, and interim/early
remedial actions. Finally, the chapter discusses how no action or no further action RODs,
monitored natural attenuation (MNA), and institutional controls (ICs) impact five-year reviews.

1.1     What is the purpose of a five-year review?

        The purpose of a five-year review is to evaluate the implementation and performance of a
remedy in order to determine if the remedy is or will be protective of human health and the
environment. Protectiveness is generally defined in the National Contingency Plan (NCP) by the
risk range and the hazard index (HI). Evaluation of the remedy and the determination of
protectiveness should be based on and sufficiently supported by data and observations.

1.2     When are five-year reviews required or appropriate?

         Five-year reviews should be conducted either to meet the statutory mandate under
CERCLA §121(c) or as a matter of EPA policy. Consequently, five-year reviews are classified
in this guidance as either "statutory" or "policy." The Five-Year Review requirement applies to
all remedial actions selected under CERCLA §121. Regions may also conduct other five-year
reviews at their discretion.

        You should consider a number of factors when determining whether to conduct a five-
year review, as discussed in the following two sections (see Sections 1.2.1 and 1.2.2). In general,
five-year reviews are required whenever a remedial action results in hazardous substances,
pollutants, or contaminants remaining on site. Under the Agency's interpretation contained in
the NCP, the requirement in CERCLA §121(c) is triggered when remaining on-site hazardous
substances, pollutants, or contaminants are above levels that allow for "unlimited use and
unrestricted exposure." See 40 CFR §300.430(f)(4)(ii).

CERCLA §121(c) states the following:

        If the President selects a remedial action that results in any hazardous
        substances, pollutants, or contaminants remaining at the site, the President shall
        review such remedial action no less often than each five years after the initiation
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        of such remedial action to assure that human health and the environment are
        being protected by the remedial action being implemented. In addition, if upon
        such review it is the judgment of the President that action is appropriate at such
        site in accordance with section [104] or [106], the President shall take or require
        such action. The President shall report to the Congress a list of facilities for
        which such review is required, the results of all such reviews, and any actions
        taken as a result of such reviews.

      The Agency interpreted this requirement further in the National Contingency Plan (NCP)
(40 CFR §300.430(f)(4)(ii)) which states:

        If a remedial action is selected that results in hazardous substances, pollutants, or
        contaminants remaining at the site above levels that allow for unlimited use and
        unrestricted exposure, the lead agency shall review such action no less often than
        every five years after the initiation of the selected remedial action.

        "Unlimited use and unrestricted exposure" (UU/UE) means that the selected remedy will
place no restrictions on the potential use of land or other natural resources. In general, if the
selected remedy relies on restrictions of land and/or groundwater use by humans and/or
ecological populations to be protective, then the use has been limited and a five-year review
should be conducted. For example, if a site is cleaned up to an industrial-use level, and/or other
types of uses are restricted (e.g., residential use), then, generally, UU/UE is not met. Exhibit 1-1,
"Types of Actions Sabject to Five-Year Reviews," provides examples of the types of remedial
actions subject to statutory and policy reviews.

1.2.1 When is a statutory review required?

        CERCLA requires five-year reviews if both of the following conditions are true:

        •        Upon completion of the remedial action, hazardous substances, pollutants, or
                 contaminants will remain on site'; and

        •        The ROD for the site was signed on or after October 17, 1986 (the effective date
                 of SARA 2 ) and the remedial action was selected under CERCLA §121.




          The general response authority of CERCLA § 104(c)(4) applies to both removal and remedial actions.
I04(c)(4). Also see 40 CFR §3()0.430(f)(4)(ii).

        ~ Generally, SARA became effective the date it was passed (October 17, 1986). See Pub. L. 99-499, Oct.
17, 1986, lOOStat. 1672.

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 Exhibit 1-1: Types of Actions Subject to Five-Year Reviews

 If the action/site is ...                then a review is .            and examples of actions or
                                                                        components of actions include ...

 a post-SARA remedial action that,        required by statute              waste stabilization, fixation, or
 upon completion, will leave                                               encapsulation on site
 hazardous substances, pollutants, or                                      landfill cap or covers and slurry walls
 contaminants on site above levels                                         institutional controls
 that allow for unlimited use and                                          sediment capping
 unrestricted exposure
 a pre- or post-SARA remedial             conducted as a matter of         long-term monitored natural
 action that, upon completion, will not   EPA policy, until cleanup        attenuation
 leave hazardous substances,              levels are achieved,             long-term groundwater pump and
 pollutants, or contaminants on site      allowing unlimited use and       treatment
 above levels that allow for unlimited    unrestricted exposure            long-term bioremediation of
 use and unrestricted exposure, but                                        groundwater or soil
 requires five or more years to                                            other long-term remedies, such as soil
 complete                                                                  washing and land farming
                                                                           monitored natural recovery
                                                                           (sediments)
 a pre-SARA remedial action that will     conducted as a matter of         waste stabilization, fixation, or
 leave hazardous substances,              EPA policy                       encapsulation on site
 pollutants, or contaminants on site                                       landfill cap or covers and slurry walls
 above levels that allow for unlimited                                     institutional controls
 use and unrestricted exposure
 a removal action that takes place        conducted as a matter of         excavation and treatment where
 at a site on the NPL that leaves         EPA policy                       hazardous substances, pollutants, or
 hazardous substances, pollutants, or                                      contaminants remain on site above
 contaminants on site above levels                                         levels that allow for unlimited use and
 that allow for unlimited use and                                          unrestricted exposure
 unrestricted exposure and where no
 remedial action has or will take
 place


1.2.2   When is a policy review appropriate?

        Five-yeai" reviews generally should be conducted as a matter of policy for the following
types of actions:

        •        A pre- or post-SARA remedial action that, upon completion, will not leave
                 hazardous substances, pollutants, or contaminants on site above levels that allow
                 for unlimited use and unrestricted exposure, but requires five years or more to
                 complete;

        •        A pre-SARA remedial action that leaves hazardous substances, pollutants, or
                 contaminants on site above levels that allow for unlimited use and unrestricted
                 exposure; or


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         •     A removal-only site on the NPL where a removal action leaves hazardous
               substances, pollutants, or contaminants on site above levels that allow for
               unlimited use and unrestricted exposure and where no remedial action has or will
               take place.

 7.2.3   When should five-year reviews be completed?

        The first five-year review gene/ally should be completed and signed by the EPA Region
within five years of the initial trigger date (see Sections 1.3.1 and 1.3.2). As a matter of policy,
you should complete subsequent statutory or policy five-year reviews no later than five years
following the signature date of the previous Five-Year Review report. Five-year reviews may be
conducted earlier or more frequently than every five years, if needed, to ensure the protection of
human health and the environment.

1.2.4    When can five-year reviews be discontinued?

        Five-year reviews may no longer be needed when no hazardous substances, pollutants, or
contaminants remain on site above levels that allow for unlimited use and unrestricted exposure.
The basis for this finding should be documented in your final Five-Year Review report. When
you make this determination prior to the first five-year review, you should record it in a
document subject to public comment, such as a Proposed Plan or a Notice of Intent to Delete.
When notice of five-year review discontinuation is given in a document other than a Five-Year
Review report, the Region should submit a memorandum, signed by the Regional Administrator
or his/her designee, to Headquarters. The memorandum should provide the reason for not
conducting five-year reviews and cite the document in which this decision was made and
supported.

1.3      When does the five-year review period begin?

        The initiation or trigger date that starts the five-year review period depends upon whether
the review is categorized as statutory or policy. However, the review should be completed within
5 years of its trigger date regardless of its category. Lead agencies may choose to conduct a five-
year review earlier, or more frequently, than every five years to ensure the protection of human
health and the environment. A discussion of the first and subsequent triggers for both statutory
and policy review is provided below.

1.3.1 What actions first trigger a statutory review?

         In accordance with CERCLA §121 and the NCP, a statutory review is triggered by the
initiation of the first remedial action that leaves hazardous substances, pollutants, or
contaminants on site above levels that allow for unlimited use and unrestricted exposure. In
cases where there are multiple remedial actions, the earliest remedial action that leaves hazardous


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substances, pollutants, or contaminants on site should trigger the initial review, even if it is an
interim remedial action.

         For the purpose of a five-year review, a remedial action typically is initiated on the date
of "actual RA ori-site construction" or the "actual RA start" date for Federal facilities. The date
of actual RA on-site construction generally corresponds to the date the contractor begins work at
a site for the remedial action, typically the date of on-site mobilization. The definition of the
"actual RA start" varies as outlined inlhe Superfund/Oil Program Implementation Manual
(SPEM). For remedies where on-site mobilization may not occur, as a matter of policy, the date
of the first monitoring event following ROD signature or the ROD signature itself should be used
to trigger the five-year review period.

7.5.2   What actions first trigger a policy review?

        A policy review initially should be triggered by the date that construction is completed at
a site. The date of construction completion is generally the date of the Preliminary Close Out
Report (PCOR) or the date of the Final Close Out Report (FCOR) for sites that do not have a
PCOR. The PCOR or FCOR date also triggers the initial five-year review at NPL removal-only
sites.

7.3.3   What are triggers for subsequent statutory and policy reviews?

        After completion of the first statutory or policy five-year review, the trigger for
subsequent reviews is the signature date of the previous Five-Year Review report. For reviews
led by other Federal agencies, States, or Tribes, and where EPA has a concurrence role, the
trigger for subsequent reviews corresponds to EPA's concurrence signature date of the preceding
Five-Year Review report (see Sections 3.7.2 and 3.7.3).

1.4     How do five-year reviews apply to a site with multiple operable units?

        Five-year reviews for sites with multiple OUs, as a matter of policy, should address all
OUs and remedial actions that have been initiated at the time of the review, except for situations
as described in Section 1.4.2. At the Regions' discretion, the five-year review may also include
and consider areas of a site where no remedial action has been selected or initiated.

1.4.1 How is a multiple operable unit site categorized?

        Five-year reviews for multiple OU sites can be categorized as either statutory or policy.
As a matter of policy, a site is subject to a statutory review if any one of its initiated remedial
actions is subject to a statutory review. A site is subject to a policy review if no initiated actions
are subject to a statutory review and at least one action is subject to a policy review.
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1.4.2 When is it appropriate to conduct a separate five-year review for different
      areas of a large and complex site?

        At some large and complex sites, individual OUs, or groups of OUs, may have been
treated as separate sites throughout the remedial process. Under these circumstances, Regions
may continue to treat these areas separately and conduct individual five-year reviews for each
area. Each five-year review should include the status and protectiveness determination of the
five-year reviews conducted for the other areas of the entire site. Regions may choose to
combine the separate reviews of different areas into a single five-year review prior to, or
following, construction completion for the entire site. However, no area should be reviewed later
than five years after its trigger date or previous review.

        Actions within each area may trigger its respective statutory or policy review. However,
in cases where site-wide construction completion will not be achieved for an extended period of
time, the initial trigger date for a policy review should correspond to the date that physical
construction is complete at the area under consideration. The Region should establish this date
on a site-specific basis which should be based on the signature date of the Interim or Final RA
Report.

1.4.3 How is a site with pre- and post-SARA RODs categorized?

        At sites where there are both pre- and post-SARA RODs, the pre-SARA remedial actions
are subject under this policy to post-SARA Five-Year Review procedures. For example, suppose
a pre-SARA remedial action initially is subject to a policy review because hazardous substances,
pollutants, or contaminants are permanently left on site above levels that allow for unrestricted
use and unlimited exposure. If a post-SARA ROD is signed for that same site, a five-year review
should be conducted, unless the post-SARA ROD selects a remedy that removes all on site
hazardous substances, pollutants, or contaminants including the hazardous substances, pollutants,
or contaminants left on site by the pre-SARA action. In such cases, the original five-year review
schedule should be maintained as a matter of policy. If no schedule has been established, the
post-SARA trigger should be utilized.

1.5     What are some other considerations for five-year reviews?

         This section discusses other considerations (i.e., deletions, RCRA responses, interim and
early remedial actions, no action or no further action RODs, monitored natural attenuation, and
institutional controls) that may affect the need for and conduct of five-year reviews.




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1.5.1 Are five-year reviews required for a site that has been deleted or partially
      deleted from the NPL?

         It is EPA's policy that the Five-Year Review requirement is independent of and
unaffected by the deletion process.3 Consistent with the NCP, a site can be deleted or partially
deleted from the NPL once the deletion criteria have been satisfied. If a site has been deleted or
is in the process of being deleted, your Five-Year Review report should address the status of any
deletion action. Five-year reviews continue as needed after deletion.

7.5.2 Are five-year reviews required for a site with a RCRA response?

         In 1996, EPA established a policy to defer some CERCLA cleanup activities to the
RCRA program. The policy is outlined in the memorandum "Coordination Between RCRA
Corrective Action and Closure and CERCLA Site Activities."4 This policy allows site managers
to defer cleanup activities for all or part of a site from CERCLA to RCRA (or vice versa). If a
site is deferred to RCRA prior to being placed on the NPL, or is deleted from the NPL prior to
the selection of the remedy and deferred to RCRA for corrective action, you do not need to
conduct a five-year review.

        In cases where full deferral is not appropriate, it is possible that both RCRA and
CERCLA authorities will be used to address a site. When a RCRA action is included as a part of
a CERCLA action, the RCRA action should be included in the five-year review as a matter of
policy, if a five-year review is required or appropriate.

1.5.3 How is a site that has an interim or early remedial action handled?

        Regions should conduct five-year reviews for interim or early actions selected under
CERCLA §121 consistent with Section 1.2 of this guidance.5 For instance, Regions should
conduct a review if an alternate water supply is installed and hazardous substances, pollutants, or
contaminants remain on site above levels that allow for unlimited use and unrestricted exposure.
If a subsequent action reduces the hazardous substances, pollutants, or contaminants on site to


           In 1991, EPA clarified its policy on whether a site deleted from the NPL is subject to a five-year review.
See "Notice of Policy Change," 56 FR 66601 (December 24, 1991). In appropriate circumstances, a site does not
need to be kept on the NPL solely for the purposes of conducting five-year reviews (See 55 Fed Reg at p. 8699).

           The memorandum "Coordination Between RCRA Corrective Action and Closure and CERCLA Site
Activities" was issued by Steven A. Herman, Assistant Administrator, Office of Enforcement and Compliance
Assurance, and Elliott P. Laws, Assistant Administrator, OSWER (September 24, 1996).

          Interim and Early actions are defined in Chapter 8 in A Guide to Preparing Superfund Proposed Plans,
Records of Decision, and other Remedy Selection Decision Documents. EPA 540-R-98-031, OSWER 9200.1-23P
(July 1999)

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 levels that allow unlimited use and unrestricted exposure, then reviews may be discontinued (see
 Section 1.2.4).

 7.5.4 How is a site that has a no action or a no further action ROD handled?

        Consistent with Section 1.2, Regions should conduct a five-year review for a remedy
where a no action or no further action ROD leaves hazardous substances, pollutants, or
contaminants on site above levels that allow for unlimited use and unrestricted exposure. For
example, as a matter of policy Regions should conduct a review for an NPL site with a no action
ROD where a removal-only action leaves hazardous substances, pollutants, or contaminants on
site above levels that allow for unlimited use and unrestricted exposure, or where groundwater
monitoring or other types of monitoring of contamination above action levels is the only remedial
action selected. However, no five-year review may be needed when monitoring is used only to
verify absence of contamination.

 7.5.5 How is a ROD that includes monitored natural attenuation handled?

        CERCLA §121 remedies relying on monitored natural attenuation or natural attenuation
may be subject to five-year reviews consistent with Section 1.2. If monitored natural attenuation
is included in a no action or a no further action ROD, then that ROD is not considered to be no
action or no further action and therefore. Regions may need to conduct a five-year review,
consistent with this guidance.

7.5.6 How is a ROD that includes institutional controls handled?

         Institutional controls may be part of remedies selected under CERCLA § 121 and
consistent with Section 1.2 of this guidance may be subject to five-year reviews.6 If institutional
controls are included in a no action or a no further action ROD, and protectiveness relies on the
institutional control, then that ROD is not considered to be no action or no further action and
therefore, Regions may need to conduct a five-year review.




        6
           Regions should refer to OSWER 9355.0-74FS-P, dated September 2000, entitled Institutional Controls: A
Site Manager's Guide to identifying, evaluating and selecting Institutional Controls at Siiperfund and RCRA
Corrective Action Cleanups for further information on institutional controls and remedy selection.

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2.0     ROLES AND RESPONSIBILITIES FOR EPA, STATES, TRIBES,
        AND OTHER FEDERAL AGENCIES

        This chapter discusses the roles and responsibilities of U.S. Environmental Protection
Agency (EPA), other Federal agencies, State agencies, and Tribes, in conducting five-year
reviews. As a general matter, for remedies selected under Comprehensive Environmental
Response, Compensation, and Liability Act (CERCLA) §121, except at non-NPL Federal facility
sites, EPA has the ultimate authority for determining whether a remedy subject to the Five-Year
Review requirements in CERCLA §121(c) is protective. The National Oil and Hazardous
Substances Pollution Contingency Plan (NCP) addresses, in general, the involvement of State
agencies and Tribes in CERCLA actions in 40 CFR §300.515 and §300.520. Finally, CERCLA
§120 and Executive Order (EO) 125807 address the responsibilities of Federal agencies in
carrying out CERCLA cleanups.8

2.1     What are the roles of the lead and support agencies?

        Under the NCP, the lead agency provides for the remedial project manager (RPM) "to
plan and implement [the] response action;"9 a response action would include conducting a five-
year review. A support agency "furnish[es] necessary data to the lead agency, reviews response
data and documents, and provides other assistance."10 The NCP also encourages appropriate
State and Tribal involvement for Fund-financed and Enforcement-lead remedial actions (see 40
CFR §300.515 and §300.520). Where the State or Tribe is the lead agency, the NCP provides
that EPA concurrence is needed on remedy selection decisions (see 40 CFR §300.515(e) and
§300.520).

        The relative roles and responsibilities for lead and support agencies can vary significantly
depending on ability, resources, and legal authorities. There are a number of documents that can
be used to specify roles and responsibilities of lead and support agencies. Some of these are
general in scope, while others are more narrow in scope and apply solely to a specific site.
General instruments include Superfund Memoranda of Agreement (SMOAs), Cooperative
Agreements (CAs), and Superfund State Contracts (SSCs). Normally, SMOAs are general, non-
site-specific agreements that EPA uses to define roles and interactions in conducting a response
action. EPA uses CAs to transfer Superfund monies to States or Tribes for response activities.
SSCs are used to identify EPA and State or Tribal roles and responsibilities required under


        Executive Order No. 12580 of January 23, 1987, as amended on August 28, 1996.
        o

            As discussed in section 2.4, State enforcement-lead cleanups are not subject to this guidance.

        "See 40 CFR §300.5.

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             ]d.

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CERCLA §104. Site-specific agreements include Consent Decrees, Administrative Orders on
Consent, and Federal Facility Agreements (FFAs). If no SMOA, SSC, or CA is available, a letter
of agreement should be written to define roles and responsibilities for the five-year review,
consistent with the NCP (see 40 CFR §300.515). Wherever possible, the specific roles and
responsibilities regarding the conduct of a five-year review should be detailed in a single
document to avoid confusion and disputes at a later date.

2.1.1 What are the roles of the lead agency?

       The lead agency conducts the five-year review, prepares the Five-Year Review report,
and submits the report to the support agency for review and comment. The lead agency is also
responsible for conducting community involvement activities and for ensuring that
recommendations and follow-up actions identified during five-year reviews are completed.
Generally, funding for five-year reviews is provided by EPA for Fund-financed sites, Potentially
Responsible Parties (PRPs) for Enforcement-lead sites (through appropriate mechanisms), and by
other Federal agencies or departments for Federal facility sites.

        Where EPA is the lead agency pursuant to 40 CFR §300.515, the Region should submit a
copy of its final Five-Year Review report to EPA Headquarters (HQ) within 10 days of signature,
and provide copies to the support agency and site information repositories. Where the State or
Tribe is the lead agency, pursuant to 40 CFR §300.515, the State should submit a copy of the
final Five-Year Review report to the Region; once the Region has concurred, the Region should
provide a copy to EPA HQ within 10 days of signature, to any other support agencies, and to site
information repositories. Where another Federal agency or department is the lead agency,
pursuant to CERCLA § 120 and EO 12580, the Federal agency or department should submit a
copy of the final Five-Year Review report to the Region; once the Region has concurred, the
Region should provide a copy to HQ within 10 days of signature, to any other support agencies,
and to site information repositories.

2.1.2 What are the roles of the support agency?

       The role of the support agency is to participate in the review process, if requested, and
review and comment on the Five-Year Review report. Where the State or Tribe is the lead
agency for a response action (such as conducting a five-year review), the NCP provides that it
must obtain EPA's concurrence (see 40 CFR §300.515(e)).

        The lead agency should give the support agency an adequate opportunity to participate in
the five-year review process and to review and comment on the draft Five-Year Review report
before it is finalized. When there is more than one support agency involved, time allowances for
review and comment should be the same for all support agencies who choose to participate in the
review process. The amount of time that a support agency will have to review the Five-Year
Review report should be documented in the SMOA, SSC, CA, or other agreement documents,
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but should not be less than review times for other remedy decision documents (see 40 CFR
§300.515(h)(3)). The goal should be to resolve any concerns of support agencies before drafting
the final report. In any case, the support agency or agencies may provide written comments on
the Five-Year Review report. Lead and support agencies should work together throughout the
five-year review process to ensure that concerns are resolved in a timely manner, and to the
extent practicable, prior to finalizing the Five-Year Review report.

2.2    Who conducts the review-at a Fund-financed site?

        At Fund-financed sites, the ultimate responsibility for the protectiveness determination
rests with EPA. As described in Section 2.1, EPA may be the lead or support agency.

       Regions may acquire the services of a contractor or establish agreements with other
agencies (e.g., the U.S. Army Corps of Engineers) to perform studies, conduct investigations,
and/or develop draft Five-Year Review reports. In all cases, Regions should ensure the quality
and completeness of review activities and the content of the final Five-Year Review report.

2.3    What if a site is an Enforcement-lead site?

       At CERCLA Enforcement-lead sites, the ultimate responsibility for the quality and
completeness of review activities and the content and protectiveness determinations of the Five-
Year Review report rests with EPA. As described in Section 2.1, EPA may be the lead or
support agency.

        At sites in which EPA is the lead agency Regions may acquire the services of a contractor
or establish agreements with other agencies (e.g., the U.S. Army Corps of Engineers) to perform
studies, conduct investigations, and/or develop draft Five-Year Review reports.

        PRPs or PRP-hired contractors may perform certain support activities (e.g., data
collection, studies or analysis) according to provisions of an enforceable agreement.

2.4    What if site activities are led by a State or Tribe?

        As described in Section 2.1, States and Tribes can be the lead agency in carrying out a
five-year review. In those cases, States or Tribes should ensure the quality and completeness of
review activities and the content of the final Five-Year Review report, prior to submitting the
report to the Region for EPA's concurrence. When a State or Tribe provides EPA with a Five-
Year Review report, EPA can choose to concur with the report and protectiveness statements or
make its own protectiveness determinations.




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       Where a State or Tribe conducts a cleanup using its own legal authorities (e.g., State
enforcement action under a CERCLA-equivalent State law), the remedy is not selected pursuant
to CERCLA §121 and is not subject to the Five-Year Review requirement.

       Exhibit 2-1 provides an overview of the typical roles of different parties for each type of
response action.
  Exhibit 2-1: Typical Roles in the Five-Year Review Process*

 If the           at...               under...            then conducting             with         and with the
 response                                                 the review is the           funding      EPA Region...
 action is...                                             responsibility of...        by...
 Fund-            a site              CERCLA              the lead agency;            Superfund    making or
 financed                             §121, and           when the lead agency                     concurring with the
                                      CERCLA §104         is a State or Tribe, EPA                 protectiveness
                                                          concurs;                                 determination.
 Enforcement      a site              CERCLA §104         the lead agency; when       PRPs         making or
 -lead                                and §121, along     the lead agency is a                     concurring with the
                                      with a Consent      State or Tribe, EPA                      protectiveness
                                      Decree or other     concurs. (PRPs may                       determination.
                                      enforcement         be allowed to provide
                                      document            certain support for five-
                                                          year reviews);
 Other           a Federal facility   CERCLA §1 04,       the respective Federal      the          making or
 Federal         NPLsite              §120 and §121,      agency or department        respective   concurring with
 agency or                            Executive Order                                 Federal      the protectiveness
 department                           12580, and a                                    agency or    determination.
 (e.g., led by                        Federal Facility                                department
 Department                           Agreement
 of Defense,
 Department
 of Energy or
 Department
 of the
 Interior)
 Other           a Federal facility   CERCLA §1 04        the respective Federal      the          commenting on
 Federal         non-NPLsite          and §121, and       agency or department        respective   the protectiveness
 agency                               Executive Order                                 Federal      determination
                                      12580                                           agency or    (if requested).
                                                                                      department

 Note: * The scenarios presented in the exhibit are not all inclusive. Regions should determine the respective
         roles in the five-year review process when other circumstances exist. EPA does not have a role in five-
         year reviews at non-NPL Federal facility sites; however, EPA Regions may comment or be asked to
         comment on a site-specific basis.


2.5     What if site activities are led by another Federal agency or department?

       CERCLA §104, §120, and §121 identify functions and responsibilities vested in the
President for undertaking response efforts and coordinating all other efforts at the scene of a

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release on or from Federally-owned property (or vessels). The President, in EO 12580, delegates
some of these responsibilities to the respective Federal agencies and departments for Federally-
owned or Federally-operated facilities over which these lead agencies have jurisdiction, custody,
or control.

         Therefore, at sites where activities are led by another Federal agency or department, the
Federal agency or department has responsibilities for selecting remedies and implementing the
remedial actions, and for conducting all required five-year reviews. The Federal agency or
department is responsible for planning, coordinating, funding, and conducting five-year reviews
and for making protectiveness determinations upon conclusion of each five-year review. Federal
agencies or departments are encouraged to have EPA, States, and Tribes participate and comment
throughout the five-year review process, as appropriate. Federal agencies or departments are also
responsible for initiating resolutions to issues and following up on all recommendations that
result from these five-year reviews. Federal agencies or departments may not adopt or utilize
guidelines that are inconsistent with EPA's Five-Year Review guidance or certain other EPA
guidance, as specified in CERCLA §120(a)(2).

       •      Federal facility sites that are listed on the NPL - EO 12580 paragraphs 2(d) and
              (g) delegate remedial responsibilities to the Department of Defense (DOD) and
              the Department of Energy (DOE), and to EPA, respectively. In addition, at all
              Federal facility NPL sites, CERCLA §120 requires Federal agencies or
              departments to perform remedial investigation and feasability studies (RI/FS) (see
              CERCLA §120(e)(l)), to enter into Inter-Agency Agreements (LAGs) (frequently
              called Federal Facility Agreements), and to initiate remedial actions, subject to
              E;,PA concurrence. Therefore, five-year reviews are conducted by the Federal
              agency or department that has jurisdiction, custody, or control, but EPA retains
              final authority over whether the five-year reviews adequately address the
              protectiveness of remedies. EPA will either concur with the final Federal agency
              or department protectiveness determination, or EPA may provide independent
              findings. Disputes which arise related to protectiveness determinations or
              independent findings by EPA may be resolved on a site-specific basis through
              formal dispute resolution procedures, typically established in FFAs. Exhibits 2-2
              and 2-3 and Sections 2.5.1 and 2.5.2 discuss Federal facility NPL sites and FFAs
              in more detail.

       •      Non-NPL Federal facilities - EO 12580, paragraphs 2(d) and (e), give remedial
              responsibilities, and therefore five-year review responsibilities, to the Federal
              agency or department having jurisdiction, custody, or control. EPA may also be
              asked to comment, to the extent practical, on five-year reviews or protectiveness
              determinations at non-NPL Federal facilities. Section 2.5.3 discusses non-NPL
              Federal facilities in more detail.



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       Exhibit 2-2 below provides an overview of relevant EO 12580 sections and their
applicability.

 Exhibit 2-2: Federal Responsibilities Under Executive Order 12580
 In EO 12580     the President                certain remedial                and those remedial functions
 section(s)...   delegates to...              functions and                   and responsibilities at Federal
                                              responsibilities in             facilities generally pertaining
                                             'CERCLA section(s).              to...
     2(b)        EPA (in consultation with    121(f)(1)                        promulgation of regulations
                 the National Response                                         assuring substantial and meaningful
                 Team)                                                         State involvement (in initiation,
                                                                               development, and selection of
                                                                               remedial actions to be undertaken
                                                                               in the State).

     2(d)        DOD, DOE, (subject to        104(a),            and 121      selecting and taking NPL and non-
                 the requirements             104(b),                         NPL(1)(2) remedial actions, which
                 described in                 104(c)(4),                      includes both conducting five-year
                 CERCLA §120)                                                 reviews and making protectiveness
                                                                              determinations (with EPA
                                                                              concurrence at NPL sites).

     2(e)        Federal Departments/        104(a),             and 121      selecting and taking non-NPL
                 Agencies (for non-NPL       104(b),                          remedial actions, which includes
                 Federal facility sites.)    104(c)(4),                       both conducting five-year reviews
                                                                              and making protectiveness
                                                                              determinations.

     2(g)        EPA (subject to the above 104(a),               and 121      selecting and taking NPL remedial
                 delegations)              104(b),                            actions, which includes conducting
                                           104(c)(4),                         five-year reviews and making
                                                                              protectiveness determinations at
                                                                              Fund-lead and Enforcement-lead
                                                                              NPL sites.

Note: (1) EPA does not have a role in five-year reviews at non-NPL Federal facility sites; however, EPA Regions
           may be asked to comment on a site-specific basis.
       (2)
           In addition to the EO 12580 delegation of remedy selection and remedial action responsibilities to all
           Federal agencies and departments for non-NPL Federal facility sites, CERCLA §120(e) establishes
           remedy selection and remedial action responsibilities for Federal agencies and departments for all
           Federal facility NPL sites, as well. For example, CERCLA §120(e)(2) requires Federal agencies and
           departments to enter into NPL lAGs (frequently called FFAs) with EPA (States may participate.)
           CERCLA §120(e)(4) requires FFAs to address selection of remedies and completion of remedial actions
           at Federal facility NPL sites. FFAs, where applicable, should specify the procedures to be followed with
           respect to conducting five-year reviews at Federal facility NPL sites.


        The following subsections detail responsibilities for conducting five-year reviews at sites
led by other Federal departments and agencies.




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2.5.1 What is the purpose of FFAs at other Federal agency NPL sites?

         CERCLA §120(e)(2) requires that EPA sign an IAG (frequently called an FFA) with
responsible Federal agencies or departments to detail respective roles and responsibilities for
remedial actions at NPL sites. CERCLA § 120(e)( 1) requires Federal agencies or departments to
conduct remedial investigations in consultation with EPA and appropriate State authorities at
Federal facility NPL sites. Most Federal facility NPL sites will have site-specific roles and
responsibilities specified in the FFA. CERCLA §120(e)(4) requires FFAs to include selection of
remedies, completion of remedial actions, and arrangements for long-term operation and
maintenance of the facility. Therefore, the procedures for conducting five-year reviews and
making protectiveness determinations fall within the scope of FFAs. FFAs should specify in
detail the procedures governing five-year reviews at Federal facility NPL sites.

       OSWER Directive 9320.0-75 (November 29, 1996), "Federal Facilities Streamlined
Oversight Directive" reiterates EPA's responsibility for oversight of remedial activities at
Federal facility NPL sites. States and Tribes, as regulators, may also have an oversight role,
defined in the FFA, at a facility. Exhibit 2-3 describes the topics to be addressed in an FFA.

Exhibit 2-3: Federal Facility Agreements and Five-Year Reviews
 CERCLA § 120(e)(2) requires that the relevant Federal agency or department must enter into an FFA (IAG in the
 statute) with EPA within six months after EPA's review of the Remedial Investigation/Feasibility Study (RI/FS) is
 completed. States may be signatories to the FFA and under CERCLA §120 (f) must be included in the decision-
 making process at Federal facility NPL sites. Whenever a Federal facility is located on Tribal lands, the
 appropriate Tribal government should be involved.

 CERCLA §120(e)(4), in the case of schedules, requires that the EPA/DOD and EPA/DOE Model FFA contain
 procedures for the submission and review of documents, schedules of cleanup activities, and provisions for
 dispute resolution. Regions should examine FFAs with respect to the performance of five-year reviews to clarify:

 •        Roles, responsibilities, and milestones;

 •        Arrangements for long-term operation and maintenance of the facility; and

 •        Opportunities for public involvement.


        For Federal facilities only, EPA considers Five-Year Review reports to be stand-alone
primary documents or part of another related primary document that should have an enforceable
schedule within the framework of the FFA. Where EPA enters into an FFA, the agreement
should include all site-specific Five-Year Review requirements, such as provisions for reviews,
public participation, and addressing or resolving issues.

        Where the roles and responsibilities for conducting five-year reviews and making
protectiveness determinations are not specified in an FFA (for example, the FFA may not have
been signed, or it may be silent or unclear with respect to five-year reviews)., then the parties
should rely on this guidance for fulfilling EPA's obligations under CERCLA §120 and §121,
including making protectiveness determinations. Five-year review requirements should be

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identified early in the FFA process, so that the parties to the Agreement have clearly defined
roles and responsibilities for implementing CERCLA §121(c) with respect to five-year reviews.
However, consistent with CERCLA §120(g), FFAs cannot re-delegate EPA's final authority over
whether the five-year reviews adequately address the protectiveness of remedies.

2.5.2 What is EPA's role at NPL sites under the jurisdiction of another Federal
      agency or department?

       CERCLA §120 and EO 12580 provide the basis for EPA's oversight role at other Federal
agency NPL sites. This role includes the following:

       •       Assisting in the determination of cleanup remedies or potentially selecting the
               remedies, in consultation with the lead agency and appropriate State authorities,
               beginning at the commencement of remedial investigations and feasibility studies;

       •       Ensuring that Federal agencies or departments appropriately consider all relevant
               guidance and policies that EPA determines are appropriate;

       •       Ensuring compliance with signed FFAs; and

       •       Determining that decisions protect human health and the environment and that
               such decisions are adequately supported in the Five-Year Review report (whether
               as a stand-alone primary document or part of a related primary document).

         EPA is not responsible for conducting five-year reviews at Federal facility NPL sites.
However, EPA's final remedy selection authority at Federal facility NPL sites requires that EPA
retain final authority to make protectiveness determinations. Accordingly, EPA will either
concur with any protectiveness determinations to ensure protection of human health and the
environment, consistent with EPA's statutory and regulatory authorities or EPA may provide
independent findings. EPA Regions should review Federal facility NPL Five-Year Review
reports (whether as a stand-alone primary document or part of a related primary document) and
protectiveness determinations for consistency with this guidance and adequacy of the supporting
basis, and should participate or comment throughout the five-year review process, as appropriate.

2.5,5 What is EPA's role at a non-NPL site under the jurisdiction of another
      Federal agency or department?

        EO 12580 paragraphs 2(d) and (e)(l) delegates the authority in CERCLA §104 and §121
to the Federal agencies or departments for selecting and conducting remedial actions addressing
releases or threatened releases at sites that are not on the NPL. Consistent with CERCLA §121
and this guidance, Federal agencies or departments should conduct five-year reviews for all
CERCLA non-NPL remedial actions that require a review (discussed in Section 1.2.1 of this


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guidance). It is EPA's expectation that Federal agencies or departments will also conduct five-
year reviews as a matter of policy at sites that would be subject to policy reviews if they were on
the NPL (see Section 1.2.2). EPA does not have a statutorily defined role in five-year reviews at
non-NPL Federal facility sites. However, where EPA has had active and substantial involvement
at a non-NPL Federal facility, or where agencies, States, Tribes, or citizens seek EPA comment
on five-year reviews conducted at a non-NPL Federal facility, EPA may, to the extent practicable
on a site-specific basis, comment on five-year reviews and protectiveness determinations made
by other Federal agencies or departments at non-NPL Federal facilities, and/or provide
independent findings, where applicable.

2.5.4   What are States' roles at non-NPL sites under the jurisdiction of a Federal
        agency or department?

        Consistent with CERCLA §120(a)(4), at non-NPL Federal facilities sites, States generally
have remedial oversight responsibilities and should be provided with adequate opportunity to
participate in the five-year review process and to review the draft Five-Year Review document
before it is finalized.

2.5.5 What happens when Federal agencies or departments transfer real
      property?

        In instances of Federal-to-Federal transfer of jurisdiction, custody, or control of real
property, the Federal'agency or department having initiated CERCLA remedial actions generally
should conduct any required or appropriate five-year reviews. Alternatively, the lead agency may
assure that reviews are conducted by entering into reliable site-specific agreements with the
Federal agency or department gaining control of the property, where those arrangements remain
consistent with CERCLA and EO 12580. In instances of deed transfer of Federal property to
third parties, the Federal agency or department having initiated CERCLA remedial actions
generally should conduct any required or appropriate five-year reviews, unless other reliable site-
specific procedures are arranged with the transferee (or others), and those arrangements remain
consistent with CERCLA and EO 12580. Generally, however, the ultimate responsibility for
conducting five-year reviews should remain with the Federal agency or department that initiated
the CERCLA remedial actions.




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3.0       COMPONENTS OF THE FIVE-YEAR REVIEW PROCESS

        This chapter discusses components of the five-year review process, including notifying
potentially interested parties, developing a review schedule, establishing a review team,
involving the community, and signing and submitting the Five-Year Review report. Data and
other site-specific information that form the foundation for the technical assessment of the
remedy at the time of the five-year review are discussed in this chapter, including data and
document review, site interview, site inspection, and components of a Five-Year Review report.

3.1       Who is notified when planning the five-year review?

        In the initial planning stages of the five-year review, all potentially interested parties
should be notified that the five-year review will be conducted. This notification may include
States and/or Tribes, appropriate representatives of the community, local officials, Federal and/or
State Trustees for Natural Resources (Trustees)", appropriate EPA offices, and the Community
Involvement Coordinator (CIC) for the site. Potentially responsible parties should be notified for
Enforcement-lead sites.

3.2       How should I develop a review schedule?

        You should develop a review schedule to meet the appropriate five-year review date of
completion. The review schedule should allow sufficient time for each component of the five-
year review process, including document review, site inspection, interviews, the assessment of
the protectiveness of the remedy (see Chapter 4), and report development and final submission.
You should incoiporate into the five-year review schedule appropriate time for internal and inter-
agency review and comment periods, community involvement activities, if needed, and finalizing
the report with all required signatures.

3.3       How should I establish a review team?

        You should determine the appropriate level of assistance and team structure. For some
reviews, the project manager may be the only member of the team, consulting with technical
experts as necessary. For other reviews, a multi-disciplinary team may be needed to adequately
review the protectiveness of the remedy. Once team members are identified their roles should be
clearly defined. Communication among team members, agencies, and organizations is critical to
ensure that all parties remain informed throughout the entire five-year review process.




          '' OSWER Directive 9200.4-22A CERCLA Coordination with Natural Resource Trustees, dated July 31,
1997.

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         Exhibit 3-1 below provides examples of potential team members for a five-year review.

Exhibit 3-1: Potential Members of the Five-Year Review Team
       Project Manager (EPA, State, Tribal, DOD, DOI)
       Regional Biological Technical Assistance Groups (BTAGs)
       Federal and State Natural Resource Trustees
       Community Involvement Coordinator (CIC)
       State and/or local regulatory agency representatives
       Tribal representatives
       TAG representatives and/or community representatives
       Other Federal agency representatives (e.g., U.S. Army Corps of Engineers, U.S. Fish and Wildlife Service,
       Agency for Toxic Substances and Disease Registry, U.S. Geological Survey, National Oceanic and
       Atmospheric Administration)
       Technical Experts
                   Construction representative
           -       Engineers (e.g., civil, geo-technical, structural, chemical, process)
                   Hydrogeologist
                   Chemist
          -        Risk assessor
                   Biologist
          -        Ecologist/ecological risk assessor
          -        Attorney/legal advisor
                   Environmental regulatory specialist




3.4      How should I involve the community?

        You should begin working with the site's CIC during the initial planning stages of your
five-year review to determine the appropriate level of community involvement. At a minimum,
your community involvement activities during the five-year review should include notifying the
community that the five-year review will be conducted, notifying the community that the five-
year review has been completed, and providing the results of the review to the local site
repository (see Exhibit 3-2).

        Together with the CIC, you should consider conducting additional community
involvement activities at high profile sites, those with significant public interest, and any other
sites for which the Region determines a need for additional community involvement activities.
This may include notifying local public officials, including the primary local health agency, and
the leadership of any relevant neighborhood and civic groups. (For ideas on notifying the public
see Publishing Effective Public Notices, which is part of the CIC Toolkit (Web address:
http://www.epa.gov/superfund/action/community/indcx.htm).)

        In addition to this notification, you may also wish to interview several community
members, at least some of whom live or work near the site, to get their views about current site
conditions, problems, or related concerns. If there was or is a Community Advisory Group or a


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Technical Assistance Grant related to the site, representatives of these groups should be briefed
at the outset of the five-year review process, and, if requested, at other appropriate points. You
may also want to consider appropriate ways, such as public meetings or an opportunity for
submitting written comments, to get broader public involvement. For further information on
community involvement during the five-year review process, see Appendix A, "Community
Involvement."

Exhibit 3-2: Notification Requirements for Five-Year Reviews
 At the beginning: Your notice to the community that a five-year review will be conducted should identify:

 •       The site name, its location and web address (if available);
 •       The lead agency conducting the review;
 •       A brief description of the selected remedy;
 •       A summary of contamination addressed by the selected remedy;
 •       How the community can contribute during the review process;
 •       A contact name and telephone number for further information; and
 •       The scheduled completion date of the five-year review.

 At the end: Your notice to the community that a five-year review has been completed should include:

 •       The site name, its location and web address (if available);
 •       The lead agency conducting the review;
 •       A brief description of the selected remedy;
 •       A summary of contamination addressed by the selected remedy as provided in the initial notice;
 •       A brief summary of the results of the five-year review;
 •       The protectiveness statement(s);
 •       A brief summary of data and information that provided the basis for determining protectiveness, issues,
         recommendations, and follow-up actions directly related to the protectiveness of the remedy;
 •       Location(s) where a copy of the five-year review can be obtained or viewed (including site repositories);
 •       A contact name and telephone number where community members can obtain more information or ask
         questions about the results; and
 •       The date of the next five-year review or a statement and supporting rationale that five-year reviews will
         no longer be required.


3.5     What data do I need to evaluate the remedy?

        Data and other pertinent site specific information that you should review include
sampling and monitoring plans and results from monitoring activities, operation and maintenance
(O&M) reports or other documentation of remedy performance, including previous Five-Year
Review reports. These are the primary bases of the technical analyses and subsequent
protectiveness determination(s). The type and quality of data are essential to your five-year
review and its findings and conclusions. You may collect these types of data through a variety of
means, including document review, interviews, and a site inspection. You also may need to
conduct supplemental sampling or collect other data.



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3.5.1 How are documents reviewed?

         A review of documents is one of the first steps in the five-year review process. You are
responsible for gathering all relevant documents, data, and other information in support of the
five-year review. Generally, for an initial five-year review, this may require you to evaluate
record keeping and the location of pertinent data and information. In cases where records are
difficult to obtain, you should establish appropriate record keeping procedures to minimize future
efforts needed to gather all necessary documents for subsequent five-year reviews.

        Documents should be reviewed to obtain relevant information and data concerning a
response action from which to base an assessment of its performance. The scope of the review is
dependent on the complexity of the remedy(s) and the stage of remedy construction. You may
need to review various documents to obtain the necessary information, including those for
remedy decisions (e.g., Records of Decision (RODs), Explanation of Significant Differences
(ESDs)), enforcement (e.g., Consent Decrees (CDs), Administrative Orders on Consent (AOCs)),
site investigations (e.g., remedial investigation/feasibility study (RI/FS)), design (e.g., remedial
design (RD)) and construction (e.g., Preliminary Closeout Reports (PCOR), remedial action (RA)
reports), and remedy performance and post-closure. (See Appendix B, "Document Review," for
a more complete discussion of document review for the five-year review).

       Your review team should be familiar with appropriate site-specific data and information
including the items listed below:

        •      Remedial action objectives and cleanup levels, as specified in the ROD and other
               decision documents;
        •      Remedial action design and remedial action construction;
               O&M status;
        •      Implementation of institutional controls;
        •      Changes that affect the validity of cleanup levels (e.g., standards identified as
               Applicable or Relevant and Appropriate Requirements (ARARs), "to be
               considereds" (TBCs), assumptions about contaminant characteristics and potential
               exposure); and
        •      Data supporting the effectiveness of the remedy in meeting cleanup levels and
               remedial action objectives.

3.5.2   How should I conduct interviews?

         Interviews should be conducted, if necessary, to provide additional information about a
site's status. The scope of interviews should be tailored to the remedy evaluation on a site-
specific basis. Those interviewed may include the site manager; site personnel; Federal, State,
and Tribal regulatory authorities; local officials; community action groups or associations;

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residents and businesses located near the site; and other pertinent organizations or individuals.
At an Enforcement-lead site, the lead agency should conduct the interviews. A Potentially
Responsible Party (PRP) generally should not conduct interviews because there is a potential for
a conflict of interest (see Appendix C, "Five-Year Review Interviews," for additional
information). For Federal facility sites, a State and/or EPA representative may wish to be present
at and/or participate in conducting interviews.

3.5.3 How should I conduct site, inspections ?

        Your five-year review should include a recent site inspection. For purposes of conducting
site inspections for five-year reviews, "recent" generally means no more than nine months from
the expected signature date of the review. The review should be performed by objective parties
without bias or preconceived views or conclusions about the remedy and conditions at the site.
Site inspections are conducted to provide information about a site's status and to visually confirm
and document the conditions of the remedy, the site, and the surrounding area.

        At an Enforcement-lead site, the lead agency should conduct the site inspection. A PRP
generally should not conduct the site inspection because of the potential for a conflict of interest.
At Federal facility sites, a State and/or EPA representative may wish to be present and/or
participate in conducting site inspections.

        Appendix D, "Five-Year Review Site Inspection Checklist," may serve as your guide for
planning and documenting a site inspection for containment, groundwater, and surface water
remedies. Using this checklist should aid you in the planning and documentation of the site
inspection. Therefore, you may adapt this checklist for other types of remedies or use other site
inspection tools and checklists that have been developed by others for this purpose. You can find
other checklists by accessing the web site: httpV/www.frtr.gov/optimizatioa^general/ and clicking
on " USAGE Remediation System Evaluation Checklists."

3.6     What should I include in Five-Year Review reports?

         In your Five-Year Review report, you should present the findings and conclusions of the
review, including recommendations, follow-up actions to issues, and protectiveness
determination(s). The report should also contain the data and information necessary to support
all findings and conclusions.

         Where your review only addresses a portion of a site, the report should provide a
summary of the status of other operable units (OUs) and/or the remainder of the site. Similarly,
for sites where you conduct a separate five-year review for different areas of a large or complex
site (see Section 1.4.2), you should provide a summary of the status of the other areas of the site
in your Five-Year Review report. Additionally, if you receive written comments on the Five-
Year Review report from support agencies and/or the community (e.g.. States, Tribes, other


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Federal agencies or departments, local governments, citizens, PRPs, other interested parties), you
should attach a copy of these comments to the report.

       A suggested "Five-Year Review Report Template" and "A Sample Five-Year Review
Report" are provided in Appendices E and F, respectively. Exhibit 3-3 summarizes the
recommended contents of a Five-Year Review report.


 Exhibit 3-3: Contents of a Five-Year Review Report

 The following report           should include these topics when appropriate:
 sections...

 I.    Introduction                the purpose of the review
                                   who conducted the review
                                   when the review was initiated and completed
                                   whether it is the first review or a subsequent review at the site
                                   status of other five-year reviews, OUs, and/or areas of the entire site
 II.   Site Chronology             dates of major events (such as the initial discovery of contamination, NPL
                                   listing, decision and enforcement documents, start and completion of remedial
                                   and removal actions, construction completion, and prior five-year reviews)
  II. Background                   physical characteristics
                                   land and resource use
                                   history of contamination
                                   initial response
                                   summary of basis for taking action
IV. Remedial Actions               remedy selection
                                   remedy implementation
                                   system operations/O&M
V.     Progress Since Last         protectiveness statements from last review
       Review (as applicable)      status of recommendations and follow-up actions from last review
                                   results of implemented actions, including whether they achieved the intended
                                   purpose
                                   status of any other prior issues
VI. Five-Year Review               notification of potentially interested parties of start of review
    Process                        identification of five-year review team members
                                   components and schedule of your five-year review
                                   document review
                                   data review and evaluation
                                   community notification
                                   other community involvement activities
                                   site inspection
                                   site interviews




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Exhibit 3-3: Contents of a Five-Year Review Report

The following report      should include these topics when appropriate:
sections...
VII. Technical            Question A: Is the remedy functioning as intended by the decision documents?
     Assessment              -    remedial action performance and monitoring results
                                  system operations/O&M
                                  costs, of system operations/O&M
                                  opportunities for optimization
                             -    early indicators of potential remedy problems
                             -    implementation of institutional controls and other measures

                          Question B: Are the exposure assumptions, toxicity data, cleanup levels, and
                          remedial action objectives (RAOs) used at the time of the remedy still valid?
                             -    changes in exposure pathways
                             -    changes in land use
                                  new contaminants and/or contaminant sources
                                  remedy byproducts
                             -    changes in standards, newly promulgated standards, and TBCs
                             -    changes in toxicity and other contaminant characteristics
                                  expected progress towards meeting RAOs
                                  risk recalculation/assessment (as applicable)

                          Question C: Has any other information come to light that could call into question
                          the protectiveness of the remedy?
                                   ecological risks
                                   natural disaster impacts
                      t        -   any other information that could call into question the protectiveness of the
                                   remedy

                          Summary of Technical Assessment
                             -   summary of findings and conclusions related to Questions A, B, and C
VIII. Issues                  issues that were identified during the technical assessment and other five-year
                              review activities (e.g., site inspection)
                              a determination of whether issues affect current or future protectiveness
                          -   a discussion of unresolved concerns or items raised by support agencies and
                              the community (States, Tribes, other Federal agencies or departments, local
                              governments, citizens, PRPs, other interested parties)
IX. Recommendations       -   list of any recommendations, including follow-up actions to ensure
    and Follow-up             protectiveness
    Actions               -   parties responsible for implementation
                          -   agencies with oversight authority
                              schedule for completion
X.   Protectiveness           protectiveness statement(s) developed at the OU level
     Statement(s)         -   protectiveness statement developed for the site as a whole at construction
                              complete sites
XI. Next Review           -   statement of when the next review is to be completed, or explanation of why no
                              further five-year reviews are needed




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3.7     How should I submit a Five-Year Review report?

        The procedures for submitting reports to EPA Regions and Headquarters are described
below. This process takes place after all reviews of draft reports, and other interagency reviews
are completed, appropriate concurrences and signatures are obtained, and, to the extent
practicable, issues are resolved.

3.7.1 How is an EPA-lead report submitted?

        A report prepared by EPA is complete when it is signed by the EPA Regional
Administrator or his/her designee. The Region should submit one copy of the signed Five-Year
Review report to EPA Headquarters within ten days of the signature date. The Region should
also place a copy of the report in each site information repository.

3.7.2 How is a Federal facility-lead report submitted?

        When a Federal agency or department other than EPA conducts a five-year review, the
report should be submitted to the Region for review pursuant to the terms of the Federal Facility
Agreement or other authorized agreement. The Region should review the report for accuracy,
protectiveness determination/statement, and the basis/support for such determination and
consistency with this guidance. The EPA Regional Administrator or his/her designee should
issue a memorandum that documents any unresolved items or concerns and either concurs with
the report findings OF provides EPA's own independent findings and protectiveness
determination. Within ten days of the signature date of the memorandum, the Region should
forward a copy of the report, with the memorandum attached, to EPA Headquarters, and a copy
should be placed in each site information repository.

        In some cases, EPA may have minimal involvement at the site or in the development of
the Five-Year Review report or protectiveness statements. In such cases, Regions should
determine whether to rely solely on the information presented by the other Federal agency or
department without independent verification. When the Region relies solely on the
representations of another Federal agency or department, the Regional Administrator or his/her
designee should note this in the memorandum. It is important to consider who signed the Five-
Year Review report at the other Federal agency or department. EPA expects that a Five-Year
Review report generally will be signed by the other Federal agency or department at the senior
management level.

3.7.3 How is a State or Tribal-lead report submitted?

        When a State or Tribe conducts a five-year review, the report should be submitted to the
respective Region for review of accuracy, protectiveness determination/statement and the
basis/support for such determination and consistency with this guidance. The EPA Regional
Administrator or his/her designee should issue a memorandum that documents any unresolved

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items or concerns and either concurs with the report findings and protectiveness statement(s) or
provides EPA's own independent findings and protectiveness determination. Within ten days
after the memorandum is signed, the Region should forward a copy of the report, with the
memorandum attached, to EPA Headquarters and a copy should be placed in each site
information repository.

3.8     What are the annual reporting requirements to EPA Headquarters?

        Each EPA Region should report annually to EPA Headquarters on the progress of the
five-year reviews for each of their sites. At a minimum, at the end of each fiscal year each
Region should provide to EPA Headquarters the following:
        •      A list of sites that had five-year reviews due for that fiscal year;

        •      If a five-year review due date changes for any site, or a site no longer needs a five-
               year review, identify the sites and the basis for the change or discontinuation;

        •      A list of those sites where five-year reviews were completed;

        •      For each completed five-year review, a summary of the protectiveness
               determination(s), issues that impact protectiveness, follow-up actions, and the
               schedule and entity responsible for implementing such actions;
                     r


        •      Status of protectiveness when Five-Year Review reports from previous fiscal
               years made a "not protective" determination or "needed further information"
               before making a protectiveness determination, or deferred protectiveness; and

        •      Status of follow-up actions identified in Five-Year Review reports from previous
               fiscal years.

        The exact date for submitting the annual report should be provided at the work planning
sessions at the beginning of each fiscal year or through your Headquarters Regional Center
contact.




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4.0     ASSESSING THE PROTECTIVENESS OF THE REMEDY
         A five-year review should determine whether the remedy at a site is or upon completion
will be protective of human health and the environment. The level of effort necessary to conduct
a five-year review is site-specific and should be tailored appropriately for the remedial action and
its stage of implementation. In general, five-year reviews of remedial actions under construction
are narrower in scope than five-year reviews of remedies that have been constructed.
                                         ?
         Your technical assessment of a remedy should examine the following three questions,
which provide a framework for organizing and evaluating data and information and ensure that
all relevant issues are considered when determining the protectiveness of the remedy:

        •        Question A - Is the remedy functioning as intended by the decision documents?

        •        Question B - Are the exposure assumptions, toxicity data, cleanup levels, and
                              remedial action objectives (RAOs) used at the time of the remedy
                              selection still valid?

        •        Question C - Has any other information come to light that could call into
                              question the protectiveness of the remedy?

       The following sections present Questions A, B, and C in more detail. Exhibit 4-1
summarizes a number of items that you should consider in answering questions A, B, and C in
your evaluation of a remedial action.

 Exhibit 4-1: Three Questions Used to Determine Whether a Remedy is
 Protective
 When you ask...                  you should consider whether...

 Question A: Is the remedy            performance standards (e.g., cleanup levels, plume containment,
 functioning as intended by the       pumping rates) are or will likely be met;
 decision documents?                  there are problems with the remedy that could ultimately lead to the
                                      remedy not being protective or suggest protectiveness is at risk (e.g.,
                                      shrubs or bushes growing on a landfill cap that was designed to have a
                                      grass vegetative cover, extent of plume not fully delineated);
                                      access (e.g., fencing, security guards) and institutional controls
                                      needed at the particular stage of the remediation are in place and
                                      prevent exposure;
                                      other actions (e.g., removals) necessary to ensure that there are no
                                      exposure pathways that could result in unacceptable risks have been
                                      implemented; and
                                      maintenance activities (e.g., pumping and treating, monitoring slurry
                                      walls, mowing cap), as implemented, will maintain the effectiveness of
                                      response actions.




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 Exhibit 4-1: Three Questions Used to Determine Whether a Remedy is
 Protective
 When you ask...                        you should consider whether...

 Question B: Are the exposure           •    there are changes in standards identified as Applicable or Relevant
 assumptions, toxicity data, cleanup         and Appropriate Requirements (ARARs) in the ROD, newly
 levels, and remedial action                 promulgated standards, and/or changes in TBCs identified in the ROD,
 objectives used at the time of the          that could call into question the protectiveness of the remedy;
 remedy selection still valid?          •    there are changes in land use or the anticipated land use on or near
                                             the site;
                                        •    new human health or ecological exposure pathways or receptors have
                                             been identified;
                                        •    new contaminants or contaminant sources have been identified;
                                        •    there are unanticipated toxic byproducts of the remedy not previously
                                             addressed by the decision documents;
                                        •    there are changes in the physical site conditions; and
                                        •    there are changes in the toxicity factors for contaminants of concern.

 Question C: Has any other              •    ecological risks have been adequately addressed at the site, and/or
 information come to light that could        there is a plan to address them through a future action; and
 call into question the                 •    the site is/was subject to natural disasters, such as a 100-year flood.
 protectiveness of the remedy?


4.1     Question A: Is the remedy functioning as intended by the decision
        documents?

        In general, to determine if the remedy is functioning as described in the decision
documents, you should first consider its implementation status, (e.g., whether the remedy is
under construction, operating, or completed). You should also look for available information
about the remedy and compare it to the requirements in the decision documents and remedial
design/construction specifications. For purposes of this guidance, definitions of remedial actions
under construction, operating remedial actions, and completed remedial actions are as follows:

        •        Remedial actions under construction are those actions where physical
                 construction has been initiated, but is not yet complete.

        •        Operating remedial actions are those actions that are ongoing, but where cleanup
                 levels have not yet been achieved. Such actions typically have remedial
                 components requiring several years to reach cleanup levels (e.g., groundwater and
                 surface water restoration, monitored natural attenuation, soil vapor extraction, and
                 bioremediation).

        •        Completed remedial actions are those actions where construction is complete and
                 cleanup levels have been achieved.


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4.1.1 How do I answer Question A for a remedial action that is under
      construction?

        In the case where a remedy is under construction, the focus of your review should be to
determine if the remedy is being constructed in accordance with the requirements of the decision
documents and design specifications, and if the remedy is expected to be protective when it is
completed. In addition, you should confirm that access controls (e.g., fencing, security guards)
necessary at this stage of the remediation are in place and successfully prevent exposure. If the
remedial action includes institutional controls (ICs), then your five-year review should also
consider the implementation status of those controls. For example, answer the following
questions: Have specific ICs been identified? Are there ICs needed at this stage of remediation
to prevent exposure? Who is responsible for implementing ICs? What is the plan, schedule, and
current status for 1C implementation?

4.1.2   How do I answer Question A for a remedial action that is operating or
        completed?

        Your review of an operating or completed remedial action generally will address more
aspects of the remedy implementation than a review of a remedial action under construction, hi
general, you should assess the following:

        •     Remedial action performance - Determine whether the remedial action continues
              to operate and function as designed (e.g., extent of groundwater plume is well
              defined and updated plume maps confirm containment), and has achieved, or is
              expected to achieve, cleanup levels.
        •     System operations/operation and maintenance (O&M) - Determine whether
              maintenance procedures, as implemented, will maintain the effectiveness of
              response actions. This evaluation might include, but is not limited to, visual
              inspection of the system and the review and evaluation of monitoring reports (e.g.,
              groundwater data from extraction and monitoring wells, biological monitoring
              data, discharge requirements, wetland monitoring data, leachate monitoring for
              containment remedies).            \
        •     Costs of system operations/O&M - Review and consider system operations/O&M
              costs if they are available. Compare actual/current annual O&M costs to the
              original cost estimate; large variances from the original cost estimate might
              indicate potential remedy problems. (Note: This information may not be readily
              available at Enforcement-lead sites, but should be requested.)
        •     Implementation of institutional controls and other measures - Determine
              whether access controls (e.g., fencing, security guards) and ICs that are needed at
              this stage of the remediation are in place and successfully prevent exposure. If


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                  ICs are not in place, determine why not, and obtain the schedule for
                  implementation; determine whether other actions (e.g., removals) necessary to
                  ensure that exposure pathways that could result in unacceptable risks have been
                  implemented.

         •        Monitoring activities - Determine whether monitoring activities required to
                  ensure the effectiveness of the remedy (e.g., performance and environmental data
                  collected and results evaluated) are being conducted and whether they are
                  adequate to determine trie protectiveness and effectiveness of the remedy.

         •        Opportunities for optimization - If readily apparent during the course of
                  conducting five-year review activities, identify any opportunities to improve the
                  performance and/or reduce the costs of sampling and monitoring activities and
                  operating treatment systems. If changes in these activities are recommended in
                  the Five-Year Review report, you should also provide the rationale/basis for such
                  changes. If appropriate, your report can also recommend that an optimization
                  study be conducted.

         •        Early indicators of potential remedy problems - Investigate and identify
                  problems that could lead to the remedy being not protective or suggest
                  protectiveness is at risk unless changes are made. Problems could include
                  frequent equipment breakdowns or replacement, or large variances in operating
                  costs (if cost data are available). Some examples of indicators of potential remedy
                  problems could include erosion and/or subsidence of a cap, trend analysis of
                  sampling data showing no decrease in contaminant levels, monitoring data
                  showing evidence of leachate migration, or that the extent of the groundwater
                  contamination plume exceeds the outer reaches of the monitoring network.

4.2      Question B: Are the exposure assumptions, toxicity data, cleanup levels,
         and remedial action objectives used at the time of remedy selection still
         valid?

        hi conducting your five-year review, you should evaluate the effects of significant
changes in standards and assumptions that were used at the time of remedy selection. Changes in
the promulgated standards or "to be considereds" (TBCs) may impact the protectiveness of the
remedy. Similarly, you should investigate the effect of significant changes in the risk parameters
that were used to support the remedy selection, such as reference doses, cancer potency factors'",
and exposure pathways of concern. Finally, you should evaluate whether the original
assumptions regarding current and future land/groundwater uses and contaminants of concern are



          " Note that risk parameters in EPA publications such as the Integrated Risk Information System (IRIS) (see
http://www.cpa.gov/IRIS) are guidance only, and should he applied only as appropriate for the remedy being
reviewed.

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still valid, and whether any physical features (or understanding of physical sites conditions) have
changed (e.g., changes in anticipated direction or rate of groundwater or identification of a new
groundwater divide). All of these factors may have a bearing on the validity of the remedial
action objectives and may affect the protectiveness of the remedy.

        Exhibit 4-2 presents a series of example questions that you should consider in
determining whether the exposure assumptions and toxicity data used at the time of remedy
selection are still valid and, if you determine that they are no longer valid, whether they call into
question the protectiveness of the remedy. Exhibit 4-2 also groups the questions according to the
type of assumption.

 Exhibit 4-2: Example Questions to Determine if Assumptions Upon Which the
 Remedy was Based Have Changed
 For an assumption based on ...     an example question may be...
 standards and TBCs                 Are there changes in the standards identified as ARARs in the ROD that
                                    bear on the protectiveness of the remedy? Are there newly promulgated
                                    standards that might apply or be relevant and appropriate to the site and
                                    that bear on the protectiveness of the remedy? Are there changes in
                                    TBCs identified in the ROD that bear on the protectiveness of the
                                    remedy?

 cleanup levels                     What is the basis for each cleanup level identified in the ROD (e.g., risk-
                                    based or promulgated standards as ARARs)? Have there been changes
                                    to the basis of the cleanup levels? (See sample questions for "standards
                                    or TBCs" above, and for "toxicity and other contaminants characteristics"
                                    below.)

 exposure pathways                  Has land use or expected land use on or near the site changed (e.g.,
                                    industrial to residential, commercial to residential)?

 exposure pathways                  Have any human health or ecological routes of exposure or receptors
                                    changed or been newly identified (e.g., dermal contact where none
                                    previously existed, new populations or species identified on site or near
                                    the site)?

 exposure pathways                  Are there newly identified contaminants or contaminant sources?

 exposure pathways                  Are there unanticipated toxic byproducts of the remedy not previously
                                    addressed by the decision documents (e.g., byproducts not evaluated at
                                    the time of remedy selection)?

 exposure pathways                  Have physical site conditions changed such that protectiveness may be
                                    affected (e.g., changes in anticipated direction or rate of groundwater
                                    flow)? Has understanding of physical site conditions changed (e.g.,
                                    identification of a new groundwater divide)?

toxicity and other contaminant      Have toxicity factors for contaminants of concern at the site changed
characteristics                     (e.g., Integrated Risk Information System (IRIS) evaluations? (See
                                    http://www.epa.qov/IRIS) Have other contaminant characteristics
                                    changed? Have ecological toxicity reference values and/or ecological
                                    "no observed adverse effect levels/lowest observed adverse effect"
                                    (NOAELs/LOAELs) levels changed.


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4.2.1   How should I check the impact of changes in standards and TBCs?

        Cleanup levels or actions may be based on ARARs identified in the Record of Decision
(ROD) (as opposed to calculated site-specific risk, as discussed in Section 4.2.3). For example,
the cleanup levels for a groundwater remedy may be based on the Safe Drinking Water Act
maximum contaminant levels (MCLs) if these were identified as ARARs in the ROD.

         In the preamble to the final National Contingency Plan (NCP), EPA states its policy that
it will not reopen remedy selection decisions contained in RODs (i.e., ARARs are normally
frozen at the time of ROD signature) unless a "new or modified requirement calls into question
the protectiveness of the selected remedy." 55 FR 8757 (March 8, 1990). The preamble goes on
to state that "a policy of freezing ARARs at the time of ROD signing will not sacrifice protection
of human health and the environment because the remedy will be reviewed for protectiveness
every five years, considering new or modified requirements at that point, or more frequently, if
there is reason to believe that the remedy is no longer protective of health and environment." 55
FR 8758 (March 8, 1990). The preamble also states that a remedy would not necessarily need to
"be modified solely to attain a newly promulgated or modified requirement," but that "newly
promulgated or modified requirements contribute to [the] evaluation of protectiveness." 55 FR
8758 (March 8, 1990).

        Therefore, although ARARs generally are "frozen" at the time of ROD signature, in
conducting a five-year review, you should determine the effect of a newly promulgated or
modified standard orrthe protectiveness of the remedy originally selected in the ROD. You
should evaluate the newly promulgated or modified requirement to determine if the cleanup level
established in the ROD remains protective. TBCs may also have been used to select cleanup
levels. Therefore, you should also review any new or modified TBCs to ensure that any changes
will not impact the protectiveness of the remedy.

        Generally, you should only consider changes in standards that were identified as ARARs
in the ROD, newly promulgated standards for chemicals of potential concern, and TBCs
identified in the ROD that bear on the protectiveness of the remedy. As such, you should review
any newly promulgated standards, including revised chemical-specific requirements (such as
MCLs, ambient water quality criteria), revised action and location-specific requirements, and
State standards if they were considered ARARs in the ROD.

        In evaluating a change in a standard that was identified as an ARAR in the ROD, or a
newly promulgated standard or TBC, you should establish whether the new requirement indicates
that the remedy is no longer protective. You should recommend a follow-up action when the
remedy is not protective. For example, based on revised risk information for a specific chemical,
a new standard (e.g., more stringent MCL for a chemical) may result in a situation where the
cleanup level to be achieved by the original remedy would pose a 10"3 cancer risk. In that
circumstance, the five-year review could recommend that a new cleanup level based on the new


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standard be adopted and, if necessary, that the remedy be modified. However, a change in a
standard may not necessarily result in a change in the resulting risk and therefore may not always
impact protectiveness. An illustration of a method and an example for evaluating changes in
standards is provided in Appendix G, "Methods and Examples for Evaluating Changes in
Standards and Toxicity," Exhibit G-l, "Evaluating Changes in Standards," Exhibit G-2,
"Hypothetical Scenario for a Change in a Standard," and Exhibit G-3, "Decision Process for a
Hypothetical Change in Standard."
                                       *
4.2.2 How should I check the impact of changes in exposure pathways?

        You should consider changes in site conditions that could result in increased exposure.
These changes could include changed or new land uses, including zoning changes, changed or
new routes of exposure or receptors, changed physical site conditions that may affect the
protectiveness of the remedy, new contaminants, or a new understanding of geological
conditions. In evaluating this information, you should work closely with a risk assessor to
establish the impact that such changes may have on the estimated risk associated with your site.
Depending on the significance of the changes, it may be necessary for you to recalculate human
health risk and re-examine ecological risks. Generally, your human health determination should
be based on whether the cancer risk could now be greater than 104 and/or the hazard index could
be greater than 1 for non-carcinogenic effects.

        In some cases, it may be necessary to revise or expand the previous risk assessment as
part of your five-year" review. For example, you may need to revise the risk assessment when
there is a new exposure pathway, a new potential contaminant of concern, or an unanticipated
toxic byproduct of the remedy. In all cases, you should evaluate whether the remedy can mitigate
any unacceptable risk or whether additional actions may need to be taken. Your five-year review
can also recommend further investigation to determine whether an additional response action is
needed.

4.2.3     How should I check the impact of changes in toxicity and other
          contaminant characteristics?

        Cleanup levels at a site may be based on |he calculated risk for chemicals and/or media
where there are no promulgated standards (e.g., site-specific soil and sediment action levels) or
existing standards are not sufficiently protective for site-specific conditions. If the remedy is
intended to meet a site-specific, risk-based cleanup level, you should check to see whether
toxicity or other contaminant characteristics used to determine the original cleanup level have
changed. In addition to toxicity, you should examine other contaminant characteristics that
determine the nature and extent of contaminant migration and effects on receptors (e.g. sorption
characteristics, ability to bioaccumulate, bioavailability). If there have been changes in the
understanding or in our knowledge of these physical/chemical characteristics, you may need to
recalculate risk using the original cleanup level or using the current concentration if it has not
been identified as a contaminant of concern. An increase in the cancer slope factor, for example,

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may suggest that the risk from a chemical concentration is above the generally acceptable cancer
risk range (KT4 to 10~6). You should also consider changes in toxicity and other contaminant
characteristics relating to ecological receptors.

        You may work with your Region's risk assessor to determine whether there have been
changes in toxicity or other contaminant characteristics and whether further investigation is
needed. The risk assessor is also familiar with efficient use of the Superfund Technical Support
Center and its hotline. One preferred resource for checking changes in toxicity information is
EPA's Integrated Risk Information System (IRIS) (http://www.epa.gov/TRIS). However, many
contaminants found at Superfund sites are not found in IRIS. You may find it useful to refer to
the Superfund Risk Assessment Tools of the Trade page for databases and additional links and
pointers (http://www.epa.gov/superfund/programs/risk/tooltrad.htmtfgp). Beginning in the
summer of 2001, this page should link risk-based concentration tables which provide screening
levels for specific exposure scenarios, a risk calculation tool, and should identify recent toxicity.
data and their sources.

        The flowchart presented in Appendix G, Exhibit G-4, "Evaluating Changes in Toxicity
and Other Contaminant Characteristics," shows the process you should use to evaluate the
significance of changes in toxicity values and other contaminant characteristics when conducting
a five-year review. You should first identify any site-specific, risk-based, cleanup levels and
investigate relevant changes in contaminant characteristics. If the estimated risk for a
contaminant has not changed, your analysis on this point should be complete.
                      K




         If the estimated risk has increased, then you should determine whether the new estimated
risk is acceptable. In most cases, you should base this determination on whether the risk is
within or below the generally acceptable risk range of 1CT4 to 10"6 for carcinogenic risk and the
hazard index is below 1 for non-carcinogenic effects. If the estimated risk is not protective, you
should determine what actions need to be taken to achieve an acceptable level of risk. Appendix
G, Exhibit G-5, "Hypothetical Scenario for a Change in Toxicity," and Exhibit G-6, "Decision
Process for a Hypothetical Change in Toxicity," provide an example of the evaluation process
when there are changes in toxicity and other characteristics. Note: Future guidance will address
the appropriateness of using various statistical methods in making the determination about when
remedial action objectives (RAOs) have been attained.

4.2.4   How should I review RAOs and evaluate their impact?

        As part of the five-year review, you should conduct an evaluation of the RAOs stated in
the ROD to determine whether the remedy is meeting or will meet RAOs. Depending on the
outcome of the evaluation, you may find it necessary to modify the RAOs, modify the remedy, or
conduct further response actions. For example, an RAO phrased in terms of "achieving the
drinking water standard in ten years" may be significantly affected by a new MCL that
establishes a more stringent standard. Conversely, an RAO may be general enough to
accommodate a new or modified requirement.

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        If your evaluation of data indicates that the remedy is not meeting and will not be able to
meet the RAO stated in the ROD, then you may need to determine if the remedy is protective
and, if not protective, what additional actions are needed. For example, if the risk associated
with the cleanup levels currently being achieved by the remedy are within EPA's acceptable risk
range, the remedy generally should be considered protective. However, if the remedy will not be
able to meet the RAOs, further actions may be needed, depending on the specificity of the
original RAOs in the ROD. Your Five-Year Review report should identify such further actions
as recommendations and/or follow-up actions.

         New site conditions, such as discovery of new contaminants, can also impact the RAOs
and remedy protectiveness. During your five-year review, you should evaluate whether the
RAOs in the ROD are sufficiently comprehensive to cover any new or changed conditions at a
site. If a new condition at the site is not covered by the RAOs, you should recommend further
investigation in the Five-Year Review report to determine whether additional response actions
are needed.

         Further response actions may not necessarily involve additional physical construction
activities but could include sampling, studies, and/or investigations. For example, modifying
RAOs will require a ROD Amendment, but does not require a physical site activity.

4.3     Question C: Has any other information come to light that could call into
        question the protectiveness of the remedy?
                      «




        You should consider any other information that comes to light that could call into
question the protectiveness of the remedy. It is expected that most considerations related to the
protectiveness of the remedy will be covered by Questions A and B. However, in some
instances, there may be other factors about the remedy or the site that you should consider during
the review.

Situations to watch for include the following:

        •      Ecological risks have not been adequately addressed at a site, and there is not a
               plan to address them through a future action;

        •      The site, although located entirely above the 500-year flood boundary, was
               partially inundated by a 100-year flood (which now may require a flood plain
               redesignation of the region); and

        •      Land use changes that are being considered by local officials.

        If ecological risks have not been adequately addressed at a site, and there is not a plan to
address them through a future action, then you may need to address them by conducting a
screening ecological risk assessment as part of the Five-Year Review using Final Guidance:
Ecological Risk Assessment and Risk Management Principles for Superfund Sites, OSWER

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Directive 9285.7-28P (October 7, 1999). The ecological risk assessor on your team can help
streamline the process appropriately.

4.4     How should I develop the conclusions of my five-year review?

       The conclusions of your five-year review should include: 1) an identification of issues; 2)
recommendations and follow-up actions; and 3) a determination of whether the remedy is, or is
expected to be, protective of human health and the environment. You should arrive at these
conclusions through a technical assessment of the information collected during the document
review, data collection, interviews, site inspection, and other activities. Your evaluation should
focus on the information collected through answering the three questions shown in Exhibit 4-1.
(See Sections 4.1, 4.2, and 4.3, above, for a detailed discussion of how to assess the remedy by
answering these three questions.) These conclusions should be documented in the Five-Year
Review report as a technical assessment summary.

4.4.1 How should I identify issues ?

        You should identify all issues that currently prevent the response action from being
protective, or may do so in the future. You should document all such issues and follow-up
actions needed to ensure the proper management of the remedy in your Five-Year Review report.
You should also identify early indicators of potential remedy problems. Early indicators of
remedy problems may include operating costs that are greater than originally anticipated. For
instance, excessive replacement of pumps or other equipment may indicate the need to reconsider
system design or re-evaluate aquifer conditions.

       Examples of issues that may be identified in a Five-Year Review report include the
following:

        •     Inadequate access controls (e.g., fencing has been breached, or fencing is not
              adequate to restrict access);
        •     Incomplete response action, including ICs (e.g., environmental easements or well
              restrictions are not in place);
        •     Inadequate ICs (e.g., well restrictions are in place but are not preventing
              exposure);
        •     Response action is not expected to achieve cleanup levels; plume containment has
              not been confirmed or achieved;
        •     Cleanup levels are not protective due to changes in chemical characteristics;
        •     Discharge requirements are exceeded;
        •     Inadequate operation and maintenance of physical remedial structures (e.g.,
              vegetative cover of cap mowed infrequently);



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        •      Differences found in actual or proposed land use other than those assumed in the
               selection of the response action;
        •      RAOs will not be achieved;
        •      Monitoring is not being completed in a timely manner; and
        •      Inadequate monitoring activities to determine the protectiveness of the remedy
               (e.g., the number and location of monitoring wells are not appropriate for
               monitoring remediation, progress of the groundwater contamination plume).

        You should describe each issue in sufficient detail so that EPA can appropriately track the
progress to resolution. For each issue, you should determine if it currently affects the
protectiveness of the remedy or may do so in the future.

       Exhibit 4-3 provides an example of a tabular format that you can use to list issues in your
Five-Year Review report.

Exhibit 4-3: Example Table for Listing Issues
                                                                                    Affects
                                                                                Protectiveness
                                   Issues                                            (Y/N)

                                                                              Current     Future
                     *




4.4.2   When and how should I develop recommendations?

         For each issue identified, the Region should document and ensure implementation of
recommendations to resolve those issues. These recommendations should be identified along
with follow-up actions in your Five-Year Review report. Follow-up actions should be completed
to ensure long-term protectiveness of the remedy, or to bring about protectiveness of a remedy
that is currently not protective. You may also have follow-up actions where a protectiveness
determination cannot be made at the time of the five-year review. In addition, you may wish to
make additional recommendations that do not directly relate to achieving or maintaining the
protectiveness of the remedy, such as activities related to O&M of the remedy and coordination
with other public and government authorities.




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         The following are types of recommendations that generally are considered appropriate as
part of a five-year review:

       •      Provide additional response actions - For example, additional response actions
              may be necessary to ensure protectiveness if new risk information indicates that a
              remedy is not protective (e.g., a treatment process will not be able to achieve soil
              cleanup levels). EPA may implement such further response any time pursuant to
              CERCLA § 104 or § 106 authority. In your Five-Year Review report, you can
              recommend further investigation and the implementation of further response
              actions.

       •      Improve O&M activities - For example, when a cap's vegetative cover is not
              mowed on a regular basis and/or vegetation other than that specified in the
              remedial construction contract specifications is present, you may recommend that
              actions be taken to improve compliance with the O&M Manual/Plan. The lack of
              O&M activities can lead to more serious remedy problems if not addressed. Your
              Five-Year Review report should recommend that O&M activities be conducted if
              they currently are not being performed or inadequately conducted and, if needed,
              expanded, reduced, or terminated. The report should also provide the
              rationale/basis for any of these recommendations.

       •      Optimize remedy - For example, when the limits of a groundwater plume have
              contracted due to pumping, and some monitoring wells no longer register
              contamination levels above cleanup levels, it may be appropriate to revise the
              sampling plan to eliminate these wells from the sampling routine or reduce the
              frequency of their sampling. It may also be possible to remove specific
              groundwater extraction wells from service and increase or reduce the pumping
              rate on others to optimize groundwater remediation. Similarly, it may be possible
              to remove treatment units that no longer contribute to the achievement of remedial
              goals.

       •      Enforce access controls and ICs - For example, when repeated site trespassing
              has been observed, you could recommend repair of the fence and an evaluation of
              the need for additional security measures. When you have evidence that
              groundwater wells continue to be installed despite well restrictions that are
              currently in place, you can recommend an evaluation of the need for further
              enforcement of institutional controls (e.g., prohibit well drilling).

      •       Conduct additional studies or investigations - For example, after reviewing and
              evaluating all available data and information it is apparent that contaminant levels
              have not decreased as expected in the estimated time frame. Additional
              information will be needed to determine if the remedy, as is, will be able to
              achieve remediation goals within the estimated time frame. Other studies may
              include, but are not limited to, site characterization, ecological assessment,

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               focused feasibility studies, groundwater modeling, treatability studies, and/or
               sampling.

       For each recommendation, you should identify the party responsible for implementation,
the agency with oversight authority, a recommended schedule for implementation and
completion, and the impact, if any, on current or future protectiveness. Exhibit 4-4 provides an
example of a table that you can use in your Five-Year Review report for documenting both
recommendations and follow-up actions.

Exhibit 4-4: Example Table for Listing Recommendations and Follow-up Actions
                                                                             Follow-up Actions:
                                                                                   Affects
      Recommendations/             Party         Oversight     Milestone     Protectiveness (Y/N)
      Follow-up Actions         Responsible       Agency         Date
                                                                            Current      Future




        Regions should track the progress and completion of recommendations and/or followup
actions with documentation in the site file, and upon completion update the administrative record
in the site information repository. See Section 3.8 for annual reporting responsibilities to EPA
Headquarters.
                     t.


4.5     How do I determine protectiveness?

        After addressing Questions A, B, and C, you should be ready to determine the
protectiveness of the remedy or remedies at a site and to document the rationale for your
determination(s) You should make a protectiveness statement for each OU and an additional,
comprehensive site-wide protectiveness statement for those sites that have reached construction
completion.

        Your determination of whether the remedy remains protective of human health and the
environment generally should be based on the answers to Questions A, B, and C and the
information obtained in the process of answering them. Although protectiveness generally is
defined by the risk range and hazard index (HI), your answers to Questions A, B, and C may
identify other factors and issues that may impact the protectiveness of a remedy.

       At the end of your technical analysis and evaluation, if the answers to Questions A, B,
and C are yes, yes, and no, respectively, then your remedy normally should be considered




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protective. However, if the answers to the three questions are other than yes, yes, no, depending
on the elements that affect each question, your remedy may be one of the following:

       •        Protective;

        •      Will be protective once the remedy is completed;

       •       Protective in the short-term; however, in order for the remedy to be protective in
               the long-term, follow-up actions need to be taken;

       •       Not protective, unless the following action(s) are taken in order to ensure
               protectiveness; or
       •       Protectiveness cannot be determined until further information is obtained. (A
               time frame should be provided when a protectiveness determination will be made.
               This should be done through an addendum. If this is the case, your next five-year
               review should be due five years from the date this report is signed, not the
               signature date of the addendum).

        Even if there is a need to conduct further actions, it does not mean that the remedy is not
protective. Normally, the remedy should be considered as not protective when the following
occur:

       •       An immediate threat is present (e.g. exposure pathways that could result in
               unacceptable risks are not being controlled);

       •       Migration of contaminants is uncontrolled and poses an unacceptable risk to
               human health or the environment;

       •       Potential or actual exposure is clearly present or there is evidence of exposure
               (e.g., institutional controls are not in place or not enforced and exposure is
               occurring); or

       •       The remedy cannot meet a new cleanup level and the previous cleanup level is
               outside of the risk range.




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Exhibit 4-5 presents examples of protectiveness determinations. These examples cover only some of the possible situations you may
observe at your site but should serve to guide your decision-making.
 Exhibit 4-5: Examples of Protectiveness Determinations
 1. Remedies Under Construction

 If the remedy involves...                    and you observe in your five-year review                 then your answers to         and.
                                              that-                                                    Questions A, B and
                                                                                                       C should be...

 any remedial action under construction             no changes to site conditions or any other         A-Yes                        the remedy will be protective.
                                                    parameters would impact protectiveness             B-Yes
                                                                                                       C-No

 a groundwater pump-and-treat system                an MCL for one of the contaminants of              A-Yes                        the remedy is not protective because
 expected to operate for 30 years with              concern (COCs) has become more                     B-No                         the remedy is not able to meet the new
 institutional controls to restrict well            stringent since the ROD was signed; and            C-No                         standard (ARAR) and the previous
 drilling of groundwater wells                      the risk associated with the previous MCL                                       MCL is outside of the risk range.
                                                    is now outside of the risk range;                                               However, since ICs are in place there
                                                    the remedy cannot meet the new standard                                         are no current exposures.
                                                    (even with design modifications); and                                           Recommend that follow-up actions be
                                                    ICs are in place,                                                               taken to address the new MCL (ARAR)
                                                                                                                                    issue.

 rerouting of contaminated surface                  remedy in the ROD did not address                  A-Yes                        defer protectiveness because more
 runoff from tailings                               ecological risks;                                  B-Yes                        information is needed to make a
                                                    sediment sampling data from adjacent               C-Yes                        protectiveness determination.
                                                    wetlands indicate high levels of heavy                                          Recommend that follow-up actions be
                                                    metals;                                                                         taken to address inadequate
                                                    there were dead fish, and land animals                                          ecological risk data.
                                                    with physical abnormalities; or
                                                    an ecological risk assessment was not
                                                    previously conducted,




Question A -     Is the remedy functioning as intended by the decision documents?
Question B -     Are the exposure assumptions, toxicity data, cleanup levels, and remedial action objectives (RAOs) used at the time of the remedy selection still valid?
Question C -     Has any other information come to light that could call into question the protectiveness of the remedy?
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 Exhibit 4-5: Examples of Protectiveness Determinations
 2. Operating Remedies

 If the remedy involves...                      and you observe in your five-year review                 then your answers to        and...
                                                that-                                                    questions A, B and
                                                                                                         C should be...

 any operating remedy                                no changes to site conditions or any                A-Yes                       the remedy is protective.
                                                     parameters under Questions A, B, and C              B-Yes
                                                     occurred,                                           C-No

 groundwater pump-and-treat system                   no well drilling restriction in place as            A-No                        the remedy is considered protective in
 expected to operate for 15 years with               required by ROD;                                    B-Yes                       the short-term, because there is no
 ICs to restrict well drilling                       there is no known current exposure to               C-No                        evidence that there is current
                                                     groundwater, based on site visits,                                              exposure. However, in order for the
                                                     interviews with local officials and residents,                                  remedy to remain protective in the
                                                                                                                                     long-term, ICs restricting well drilling
                                                                                                                                     must be put in place.

 groundwater pump-and-treat for 20                    based on data and current groundwater              A-No                         the remedy is considered protective in
 years; ICs restricting well drilling; RAO:           modeling, the RAOs will not be met;                B-No                         the short-term because ICs are in
 restore groundwater to drinking water                ICs are in place;                                  C-No                         place, and therefore, there is no
 standards                                            the system has been operating for ten                                           current or potential exposure. Follow-
                                                      years;                                                                          up actions are necessary to address
                                                      there are no changes in standards or                                            long-term protectiveness because
                                                      contaminant characteristics for COCs;                                           RAOs are not expected to be met.
                                                      there are no new standards;                                                     Recommend that the remedial action
                                                      contaminant levels of COCs have leveled                                         objectives may need to be reevaluated
                                                      off in the last five years;                                                     and other potential actions be further
                                                      optimization efforts have not been effective                                    evaluated.
                                                      in further decreasing COC levels;
                                                      current levels of contamination are within
                                                      EPA's risk range, however, RAOs have not
                                                      yet been achieved,




Question A -       Is the remedy functioning as intended by the decision documents?
Question B -       Are the exposure assumptions, toxicity data, cleanup levels, and remedial action objectives (RAOs) used at the time of the remedy selection still valid?
Question C -       Has any other information come to light that could call into question the protectiveness of the remedy?
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 Exhibit 4-5: Examples of Protectiveness Determinations
 If the remedy involves...                     and you observe in your five-year review                 then your answers to        and.
                                               that...                                                  questions A, B and
                                                                                                        C should be...

 groundwater pump-and-treat for 10                  ICs are in place;                                   A-Yes                       the remedy is considered protective
 years; ICs on well drilling; RAO:                  there is a new State MCL for one of the             B-No                        because the cleanup levels are still
 groundwater restoration to beneficial              COCs;                                               C-No                        within EPA's risk range and there is no
 use                                                the standard (ARAR) in the original ROD is                                      current or potential exposure.
                                                    still protective because it is within the
                                                    same order of magnitude as the new State
                                                    MCL and remains within EPA's risk range;
                                                    there is no current exposure - residents
                                                    with private wells in the area are on
                                                    alternate water supply;
                                                    the State considers all groundwater to be a
                                                    potential source of drinking water
                                                     (However, there is no Comprehensive
                                                    State Groundwater Protection Plan
                                                     [CSGWPP]); and
                                                    the existing remedy (system) can achieve
                                                    the new MCL,




Question A-       Is the remedy functioning as intended by the decision documents?
Question B -      Are the exposure assumptions, toxicity data, cleanup levels, and remedial action objectives (RAOs) used at the time of the remedy selection still valid?
Question C -      Has any other information come to light that could call into question the protectiveness of the remedy?
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 Exhibit 4-5: Examples of Protectiveness Determinations
 If the remedy involves...                      and you observe in your five-year review                 then your answers to        and.,
                                                that-                                                    questions A, B and
                                                                                                         C should be...

 groundwater pump-and-treat for 20                   ICs are in place;                                   A-Yes                       the remedy is considered protective
 years; ICs restricting well drilling; RAO:          new Federal standard for one,of the COCs;           B-No                        because cleanup levels are still within
 groundwater restoration to drinking                 the standard (ARAR) in the original ROD is          C-No                        the risk range and there is no current
 water standards                                     still protective, within EPA's risk range;                                      or potential exposure. However, if the
                                                     no current or potential exposure to                                             new MCL is not met, the groundwater
                                                     groundwater; and                                                                will not meet the RAO of restoration to
                                                     existing remedy can remediate                                                   drinking water standards.
                                                     groundwater to the new standard,                                                Recommend consideration of follow-
                                                                                                                                     up actions to address the new
                                                                                                                                     standard,vand the issue of not
                                                                                                                                      achieving the RAO. However, in this
                                                                                                                                      case, the remedy can meet the new
                                                                                                                                      standard, and therefore, another
                                                                                                                                      option is to recommend that the new
                                                                                                                                      standard be adopted as the new
                                                                                                                                      cleanup level, which would then allow
                                                                                                                                      you to achieve the original RAOs.
                                                                                                                                      Adopting a new cleanup level would
                                                                                                                                      have to be done through the remedy
                                                                                                                                      decision process with a ROD
                                                                                                                                      Amendment or Explanation of
                                                                                                                                      Significant Differences (ESD).




Question A -       Is the remedy functioning as intended by the decision documents?
Question B -       Are the exposure assumptions, toxicity data, cleanup levels, and remedial action ol-ectives (RAOs) used at the time of the remedy selection still valid?
Question C -       Has any other information come to light that could call into question the protectiveness of the remedy?
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 Exhibit 4-5: Examples of Protectiveness Determinations
 3. Completed Remedies

 If the remedy involves...                     and you observe in your five-year review                 then your answers to         and...
                                               that...                                                  questions A, B and
                                                                                                        C should be...

 any remedy that is complete with a five-            there were no changes to site conditions or        A-Yes                        the remedy is protective.
 year review requirement                             parameters under questions A, B, and C,            B-Yes
                                                                                                        C-No

 capping of 30-acre landfill with ICs to             ICs were never put in place;                       A-No                         the remedy is considered protective in
 prevent disturbance of cap                          mowing and cap maintenance activities              B-Yes                        the short-term because there is no
                                                     are ongoing and adequate;                          C-No                         evidence of a cap breach and thus no
                                                     there is no cracking, sliding, settlement of                                    current exposure. However, in order
                                                     cap or other indicators of cap breaches;                                        for the rertiedy to remain protective in
                                                     and                                                                             the long-term, ICs must be put in
                                                     there is no evidence of an exposure                                             place.
                                                     (human or ecological),

 groundwater pump-and-treat for 10                   there is a new standard for one of the             A-Yes                        the remedy is not protective because
 years; ICs restricting well drilling; RAO:          COCs;                                              B-No                         the standard in the ROD is no longer
 restore groundwater to drinking water               Standard in original ROD (ARAR) is now             C-No                         within the risk range and therefore no
 standards; cleanup goals were                       outside of the risk range (due to a change                                      longer protective. In addition, the RAO
 achieved and RAOs were met (third                   in toxicity); and                                                               is no longer being met. Recommend
 five-year review is being conducted as              ICs are no longer in place because RAOs                                         follow-up actions necessary to make
 a matter of policy in order to facilitate           were met last year,                                                             remedy protective and deletion should
 the deletion process)                                                                                                               not occur until this issue is resolved.




Question A -      Is the remedy functioning as intended by the decision documents?
Question B -      Are the exposure assumptions, toxicity data, cleanup levels, and remedial action objectives (RAOs) used at the time of the remedy selection still valid?
Question C -      Has any other information come to light that could call into question the protectiveness of the remedy?
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 Exhibit 4-5: Examples of Protectiveness Determinations
 If the remedy involves...                     and you observe in your five-year review                 then your answers to        and.
                                               that...                                                  questions A, B and
                                                                                                        C should be...

 excavation and disposal of top two feet            ICs are still in place;                             A-Yes                        the remedy is considered to be
 of contaminated soil; ICs prohibiting              the remedy is intact, no physical                   B-Yes                        currently protective. However, should
 residential and recreational use of the            disturbances, top two feet of clean soil            C-No                         the zoning of the property change to
 property; RAO; cleanup site to allow for           remain undisturbed; and                                                          recreational use, the remedy may no
 industrial use; site was deleted three             the local government is considering                                              longer be protective. Recommend
 years ago                                          changing the zoning of the property to                                           follow-up actions with local officials to
                                                    allow for recreational use,                                                      ensure that in the event that zoning
                                                                                                                                     changes the remedy will remain
                                                                                                                                     protective.




Question A -      Is the remedy functioning as intended by the decision documents?
Question B -      Are the exposure assumptions, toxicity data, cleanup levels, and remedial action objectives (RAOs) used at the time of the remedy selection still valid?
Question C -      Has any other information come to light that could call into question the protectiveness of the remedy?
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4.5.1 How do I formulate protectiveness statements?

       You should develop a protectiveness statement for each OU at which a remedial action
has been initiated. For sites that have reached construction completion and have more than one
OU, you should develop an additional comprehensive site-wide protectiveness statement
covering all of the remedies at the site. You should not include this additional protectiveness
statement until construction completion because, until then, all remedies at the site may not
necessarily have been selected and constructed.

        In order to promote consistency, you are strongly encouraged to model your
protectiveness statements on the sample protectiveness statements provided in Exhibits 4-6 and
4-7. Your Five-Year Review report should present the protectiveness statements at the beginning
of a discussion that should explain and provide the supporting rationale of the protectiveness
determination.


 Exhibit 4-6: Protectiveness Statements
 If the remedial action at the OU is:   then use this statement ...

 under construction and...

 protective or will be protective       "The remedy at OU X is expected to be protective of human health
                          V             and the environment upon completion, and in the interim, exposure
                                        pathways that could result in unacceptable risks are being controlled."

 not protective                         "The remedy at OU X is not protective because of the following
                                        issue(s) (describe each issue). The following actions need to be
                                        taken (describe the actions needed) to ensure protectiveness."

 protectiveness deferred                " A protectiveness determination of the remedy at OU X cannot be
                                        made at this time until further information is obtained. Further
                                        information will be obtained by taking the following actions (describe
                                        the actions). It is expected that these actions will take approximately
                                        (insert time frame) to complete, at which time a protectiveness
                                        determination will be made."




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Exhibit 4-6: Protectiveness Statements
If the remedial action at the OU is:         then use this statement ...


operating or completed and...

protective                                   "The remedy at OU X is expected to be protective upon completion or
                                             is protective of human health and the environment, and in the interim,
                                             exposure pathways that could result in unacceptable risks are being
                                             controlled."

protective in the short-term                 "The remedy at OU X currently protects human health and the
                                             environment because (describe the elements of the remedy that
                                             protect human health and the environment in the short term).
                                             However, in order for the remedy to be protective in the long-term, the
                                             following actions need to be taken (describe the actions needed) to
                                             ensure long-term protectiveness."

not protective                               "The remedy at OU X is not protective because of the following
                                             issue(s) (describe each issue). The following actions need to be
                                             taken (describe the actions needed) to ensure protectiveness.

protectiveness deferred                      " A protectiveness determination of the remedy at OU X cannot be
                                             made at this time until further information is obtained. Further
                                             information will be obtained by taking the following actions (describe
                                             the actions). It is expected that these actions will take approximately
                                             (insert time frame) to complete, at which time a protectiveness
                                             determination will be made."



Exhibit 4-7: Comprehensive Protectiveness Statements for Sites That Have
Reached Construction Completion
If the remedy(ies)        then use this statement:
is/are ...
protective                "Because the remedial actions at all OUs are protective, the site is protective of human
                          health and the environment."

not protective            "The remedial actions at OUs X and Y are protective. However, because the remedial
                          action at OU Z is not protective, the site is not protective of human health and the
                          environment at this time. The remedial action at OU Z is not protective because of the
                          following issue(s) (describe each issue). The following actions need to be taken
                          (describe the actions needed) to ensure protectiveness."




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                            Appendix A
                        Community Involvement




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                                  Community Involvement

        This appendix provides a brief discussion about community involvement during the five-
year review with a focus on the role of the 40 CFR §300 Community Involvement Coordinator
(CIC), community involvement activities, notifying the community, additional recommended
activities at high visibility sites, elements of a communications strategy, interviewing members of
the community, an example timeline of communication activities, and sources for additional
information on community involvement.

What is the role of the Community Involvement Coordinator (CIC)?

         The Community Involvement Coordinator (CIC) serves as a public participation and
communications advisor. It is his/her job to ensure effective communications with the
community. You should consult with the CIC about the most appropriate methods for notifying
and involving the community in the five-year review process. The CIC may advise, develop and
implement activities designed to notify the community and to involve the community. Part of the
community involvement process should involve reviewing the existing Community Involvement
Plan (CIP) for the site. The CIP typically describes the history of the site, including any
community involvement activities conducted in the past or special needs of the community.
Many changes may have taken place in the community since the CEP was last revised or since the
last five-year review. For example, the demographics of the community may have changed and
new businesses and residents may live in the area. Some residents may speak a language other
than English. The ClC can arrange for an interpreter and written materials can be translated into
the appropriate language.

When should I begin community involvement activities?

         You should begin working with the site's Regional CIC during the initial planning stages
of the five-year review to determine the appropriate level of community involvement for the five-
year review.

What points should be covered in notifying the community?

        At a minimum, community involvement activities during the five-year review should
include notifying the community that the five-year review will be conducted and notifying the
community when the five-year review is completed. The CIC can recommend appropriate
communication vehicles for notifying the public (e.g., publishing a public notice in the
newspaper, radio announcement, etc).

        The site team should determine the best means for notifying the community that the five-
year review process is underway. In some communities, holding an open house or public
meeting where community members may stop by and ask questions or pick up fact sheets,
brochures, etc., may work effectively. Other activities may include broadcasting a public service

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announcement on radio or television and mailing, posting, or handing out a fact sheet.
Depending on the nature of the site and the interest in the community, another option for
involving the public is to provide a public comment period on the findings of the five-year
review.

       Notice to the community that a five-year review will be conducted should at a minimum
provide:

       •       The site name, its location and web address (if available);
       •       The lead agency conducting the review;
       •       A brief description of the selected remedy;
       •       A summary of contamination addressed by the selected remedy;
       •       How the community can contribute during the review process;
       •       A contact point and phone number for further information; and
              The scheduled date of completion of the five-year review.

        Notice to the community that a five-year review has been completed should include some
of the information given in the initial notice plus additional information. At a minimum, the
notice that a five-year review has been completed should include:

       •      The site name, its location, and web address (if available);
       •      The lead agency conducting the review;
       •      A brief description of the selected remedy;
       •      A summary of contamination addressed by the selected remedy as provided in the
              initial notice;
       •      A brief summary of the results of the five-year review;
       •      The protectiveness statement(s);
       •      A brief summary of data and information that provided the basis for determining
              protectiveness, issues, recommendations, and follow-up actions directly related to
              the protectiveness of the remedy;
       •      Location(s) where a copy of the five-year review can be obtained or viewed
              (including site repositories);
       •      A contact name and telephone number where community members can obtain
              more information or ask questions about the results; and
      •       The date of the next five-year review or a statement and supporting rationale that
              five-year reviews will no longer be required.



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Are there any additional recommended activities that I should consider at high
visibility sites?

        At high profile sites or those with significant public interest, you should carefully
consider methods for informing the community about the review. You should determine if
additional or enhanced community involvement activities are appropriate. During the five-year
review, active community members may be interested in some or all of the following topics:

        •      The five-year review process;
        •      How community members or groups can contribute information about site
               activities;
        •      Where to find written documentation about the review;
        •      What the protectiveness statements mean; and
        •      What happens after the review is complete, especially if the remedy is found to be
               not protective.

        The CIC and other review team members that have knowledge of the community's needs
and interests should be involved in decisions about the level of community involvement and
appropriate activities.

What elements should I include when developing a communication strategy?

        It is always a good idea to develop a communication strategy for high profile sites. This
strategy should:

       •       Describe the public's concerns and communication needs;
       •       Identify specific communication activities that you plan to conduct;
       •       Outline a proposed schedule for these activities, and assign responsibilities for
               carrying them out; and
       •       Present expected results.

Consult Section V of the Superfund Community Involvement Handbook (OSWER Directive
9230.0-94) and Toolkit (OSWER Directive 9230.0-95) for an example of a communication
strategy. This strategy does not need to be added to the official record, and can be as informal or
detailed as community needs demand.




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How should I approach interviewing members of the community?

        In addition to notifying the community about the five-year review, you and the CIC, in
conjunction with the site team, should consider interviewing community members (especially
those living near the site) to get their views about site conditions and related concerns. If there is
a Community Advisory Group or a group with a Technical Assistance Grant related to the site,
they should be briefed at the outset of the five-year review process in addition to other interviews
you may conduct.

        You, the CIC, and other team members should review the community profile in the CIP
to obtain useful information about the community, such as business owners or residents living
near the site, and the past level of interest from individuals and groups in the community. The
CIP can also be a source for identifying other stakeholders who have been active in site activities
in the past and who could provide additional information about site conditions.

        Other important sources of information are local officials. In many cases, the CIC may be
the best person to consult local officials, because they may have met or spoken with them
previously and established rapport.

       See Appendix C, "Five-Year Review Interviews," for additional information about
conducting interviews as part of a five-year review.

What is the timeline for communication activities during a five-year review?

        Table 1, "Major Communication Milestones During a Five-Year Review," outlines the
major communication milestones during a five-year review and a suggested time frame for
conducting communication activities, especially at high profile sites or those with a strong public
interest. Consult the Superfund Community Involvement Handbook and Toolkit to determine
which activities may be best suited for your community at each stage, and for details on the time
frame and effort needed for each activity. Activities may be conducted before or at the outset of
your five-year review and during or close to the time of the site inspection, depending on the
community needs. Activities that you should conduct for all five-year reviews are identified in
Table 1 with bolded text.




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         Table 1: Major Communication Milestones During a Five-Year Review
                     When you or the CIC...                                   you should...

                              Planning the Review and Notifying the Community

            1.       review the existing CIP for             begin planning immediately, so that if
                     potentially helpful information (the    interaction with the community is needed, it is
                     CIC should lead this effort),           provided up-front.

           2.        develop a communication .strategy,      prepare a communication strategy before
                                                             notifying the community. Circumstances and
                                                             the level of public interest may change
                                                             throughout the process, so refer to and update
                                                             the strategy regularly.

           3.        notify the community that the           notify the community that the five-year review
                     five-year review will begin, using      process is beginning before the site inspection.
                     a communication activity
                     appropriate to the specific
                     community,

                                            Consulting the Community
           4.        interview community members to          plan for about one month of coordination and
                     gather additional information about     gathering of information, depending on whether
                     the site,                               contact with the community is via telephone, in
                                                             person, etc.


                          t


                              Communicating the Results of the Five- Year Review
                    When you or the CIC...                                   you should...
           5.        plan and conduct additional             plan your activities before releasing the results
                     communication activities tailored to    of the five-year review to the public. Try to
                     community needs at each site,           complete these activities before the release of
                                                             the report or within six months after the Five-
                                                             Year Review report is complete.

           6.        notify the community that the           provide this information as quickly as possible
                     Five-Year Review report is              after the Five- Year Review report is completed.
                     complete, prepare and distribute        Consult with the CIC before preparing the
                     a brief summary of the results,         summary to determine which communication
                     and place the report in the site        mechanism is most appropriate to the
                     information repositories,               community's needs.




Note: Bolded activities are required




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More Information on Community Involvement

        For more information on community involvement activities, please consult the following
sources:

•      The Superfund Community Involvement Handbook (OSWER Directive 9230.0-94) and
       Toolkit (OSWER Directive 9230.0-95). This two-volume handbook and toolkit includes
       guidance on community involvement policy throughout the Superfund pipeline, including
       special chapters on working at Federal facilities, risk communication, and multimedia
       sites. The toolkit components describe and provide over 100 tools that CICs can use to
       make their jobs easier, such as electronic and hard copy templates for public notices,
       press releases, fact sheets, communication strategies, etc.

•      The Superfund Community Tools Home Page. There are a number of information
       resources available on the EPA Web Site. Point your Web browser to
       http://www.epa.gov/superfund/action/community/index.htm to access the Superfund
       Community Tools Home Page.




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                            Appendix B
                          Document Review




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                                           Document Review

        The following six sections provide examples of potential documents to be reviewed as part
of a five-year review. Each section addresses a different aspect of the document review.
Documents commonly reviewed are displayed in a table in each section. Every site is different, so
it may be necessary to review additional documents, such as relevant Memoranda of
Understanding, to fully understand the remedial actions at a site. The tables and text below should
be used as a guide.                   *

        •        Basis for the Response Action;
        •        Implementation of the Response;
        •        Operation and Maintenance;
        •        Remedy Performance;
        •        I^egal Documentation; and
        •        Community Involvement.

Basis for the Response Action

       Remedy decision documents, and Federal and State laws and regulations, provide the basis
upon which the remedy was selected or modified. The documents in the table below identify the
background and goals of the remedy and any changes in laws and regulations that may affect the
remedy. Other sources of remedy decision information are the Remedial Investigation/Feasibility
Study (RI/FS) Report, toxicological and chemical characteristics databases, and transcripts of
public meetings.

       Non-remedial responses have other types of documentation. For instance, removal actions
frequently are documented through an Action Memorandum. You should adapt your review of
those documents to the circumstances at your site.

            Document                  Purpose of Document                Use During the Five-Year Review

 Decision Documents               -    records remedial decision    -    goals of the remedy
 -  RODs                               or other actions, and        -    background information on the site
 -  ROD Amendments                      significant changes from     -    basis for action
 -  Explanations of Significant        the original remedy          -    cleanup levels and applicable or relevant
    Differences                                                          and appropriate requirements (ARARs)
 - Action Memoranda                                                 -    community concerns and preferences




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          Document              Purpose of Document                 Use During the Five-Year Review

 Federal Environmental Laws      statutory and regulatory          changes in standards identified as ARARs
 and Regulations                 requirements that may             in the ROD that provide a basis for cleanup
                                 affect the judgement as to        levels/protectiveness of the remedy (only
                                 whether the remedy                ARARs related to protectiveness need be
                                 protects human health             reviewed)
                                 and the environment               pertinent laws and regulations promulgated
                                                                   since the signing of the ROD that are
                                                                   potentially applicable or relevant and
                                                                   appropriate and that potentially bear on the
                                                                   protectiveness of the remedy

 State Environmental Laws and    statutory and regulatory          more stringent State environmental laws
 Regulations                     requirements that may             and regulations have the same standing
                                 affect the judgement as to        under the National Contingency Plan (NCR)
                                 whether the remedy                as Federal laws and regulations, and should
                                 protects human health             be reviewed in the same manner when they
                                 and the environment               may call into question whether the remedy
                                                                   protects human health and the environment
                                                                   (the State typically should perform this
                                                                   component of the review)


Implementation of the Response

         Implementation documents furnish information about design assumptions, design plans or
modifications, and documentation of the completion of construction at operable units (OUs) and
the site. Design reports, plans, and specifications are other documents that provide further
information.

          Document              Purpose of Document                 Use During the Five-Year Review

 Remedial Action Reports         documents that for a              detailed history and status of remedial
 (both interim and final)        single operable unit all          actions
                                 construction activities are
                                 complete, the remedy is
                                 operational and
                                 functional, and that
                                 cleanup levels have been
                                 achieved
                                 Interim Remedial Action
                                 Reports are used for
                                 long-term actions where
                                 cleanup levels have not
                                 yet been achieved

As-built drawings                documents                         documentation of completed action and/or
                                 changes/modifications to          implemented remedy
                                 the original design which
                                 occurred during the
                                 construction




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           Document                Purpose of Document                 Use During the Five-Year Review

  Close Out Reports (Preliminary    the preliminary report             background information and the status of
  and Final)                        documents that all                 the remedial actions at the site
                                    physical construction for
                                    all operable units at a site
                                    is complete
                                    the final report
                                    documents cleanup levels
                                    have been met


Remedy Performance

        Monitoring data, progress reports, and performance evaluation reports provide information
that can be used to determine whether the remedial action continues to operate and function as
designed (e.g., extent of groundwater plume is well defined and update plume maps confirm
containment), and has achieved, or is expected to achieve, cleanup levels. The data presented in
these documents can also provide trend analysis which can be used to determine how well the
remedy is performing and how long it will take to achieve remediation goals. These reports can
also indicate whether monitoring activities are adequate to ensure the effectiveness of the remedy
(e.g., wells in locations that can show contaminant plume is contained and not migrating) and
whether these activities are being conducted.

          Document                 Purpose of Document                 Use During the Five-Year Review
 Monitoring                         records monitoring data        -   to check whether contaminant levels are
 Information/Records/Progress       and other information,             within established criteria
 Reports (information could         including contaminant
 include air sampling,              levels                         -   whether cleanup levels will be achieved
 groundwater monitoring data,
 survey/settlement monument         trend analysis                 -   (for containment remedies) contaminant
 records, and gas generation                                           plumes are being contained
 records data/performance           containment evaluation
 evaluation)

Operation and Maintenance (O&M)

        O&M documents describe the ongoing measures at a site to ensure the remedy remains
protective. (Long-term response actions to restore groundwater and surface water during the
remedial phase are referred to as "system operations" in this guidance. Although this section refers
to O&M documents, similar documents should be reviewed to assess system operations.) They
provide the structure for O&M at the site and confirm that O&M is proceeding as planned. O&M
documents that may be helpful are the O&M Manual, O&M Plan, the O&M Contract, O&M and
Occupational Safety and Health Administration (OSHA) Training Records, permits and service
agreements, and access and security logs. Other types of O&M data to be reviewed include permit
compliance data such as air or water discharge sampling results, facilities operation data such as
treatment train operational records, gas monitoring and leachate collection data, maintenance
records and logs, and O&M cost data. These data demonstrate the proper O&M of the remedy.

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           Document                  Purpose of Document                   Use During the Five-Year Review

 O&M Manual                            contains technical                 purpose and function of the equipment and
                                       information necessary to           systems which comprise the overall facility
                                       operate and maintain the
                                       remedy

 O&M Reports                           documents O&M                      to check whether O&M is proceeding as
                                       activities, data, and costs        planned

 Discharge Permits and                 notes ^contaminant levels          to check whether the remedy is operating
 Deviations*                           for the discharge permits          within design parameters
                                       notes contaminant levels
                                       for deviations

* Permits are not required for actions taken on site. Reviewer should focus on ensuring compliance with substantive
requirements of otherwise permitted activities.

Legal Documentation

       Legal documentation pertinent to the site may specify responsibilities for conducting
remedial actions, implementing institutional and access controls, O&M activities, and performing
elements of the five-year reviews.

          Document                   Purpose of Document                   Use During the Five-Year Review

 Enforcement Documents                 commitments/                   -   responsibilities of the PRP for conducting
 - Consent Decrees '                   agreements regarding               remedial activities at various stages of site
 - Unilateral Administrative           implementation and                 cleanup
     Orders                            operation of the remedy,       -   O&M requirements
 - Administrative Orders on            and conduct of studies             (when these documents are used to enforce
     Consent                           access agreements that             the performance of O&M, they may
                                       are needed                         incorporate O&M documents, such as the
                                                                          O&M Manual)

 Institutional Controls                means to restrict the use      -   status of institutional controls
 (deed notices, easements,             of a parcel or an
 other conditions, covenants or        associated resource,
 restrictions on deeds, and            such as groundwater
 groundwater and land use
 restriction documents)

 Superfund State Contracts and         State assurance letters to         O&M implementation and reporting
 Cooperative Agreements                conduct O&M                        requirements
                                       State authorities                  roles of different agencies
                                       responsible for O&M
                                       specific O&M
                                       requirements
                                       agreements with Indian
                                       Tribes

 Interagency Agreements and            responsibilities of other          O&M guidelines and rules in effect
 Federal Facility Agreements           agencies                           (sometimes other agencies adopt their own
                                                                          guidelines and rules, which must be
                                                                          consistent with those established by EPA)



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Community Involvement

        The Community Involvement Plan (CIP) may give you a better understanding of the history
of community involvement, and of other activities at the site. In addition, the CIP may help you
identify community members who would be valuable resources during the interview process.

         Document                 Purpose of Document              Use During the Five-Year Review

 Community Involvement Plan   -    site communication          -   community concerns/issues and
                                   strategy that specifies         identification of appropriate community
                                   outreach activities             members for interviews




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                            Appendix C
                    Five-Year Review Interviews




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                                 Five-Year Review Interviews

        Information gathered from interviews during the site inspection may be key to
understanding site status. Interviews should be conducted with various individuals or groups,
including the operation and maintenance (O&M) site manager, O&M staff, local regulatory
authorities and response agencies, community action groups or associations, site neighbors, and
other stakeholders.

        When conducting an interview, the interviewer should note the date of the interview, and
the name, title, and affiliation of the person interviewed. The interviewer should also indicate
whether the interview was conducted at the site, the office, or by phone. Written documentation of
the interview should briefly summarize the discussion, address any problems or successes with the
implementation of the remedy, and provide suggestions for future reference. Forms to use during
interviews are provided at the end of this appendix.

        The following tables provide lists of potential individuals to interview and the type of
information which may be obtained during the interviews. The potential individuals to be
interviewed are categorized by their ability to provide the following types of information:

        •       Background information;
        •       State and local considerations;
        •       Construction considerations; and
        •       Performance, Operation and maintenance problems.

        All of these individuals may be contacted during the five-year review, hi most cases
interviewing only a few key individuals will provide sufficient information for the review.

Background Information

       The individuals listed below may provide information concerning previous and current
concerns about the site, influences that affected the remedy decision, and further clarification on
decisions made during remedy selection.

               Interview                                       Information Sought

 Previous EPA Staff/Management             staff members may offer insight and clarification on decisions
                                           made during remedy selection and implementation

 Nearest Neighbors                         neighbors may provide insight into the enforcement of institutional
                                           controls, changes in land use, trespassing, and unusual or
                                           unexpected activity at the site




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                 Interview                                                 Information Sought
 Community Representatives*                     -       members of the community may provide a broader view of site
                                                        activities and issues than can be obtained during the site
                                                        inspection

 * Several types of individuals may be interviewed: residents/businesses adjacent to or on the site;
 residents/businesses within the path of migration; local civic leaders, local officials, Community Advisory Group
 (CAG), Technical Assistance Grant (TAG) group, and local environmental groups; and other audiences listed in the
 community profile in the Community Involvement Plan.

Some example interview questions are given below.

1. What is your overall impression of the project? (general sentiment)

2. What effects have site operations had on the surrounding community?

3. Are you aware of any community concerns regarding the site or its operation and
   administration? If so, please give details.

4. Are you aware of any events, incidents, or activities at the site such as vandalism, trespassing,
   or emergency responses from local authorities? If so, please give details.

5. Do you feel well informed about the site's activities and progress?
                        r

6. Do you have any comments, suggestions, or recommendations regarding the site's management
   or operation?

State and Local Considerations

       State and local authorities may provide you with information about changes in State laws
and regulations and present and prospective land uses and restrictions.

                  Interview                                                 Information Sought
 State Contacts (including those responsible        -     changes in State laws and regulations that may impact
 for State water quality, hazardous waste,                protectiveness
 and environmental health issues)                   -     whether the site has been in compliance with permitting or
                                                          reporting requirements
                                                    -     information on site activities, status, and issues

 Local Authorities (such as police,                 -     status of institutional controls, site access controls, new
 emergency response or fire departments,                  ordinances in place, changes in actual or projected land use,
 and local environmental or planning offices)             complaints being filed, and unusual activities at the site




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         Some example interview questions are given below.

 1.      What is your overall impression of the project? (general sentiment)

2.       Have there been routine communications or activities (site visits, inspections, reporting
         activities, etc.) conducted by your office regarding the site? If so, please give purpose and
         results.

3.       Have there been any complaints, violations, or other incidents related to the site requiring a
         response by your office? If so, please give details of the events and results of the responses.

4.       Do you feel well informed about the site's activities and progress?

5.       Do you have any comments, suggestions, or recommendations regarding the site's
         management or operation?

Construction Considerations

        It is important for you to determine the status of construction at the site and to ensure that
health and safety concerns are addressed.

                Interview                                        Information Sought
 Construction Contractor                     progress of project and changes in design due to field conditions
                                             revisions to the O&M Manual, implementation of the Health and
                                             Safety Plan/Contingency Plan
                                             insight into potential O&M problems

 Construction Manager                        overview of all contractor construction activities at the site, health
                                             and safety issues, site protectiveness during construction, and the
                                             quality of the construction

 Local Emergency Flesponse Officials         adequacy of contractor's Health and Safety Plan and the
                                             contractor's implementation of the Plan
                                             adequacy of contractor's emergency response duties as outlined
                                             in the Contingency Plan or Emergency Response Plan of the
                                             Health and Safety Plan


         Some example interview questions for remedial actions still under construction are given
below.

         What is your overall impression of the project? (general sentiment)

2.       What is the current status of construction (e.g., budget and schedule)?

3.       Have any problems been encountered which required, or will require, changes to this
         remedial design or this ROD?

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4.      Have any problems or difficulties been encountered which have impacted construction
        progress or implementability?

5.      Do you have any comments, suggestions, or recommendations regarding the project (i.e.,
        design, construction documents, constructability, management, regulatory agencies, etc.)?

Performance, Operation And Maintenance Problems

      The following individuals may provide information to you regarding the performance of the
remedy and status of O&M at the site so that the team can assess the progress of the
implementation and effectiveness of the remedy, and any O&M problems.

               Interview                                      Information Sought

 O&M Manager/Operating Contractor          O&M status of the remedy, compliance with permit and reporting
                                           requirements, and complaints filed
                                           effectiveness of the O&M Plan
                                           information about any potential causes for concern about the
                                           remedy
                                           progress and performance of thq remedy
 O&M Staff                                 effectiveness of the O&M Manual
                                           information about any potential causes for concern about the
                                           remedy
                                           Recommendations for adjusting the mode of operation or
                                           optimizing the operations protocol

 Remedial Design/Remedial Action           original concepts behind the O&M of the remedy
 Consultant                                questions about remedial design parameters, expected
                                           performance and cost, and changes that have occurred during
                                           implementation

       Some example interview questions are given below.

1.     What is your overall impression of the project? (general sentiment)

2.     Is the remedy functioning as expected? How well is the remedy performing?

3.     What does the monitoring data show? Are there any trends that show contaminant levels
       are decreasing?

4.     Is there a continuous on-site O&M presence? If so, please describe staff and activities. If
       there is not a continuous on-site presence, describe staff and frequency of site inspections
       and activities.

5.     Have there been any significant changes in the O&M requirements, maintenance schedules,
       or sampling routines since start-up or in the last five years? If so, do they affect the
       protectiveness or effectiveness of the remedy? Please describe changes and impacts.

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6.     Have there been unexpected O&M difficulties or costs at the site since start-up or in the last
       five years? If so, please give details.

7.     Have there been opportunities to optimize O&M, or sampling efforts? Please describe
       changes and resultant or desired cost savings or improved efficiency.

8.     Do you have any comments, suggestions, or recommendations regarding the project?




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                        INTERVIEW DOCUMENTATION FORM
The following is a list of individual interviewed for this five-year review, See the attached
contact record(s) for a detailed summary of the interviews.


        Name                 Title/Position           Organization                  Date




        Name                 Title/Position           Organization                  Date




        Name                 Title/Position           Organization                  Date




        Name                 Title/Position           Organization                  Date




        Name                 Title/Position           Organization                  Date




       Name                  Title/Position           Organization                  Date
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                           INTERVIEW RECORD

Site Name:                                                            EPA ID No.:

Subject:                                                              Time:             Date:

Type:      D Telephone   Visit            Other                       n Incoming      n Outgoing
Location of Visit:

                                      Contact Made By:
Name:                        Title:                                   Organization:

                                 Individual Contacted:
Name:                        Title:                                   Organization:

Telephone No:                                     Street Address:
Fax No:                                           City, State, Zip:
E-Mail Address:

                             Summary Of Conversation




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                           Appendix D
            Five-Year Review Site Inspection Checklist




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                     Five-Year Review Site Inspection Checklist

Purpose of the Checklist

        The site inspection checklist provides a useful method for collecting important information
during the site inspection portion of the five-year review. The checklist serves as a reminder of
what information should to be gathered and provides the means of checking off information
obtained and reviewed, or informatioivnot available or applicable. The checklist is divided into
sections as follows:

I.     Site Information
n.     Interviews
ffi.   On-site Documents & Records Verified
IV.    O&M Costs
V.     Access and Institutional Controls
VI.    General Site Conditions
Vn.    Landfill Covers
Vm.    Vertical Barrier Walls
EX.    Groundwater/Surface Water Remedies
X.     Other Remedies
XI.    Overall Observations

        Some data and information identified in the checklist may or may not be available at the
site depending on how the site is managed. Sampling results, costs, and maintenance reports may
be kept on site or may be kept in the offices of the contractor or at State offices. In cases where the
information is not kept at the site, the item should not be checked as "not applicable," but rather it
should be obtained from the office or agency where it is maintained. If this is known in advance, it
may be possible to obtain the information before the site inspection.

        This checklist was developed by EPA and the U.S. Army Corps of Engineers (USAGE). It
focuses on the two most common types of remedies that are subject to five-year reviews: landfill
covers, and groundwater pump and treat remedies. Sections of the checklist are also provided for
some other remedies. The sections on general site conditions would be applicable to a wider
variety of remedies. The checklist should be modified to suit your needs when inspecting other
types of remedies, as appropriate.

         The checklist may be completed and attached to the Five-Year Review report to document
site status. Please note that the checklist is not meant to be completely definitive or restrictive;
additional information may be supplemented if the reviewer deems necessary. Also note that
actual site conditions should be documented with photographs whenever possible.




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Using the Checklist for Types of Remedies

        The checklist has sections designed to capture information concerning the main types of
remedies which are found at sites requiring five-year reviews. These remedies are landfill covers
(Section Vn of the checklist) and groundwater and surface water remedies (Section DC of the
checklist). The primary elements and appurtenances for these remedies are listed in sections which
can be checked off as the facility is inspected. The opportunity is also provided to note site
conditions, write comments on the facilities, and attach any additional pertinent information. If a
site includes remedies beyond these, such as soil vapor extraction or soil landfarming, the
information should be gathered in a similar manner and attached to the checklist.

Considering Operation and Maintenance Costs

       Unexpectedly widely varying or unexpectedly high O&M costs may be early indicators of
remedy problems. For this reason, it is important to obtain a record of the original O&M cost
estimate and of annual O&M costs during the years for which costs incurred are available.
Section IV of the checklist provides a place for documenting annual costs and for commenting on
unanticipated or unusually high O&M costs. A more detailed categorization of costs may be
attached to the checklist if available. Examples of categories of O&M costs are listed below.

Operating Labor - This includes all wages, salaries, training, overhead, and fringe benefits
associated with the labor needed for operation of the facilities and equipment associated with the
remedial actions.

Maintenance Equipment and Materials - This includes the costs for equipment, parts, and other
materials required to perform routine maintenance of facilities and equipment associated with a
remedial action.

Maintenance Labor - This includes the costs for labor required to perform routine maintenance of
facilities and for equipment associated with a remedial action.

Auxiliary Materials and Energy - This includes items such as chemicals and utilities which can
include electricity, telephone, natural gas, water, and fuel. Auxiliary materials include other
expendable materials such as chemicals used during plant operations.

Purchased Services - This includes items such as sampling costs, laboratory fees, and other
professional services for which the need can be predicted.

Administrative Costs - This includes all costs associated with administration of O&M not included
under other categories, such as labor overhead.




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Insurance, Taxes and Licenses - This includes items such as liability and sudden and accidental
insurance, real estate taxes on purchased land or right-of-way, licensing fees for certain
technologies, and permit renewal and reporting costs.

Other Costs - This includes all other items which do not fit into any of the above categories.




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Please note that "O&M" is referred to throughout this checklist. At sites where Long-Term
Response Actions are in progress, O&M activities may be referred to as "system operations" since
these sites are not considered to be in the O&M phase while being remediated under the Superfund
program.

               Five-Year Review Site Inspection Checklist (Template)

(Working document for site inspection^. Information may be completed by hand and attached to the
Five-Year Review report as supporting documentation of site status. "N/A" refers to "not applicable.")

                                              I. SITE INFORMATION

  Site name:                                                    Date of inspection:

  Location and Region:                                          EPA ID:

  Agency, office, or company leading the five-year              Weather/temperature:
  review:

  Remedy Includes: (Check all that apply)
         D Landfill cover/containment                    D Monitored natural attenuation
         D Access controls                               D Groundwater containment
         D Institutional controls                        D Vertical barrier walls
         D Groundwater pump and treatment
         D Surface water collection and treatment
         D Other


  Attachments:     D Inspection team roster attached                D Site map attached

                                      II. INTERVIEWS (Check all that apply)

  1. O&M site manager .
                                        Name                                Title                  Date
    Interviewed tZI at site I I at office EH by phone   Phone no.
    Problems, suggestions; D Report attached



 2. O&M staff
                           Name                                     Title                   Date
    Interviewed D at site D at office D by phone        Phone no.
    Problems, suggestions; D Report attached




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3.       Local regulatory authorities and response agencies (i.e., State and Tribal offices, emergency response
         office, police department, office of public health or environmental health, zoning office, recorder of
         deeds, or other city and county offices, etc.) Fill in all that apply.

         Agencv
         Contact
                          Name                               Title                 Date          Phone no.
         Problems; suggestions; D Report attached


         Agency
         Contact
                          Name                               Title                 Date          Phone no.
         Problems; suggestions: D Report attached


         Agencv
         Contact
                          Name                               Title                 Date          Phone no.
         Problems; suggestions: D Report attached


         Agencv
         Contact
                          Name                               Title                 Date          Phone no.
         Problems; suggestions; D Report attached
                     r


4.       Other interviews (optional) D Report attached.




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               III. ON-SITE DOCUMENTS & RECORDS VERIFIED (Check all that apply)

1.       O&M Documents
         D O&M manual                             D Readily available       D Up to date    DM/A
         D As-built drawings                      D Readily available       D Up to date    DN/A
         D Maintenance logs                       D Readily available       D Up to date    DM/A
         Remarks


2.       Site-Specific Health and Safety Plan           D Readily available D Up to date    DN/A
         D Contingency plan/emergency response plan     D Readily available D Up to date    DN/A
         Remarks


3.       O&M and OSHA Training Records            D Readily available       D Up to date    DN/A
         Remarks


4.       Permits and Service Agreements
         D Air discharge permit                   D Readily available       D Up to date    DN/A
         D Effluent discharge                     D Readily available       D Up to date    DN/A
         D Waste disposal, POTW                   D Readily available       CH Up to date   DN/A
         D Other permits                          D Readily availab!"       D Up to date    DN/A
         Remarks


5.       Gas Generation Records           D Readily available       D Up to date    D N/A
         Remarks


6.       Settlement Monument Records              D Readily available       D Up to date    DN/A
         Remarks


7.       Groundwater Monitoring Records           D Readily available       D Up to date    DM/A
         Remarks


8.       Leachate Extraction Records              D Readily available       D Up to date    DN/A
         Remarks


9.       Discharge Compliance Records
         D Air                                    D Readily available       D Up to date    DN/A
         D Water (effluent)                       D Readily available       D Up to date    DN/A
         Remarks


10.      Daily Access/Security Logs               D Readily available       D Up to date    DN/A
         Remarks




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                                               IV. O&M COSTS

         O&M Organization
         D State in-house                    D Contractor for State
         D PRP in-house                      D Contractor for PRP
         D Federal Facility in-house         HH Contractor for Federal Facility
         D Other


2.       O&M Cost Records             •
         D Readily available      D Up to date
         D Funding mechanism/agreement in place
         Original O&M cost estimate                           D Breakdown attached

                            Total annual cost by year for review period if available

         From              To                                          D Breakdown attached
                 Date              Date              Total cost
         From              To                                          D Breakdown attached
                 Date              Date              Total cost
         From              To                                          D Breakdown attached
                 Date              Date              Total cost
         From              To                                          D Breakdown attached
                 Date              Date              Total cost
         From              To                                          D Breakdown attached
                 Date              Date              Total cost


3.       Unanticipated or Unusually High O&M Costs During Review Period
         Describe costs and reasons:




                V. ACCESS AND INSTITUTIONAL CONTROLS D Applicable D N/A

A. Fencing

1.       Fencing damaged          D Location shown on site map         EH Gates secured           D N/A
         Remarks


B. Other Access Restrictions

         Signs and other security measures           D Location shown on site map         D N/A
         Remarks




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c. Institutional Controls (ICs)
1.       Implementation and enforcement
         Site conditions imply ICs not properly implemented                         D Yes D No       DN/A
         Site conditions imply ICs not being fully enforced                         D Yes D No       DN/A

         Type of monitoring (e.g.. self-reporting, drive by)
         Frequency
         Responsible partv/agencv
         Contact
                          Name                              Title                          Date      Phone no.

         Reporting is up-to-date                                                    D Yes D No       DN/A
         Reports are verified by the lead agency                                    D Yes D No       DN/A

         Specific requirements in deed or decision documents have been met          D Yes D No       DN/A
         Violations have been reported                                              D Yes D No       ON/A
         Other problems or suggestions:      D Report attached




2.       Adequacy                    D ICs are adequate             D ICs are inadequate             DN/A
         Remarks



D. General

1.       Vandalism/trespassing      D Location shown on site map            D No vandalism evident
         Remarks


2.       Land use changes on site D N/A
         Remarks


3.       Land use changes off site D N/A
         Remarks


                                     VI. GENERAL SITE CONDITIONS
A. Roads          D Applicable      D N/A
1.       Roads damaged              D Location shown on site map            D Roads adequate         DN/A
         Remarks




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B. Other Site Conditions

        Remarks




                                          ^
                           VII. LANDFILL COVERS              D Applicable D N/A

A. Landfill Surface

1.      Settlement (Low spots)                D Location shown on site map    D Settlement not evident
        Areal extent                          Depth
        Remarks


2.      Cracks                                D Location shown on site map    D Cracking not evident
        Lengths                  Widths                   Depths
        Remarks


3.      Erosion                               D Location shown on site map    D Erosion not evident
        Areal extent                          Depth
        Remarks


4.     Holes                                  D Location shown on site map    D Holes not evident
       Areal extent                           Depth
       Remarks


5.     Vegetative Cover          D Grass            D Cover properly established      D No signs of stress
       D Trees/Shrubs (indicate size and locations on a diagram)
       Remarks


6.     Alternative Cover (armored rock, concrete, etc.)               D N/A
       Remarks


7.     Bulges                                 D Location shown on site map    D Bulges not evident
       Areal extent                           Height
       Remarks




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8.       Wet Areas/Water Damage              D Wet areas/water damage not evident
         D Wet areas                         D Location shown on site map     Areal extent
         D Ponding                           D Location shown on site map     Areal extent
         D Seeps                             D Location shown on site map     Areal extent
         D Soft subgrade                     D Location shown on site map     Areal extent
         Remarks


9.       Slope Instability      D Slides     D Location shown on site map     D No evidence of slope instability
         Areal extent
         Remarks


B. Benches               d Applicable      D N/A
       (Horizontally constructed mounds of earth placed across a steep landfill side slope to interrupt the slope
       in order to slow down the velocity of surface runoff and intercept and convey the runoff to a lined
       channel.)

1.       Flows Bypass Bench                  D Location shown on site map                 D N/A or okay
         Remarks


2.       Bench Breached             D Location shown on site map                 D N/A or okay
         Remarks


3.       Bench Overtopped                    D Location shown on site map                 D N/A or okay
         Remarks    '


C. Letdown Channels D Applicable            D N/A
       (Channel lined with erosion control mats, riprap, grout bags, or gabions that descend down the steep side
       slope of the cover and will allow the runoff water collected by the benches to move off of the landfil
       cover without creating erosion gullies.)

1.       Settlement                 D Location shown on site map        D No evidence of settlement
         Areal extent                       Depth
         Remarks


2.       Material Degradation      D Location shown on site map         D No evidence of degradation
         Material tvpe                     Areal extent
         Remarks


3.       Erosion                   D Location shown on site map         D No evidence of erosion
         Areal extent                      Depth
         Remarks




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4.     Undercutting              D Location shown on site map             D No evidence of undercutting
       Areal extent                      Depth
       Remarks


5.     Obstructions   Tvpe                                                D No obstructions
       D Location shown on site map                       Areal e xtent
       Size
       Remarks
                                         •?

6.     Excessive Vegetative Growth                 Type
       D No evidence of excessive growth
       D Vegetation in channels does not obstruct flow
       D Location shown on site map                    Areal e xtent
       Remarks


D. Cover Penetrations   D Applicable          D N/A

1.     Gas Vents                 D Active        D Passive
       D Properly secured/locked          D Functioning D Routinely sampled               D Good condition
       D Evidence of leakage at penetration              D Needs Maintenance
       DN/A
       Remarks


2      Gas Monitoring Probes
       D Properly secured/locked          D Functioning        D Routinely sampled        D Good condition
       D Evidence of leakage at penetration                    D Needs Maintenance        DN/A
       Remarks


3.     Monitoring Wells (within surface area of landfill)
       D Properly secured/locked          D Functioning        D Routinely sampled        D Good condition
       D Evidence of leakage at penetration                    D Needs Maintenance        DN/A
       Remarks


4.     Leachate Extraction Wells
       D Properly secured/locked          D Functioning       D Routinely sampled         D Good condition
       D Evidence of leakage at penetration                   D Needs Maintenance         DN/A
       Remarks


5.     Settlement Monuments                   D Located       D Routinely surveyed        DN/A
       Remarks




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E. Gas Collection and Treatment G Applicable         D N/A

 1.      Gas Treatment Facilities
         D Flaring                C Thermal destruction       D Collection for reuse
         D Good condition         D Needs Maintenance
         Remarks


2.       Gas Collection Wells, Manifolds and Piping
         D Good condition        D Needs Maintenance
         Remarks


3.       Gas Monitoring Facilities (e.g., gas monitoring of adjacent homes or buildings)
         D Good condition         D Needs Maintenance         D N/A
         Remarks


F. Cover Drainage Layer                     D Applicable              D N/A

1.       Outlet Pipes Inspected             D Functioning             D N/A
         Remarks


2.       Outlet Rock Inspected              D Functioning             D N/A
         Remarks

                   •
G. Detention/Sedimentation Ponds            D Applicable              D N/A

1.       SiltationAreal extent                      Depth                                  D N/A
         D Siltation not evident
         Remarks


2.       Erosion          Areal extent                   Denth
         D Erosion not evident
         Remarks


3.       Outlet Works              D Functioning    D N/A
         Remarks


4.       Dam                       D Functioning    D N/A
         Remarks




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H. Retaining Walls                D Applicable     D N/A

1.      Deformations              D Location shown on site map      D Deformation not evident
        Horizontal displacement                   Vertical displacement
        Rotational displacement
        Remarks


2.      Degradation               D Location shown on site map       D Degradation not evident
        Remarks


I. Perimeter Ditches/Off-Site Discharge            D Applicable      D N/A

1.      Siltation         D Location shown on site map D Siltation not evident
        Areal extent                      Depth
        Remarks


2.      Vegetative Growth        D Location shown on site map       D N/A
        D Vegetation does not impede flow
        Areal extent                      Tvnc
        Remarks


3.      Erosion                   D Location shown on site map       D Erosion not evident
        Areal extent                      Depth
        Remarks


4.     Discharge Structure        D Functioning    D N/A
       Remarks


                       VIII. VERTICAL BARRIER WALLS               D Applicable D N/A

1.     Settlement                 D Location shown on site map       D Settlement not evident
       Areal extent                       Depth
       Remarks


2.     Performance Monitorin »Tvpe of monitoring
       D Performance not monit ored
       Frequency                                            D Evidence of breaching
       Head differential
       Remarks




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           IX. GROUNDWATER/SURFACE WATER REMEDIES                     D Applicable      DN/A
A. Groundwater Extraction Wells, Pumps, and Pipelines                     D Applicable       D N/A

1.      Pumps, Wellhead Plumbing, and Electrical
        D Good condition      D All required wells properly operating D Needs Maintenance D N/A
        Remarks



2.      Extraction System Pipelines, Valves, Valve Boxes, and Other Appurtenances
        D Good condition         D Needs Maintenance
        Remarks


3.      Spare Parts and Equipment
        D Readily available    D Good condition        D Requires upgrade D Needs to be provided
        Remarks


B. Surface Water Collection Structures, Pumps, and Pipelines      D Applicable       D N/A

1.      Collection Structures, Pumps, and Electrical
        D Good condition         D Needs Maintenance
        Remarks


2.      Surface Water Collection System Pipelines, Valves, Valve Boxes, and Other Appurtenances
        D Good condition        D Needs Maintenance
        Remarks



3.     Spare Parts and Equipment
       D Readily available    D Good condition      D Requires upgrade D Needs to be provided
       Remarks




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c. Treatment System                D Applicable      D N/A

 1.     Treatment Train (Check components that apply)
        D Metals removal                     D Oil/water separation            D Bioremediation
        D Air stripping                      D Carbon adsorbers
        D Filters
        D Additive (e.g., chelation agent, flocculent)
        D Others
        D Good condition                     D Needs Maintenance
        D Sampling ports properly market! and functional
        D Sampling/maintenance log displayed and up to date
        D Equipment properly identified
        D Quantity of groundwater treated annually
        D Quantity of surface water treated annually
        Remarks


2.      Electrical Enclosures and Panels (properly rated and functional)
        D N/A            D Good condition          D Needs Maintenance
        Remarks


3.     Tanks, Vaults, Storage Vessels
        D N/A             D Good condition           D Proper secondary containment     D Needs Maintenance
        Remarks


4.     Discharge Structure and Appurtenances
       D N/A           D Good condition      D Needs Maintenance
       Remarks


5.     Treatment Building(s)
       D N/A           D Good condition (esp. roof and doorways)               D Needs repair
       D Chemicals and equipment properly stored
       Remarks


6.     Monitoring Wells (pump and treatment remedy)
       D Properly secured/locked       D Functioning D Routinely sampled                D Good condition
       D All required wells located    D Needs Maintenance                              D N/A
       Remarks


D. Monitoring Data

1.     Monitoring Data
               D Is routinely submitted on time          D Is of acceptable quality

2.     Monitoring data suggests:
       D Groundwater plume is effectively contained      D Contaminant concentrations are declining




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D. Monitored Natural Attenuation

        Monitoring Wells (natural attenuation remedy)
        D Properly secured/locked         D Functioning D Routinely sampled                D Good condition
        D All required wells located      D Needs Maintenance                              D N/A
        Remarks


                                            X. OTHER REMEDIES

     If there are remedies applied at the site which are not covered above, attach an inspection sheet describing
     the physical nature and condition of any facility associated with the remedy. An example would be soil
     vapor extraction.

                                      XI. OVERALL OBSERVATIONS

A.      Implementation of the Remedy

        Describe issues and observations relating to whether the remedy is effective and functioning as designed.
        Begin with a brief statement of what the remedy is to accomplish (i.e., to contain contaminant plume,
        minimize infiltration and gas emission, etc.).




B.      Adequacy of O&M

        Describe issues and observations related to the implementation and scope of O&M procedures. In
        particular, discuss their relationship to the current and long-term prolectiveness of the remedy.




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C.   Early Indicators of Potential Remedy Problems

     Describe issues and observations such as unexpected changes in the cost or scope of O&M or a high
     frequency of unscheduled repairs, that suggest that the protectiveness of the remedy may be
     compromised in the future.




D.   Opportunities for Optimization

     Describe possible opportunities for optimization in monitoring tasks or the operation of the remedy.




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                             Appendix E
                  Five-Year Review Report Template




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                          Five-Year Review Report Template

       This appendix provides a suggested checklist and a format for Five-Year Review reports.
The checklist appears first, followed by the report template. You are encouraged to follow the
template to ensure national consistency in the structure of Five-Year Review reports. However,
each report should take into account site-specific circumstances, and you should modify the report
format and content accordingly. For example, in some cases the report may be clearer if organized
by operable unit (OU), or you may need to include site-specific questions that do not appear in this
appendix.

        The suggested format for Five-Year Review reports includes three main components:
cover material, summary information, and the report body. Templates for each of these
components follow. These templates provide suggested standard formats, boilerplate text,
subheadings, checklists, example tables, and protectiveness statements. Suggested boilerplate text
is presented in text boxes. Within the boilerplate section, text enclosed in brackets ("[ ]") should
be added as appropriate, and italicized text denotes discussions that the reviewer should add.

        You should use both the checklist and report template as guides for the types of information
that should appear in the different sections of your Five-Year Review report. You should include
information that is relevant to your site and needed to ensure that the rationale behind the
protectiveness determination is adequately documented.




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                                   Content Checklist For
                                 Five-Year Review Reports
This checklist may be used by you, your managers, etc., to verify that you have included all of the
appropriate information in your Five-Year Review report. Depending on site-specific
circumstances, some items may not be applicable. For example, a report for a site just beginning
construction will generally contain less data than for a site that has reached construction
completion.                            '

General Report Format
  n Signed concurrence memorandum (as appropriate)
  n Title page with signature and date
  d Completed five-year review summary form (page E-15)
  Cl List of documents reviewed
  D Site maps (as appropriate)
  D List of tables and figures
  n Interview report (as appropriate)
  O Site inspection checklist
  d Photos documenting site conditions (as appropriate)

Introduction
    d The purpose pf the five-year review
    D Authority for conducting the five-year review
    El Who conducted the five-year review (lead agency) and when
       D Organizations providing analyses in support of the review (e.g., the contractor
           supporting the lead agency )
       n Other review participants or support agencies
    n Review number (e.g., first, second)
    D Trigger action and date
    n Number, description, and status of all operable units at the site
    n If review covers only part of a site, explain approach
       n Define which areas are covered in the five-year review
       d Summarize the status of other areas of the site that are not covered in the present five-
           year

Site Chronology
    n List all important site events and relevant dates (e.g., date of initial discovery of problem,
      dates of pre-NPL responses, date of NPL listing, etc.)




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Background
  n General site description (e.g., size, topography, and geology)
  n Former, current, and future land use(s) of the site and surrounding areas
  n History of contamination
  d Initial response (e.g., removals)
  a Basis for taking remedial action (e.g., contaminants)

Remedial Actions
  D Regulatory actions (e.g., date and description of Records of Decision, Explanations of
    Significant Difference, Administrative Orders on Consent, Consent Decrees and Action
    Memorandum)
  d Remedial action objectives
  n Remedy description
  d Remedy implementation (e.g., status, history, enforcement actions, performance)
  n Systems operations/Operations & Maintenance
    n Systems operations/O&M requirements
    D Systems operations/O&M operational summary (e.g., history, modifications, problems,
        and successes)
    Q Summary of costs of system operations/O&M effectiveness (i.e., are requirements being
        met and are activities effective in maintaining the remedy?)

Progress Since Last Five-Year Review (if applicable)
   n Protectiveness statements from last review
   n Status of recommendations and follow-up actions from last review
   n Results of implemented actions, including whether they achieved the intended effect
   n Status of any other prior issues

Five-Year Review Process
   Q Administrative Components
      n Notification of potentially interested parties of initiation of review process
      n Identification of five-year review team members (as appropriate)
      D Outline of components and schedule of your five-year review
   n Community Involvement
      D Community notification (prior and post review)
      D Other community involvement activities (e.g., notices, fact sheets, etc., as appropriate)
   n Document review
   d Data review
   n Site inspection
      n Inspection date
      d Inspection participants




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Five-Year Review Process, cont'd.

        d Site inspection scope and procedures
        n Site inspection results, conclusions
        d Inspection checklist
        Interviews
        O Interview date(s) and location(s)
        O Interview participants (name, title, etc.)
        D Interview documentation
        O Interview summary

Technical Assessment
   n Answer Question A: Is the remedy functioning as intended by the decision documents?
     D remedial action performance (i.e., is the remedy operating as designed?)
     n system operations/O&M
     n cost of system operations/O&M
     d opportunities for optimization
     n early indicators of potential issues
     n implementation of institutional controls and other measures

    n   Answer Question B: Are the exposure assumptions, toxicity data, cleanup levels, and
        remedial action objectives (RAOs) used at the time of the remedy selection still valid?
        D changes in standards, newly promulgated standards, TBCs
        n expected progress towards meeting RAOs
        d changes in exposure pathways
        n changes in land use
        d new contaminants and/or contaminant sources
        n remedy byproducts
        D changes in toxicity and other contaminant characteristics
        d risk recalculation/assessment (as applicable)

   n Answer Question C: Has any other information come to light that could call into question
     the protectiveness of the remedy?
     n new or previously unidentified ecological risks
     n natural disaster impacts
     O any other information that could call into question the protectiveness of the remedy
   O Technical Assessment Summary

Issues
   n Issues identified during the technical assessment and other five-year review activities
   n Determination of whether issues affect current or future protectiveness



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Issues, cont'd.

    d A discussion of unresolved issues raised by support agencies and the community (States,
      Tribes, other Federal agencies, local governments, citizens, PRPs, other interested parties),
      if applicable

Recommendations and Follow-up Actions
  d Required/suggested improvements to identified issues or to current site operations
  d Note parties responsible for actions
  n Note agency with oversight authority
  D Schedule for completion of actions related to resolution of issues

Protectiveness Statements
   D Protective statement(s) for each OU (If the remedy is not protective of human health and/or
      the environment, have you provided supporting discussion and information in the report to
      make this determination, such as current threats or level of risk?)
   Q Comprehensive protectiveness statement covering all of the remedies at the site (if
      applicable)

Next Review
  d Expected date of next review
  D If five-year reviews will no longer be done, provide a summary of that portion of the
      technical analysis presented in the report that provides the rationale for discontinuation of
      five-year reviews
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                             Five-Year Review Report

                  (First, Second, etc.) Five-Year Review Report
                                 *
                                          for

                                      Site Name

                                         City

                                     County, State

                                     Month, Year

                                     PREPARED BY:

                                      Lead Agency
                                       Name and
                                        Location




Approved by:                                         Date:



[Name]
[Title]
[Affiliation]




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                                 Five-Year Review Report

The following Table of Contents notes typical major divisions and subheadings for Five-Year
Review reports. Subheadings can be included as appropriate for a given review report. This is
only a general example.

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Attachments
      Site Maps (if not included in the body of the report)
      List of Documents Reviewed
      Tables and Figures documenting Remedy Performance and Changes in Standards (if not
      included in the body of the report)
      Interview Report (as appropriate)
      Photos Documenting Site Conditions

Appendix
        Comments received from Support Agencies and/or the Community




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                                      List of Acronyms

You should include a list of acronyms used in the report here.




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                                  Executive Summary

You should include an Executive Summary at the beginning of the report. The Executive Summary
should be brief, and should include a reiteration of the protectiveness statements included in
Section X of the Five-Year Review report.




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                             Five-Year Review Summary Form

                                         SITE IDENTIFICATION
 Site name (from WasteLAN):

 EPA ID (from WasteLAN):

 Region:            State:              City/County:
                                                SITE STATUS
 NPL status: D Final D Deleted C1 nthpr (eperify)

 Remediation status (choose all that apply): D Under Construction D Operating D Complete

 Multiple OUs?* D YES D NO              Construction completion date:                  /     /

 Has site been put into reuse? D YES D NO
                                               REVIEW STATUS
 Lead agency: D EPA D State C Trihfi l~| Oth^r Ffirlprql Ag^nry
 Author name:
 Author title:                                             Author affiliation:

 Review period:** '      /     /           to      /          /

 Date(s) of site inspection:        /      /

Type of review:
                                   D Post-SARA      D Pre-SARA                D NPL-Removal only
                                   D Non-NPL Remedial Action Site             D NPL State/Tribe-lead
                                   D Regional Discretion

 Review number: D 1 (first) [H 2 (second) D 3 (third) D Other (specify) _
Triggering action:
D Actual RA Onsite Construction at OU #                    D Actual RA Start at OU#
D Construction Completion                                  D Previous Five-Year ReviewReport
H Other (eperify)


Triggering action date (from WasteLAN):                1          1

Due date (five years after triggering action date):               1     1
 ["OU" refers to operable unit.]
* [Review period should correspond to the actual start and end dates of the Five-Year Review in WasteLAN.




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                      Five-Year Review Summary Form, cont'd.
Issues:

Summarize issues (see Chapter 3).




Recommendations and Follow-up Actions:

Summarize recommendations and follow-up actions (see Chapter 3).




Protectiveness Statement(s):

Include individual operable unit protectiveness statements. For sites that have reached construction completion
and have more than one OU, include an additional and comprehensive protectiveness statement covering all of
the remedies at the site (see Chapter 4).




Other Comments:

Make an\ other comments here.




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                                     Five-Year Review Report

I.        Introduction
          Provide a synopsis of "who, what, where, when, and why. " Detail the following:

•         The purpose of the review;

•         The authority for conducting the five-year review;

•          Who conducted the review, when, and for what site or portion of the site;

•         Whether it is the first review or a subsequent review at the site;

•         What action triggered the review; and

•         A brief status of areas of a site not addressed in the current review and/or the status of five-
          year reviews for other areas of the entire site.

       Further explanation and boilerplate text are provided below. Additional explanation on the
following topics is provided in Chapter 1.

The Purpose of the Review
                         r


        State the purpose of the five-year review specific to the site or portion of the site addressed
in the review.


    The purpose of five-year reviews is to determine whether the remedy at a site [is/is expected to be]
    protective of human health and the environment. The methods, findings, and conclusions of reviews
    are documented in Five-Year Review reports. In addition, Five-Year Review reports identify issues
    found during the review, if any, and recommendations to address them.


Authority for Conducting the Five-Year Review


           The Agency is preparing this five-year review pursuant to CERCLA §121 and the National
    Contingency Plan (NCP). CERCLA §121 states:

           If the President selects a remedial action that results in any hazardous substances,
           pollutants, or contaminants remaining at the site, the President shall review such
           remedial action no less often than each five years after the initiation of such remedial
           action to assure that human health and the environment are being protected by the
           remedial action being implemented. In addition, if upon such review it is the judgment
           of the President that action is appropriate at such site in accordance with section [104]


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         or 1106], the President shall take or require such action. The President shall report to
         the Congress a list of facilities for which such review is required, the results of all such
         reviews, and any actions taken as a result of such reviews.

       The agency interpreted this requirement further in the National Contingency Plan (NCP); 40
 CFR §300.430(f)(4)(ii) states:

         If a remedial action is selected that results in hazardous substances, pollutants, or contaminants
         remaining at the site above levels that allow for unlimited use and unrestricted exposure, the
         lead agency shall review such action no less often than every five years after the initiation of the
         selected remedial action.

Who Conducted the Five-Year Review

       If the U.S. Army Corps of Engineers (USAGE) or a contractor has conducted an analysis in
support of a five-year review, you should include their name and the date of the analysis. When a
contractor for a potentially responsible party (PRP) conducts analyses or provides information in
support of a five-year review, you should identify the a contractor and their affiliation with the
PRP in the Five-Year Review report. You should also identify who conducted the site inspection.

       Boilerplate text for the explanation of who conducted the review is provided in the box
below. This text is written as though EPA is the lead agency and should be adapted when another
agency or department serves as the lead agency.


 The United States Environmental Protection Agency (EPA) Region [number] has conducted a five-year
 review of the remedial actions implemented at the [name] site in [location]. This review was conducted
 from [month, yearl through [month, yearl. This report documents the results of the review. [Please
 identify any party providing an analysis in support of the five-year review; also indicate the contractual
 arrangements under which this was done.]


Other Review Characteristics

        State whether the review is the first or a subsequent five-year review for the site, what
action or event "triggered" the review, and the date of this action. See Chapter 1, Section 1.2 of
this guidance for a discussion of triggering events for the five-year review and indicate in your
report whether the trigger for the current five-year review has been met.

       Boilerplate text for the explanation of other review characteristics is provided in the box
below. Select text from brackets as appropriate.




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    This is the [first/second/etc.] five-year review for the [name] site. The triggering action for this review
    is the date of the [triggering actionl, as shown in EPA's WasteLAN database: fdatel. [This discussion
    should also mention what is specifically activating the review, i.e., that hazardous substances,
    pollutants, or contaminants are or will be left on site above levels that allow for unlimited use and
    unrestricted exposure.]


       In addition, if separate five-year reviews are conducted for different areas of a site, you
should include the following in this section:

•         An explanation of this approach;

•         A description of which areas are covered by this five-year review; and

•         A brief synopsis of the remedial activities and the status of remedial measures and/or five-
          year reviews for other areas.

II.       Site Chronology

List all important site events and relevant dates in the site chronology, such as those shown in
Table I. The identified events are illustrative, not comprehensive.

    Table 1: Chronology of Site Events
                            Event                                                  Date
    Initial discovery of problem or contamination

    Pre-NPL responses

    NPL listing

    Removal actions

    Remedial Investigation/Feasibility Study complete

    ROD signature

    ROD Amendments or ESDs

    Enforcement documents (CD, AOC, Unilateral
    Administrative Order)

    Remedial design start

    Remedial design complete




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   Table 1: Chronology of Site Events
                             Event                                                      Date
   Superfund State Contract, Cooperative Agreement, or
   Federal Facility Agreement signature

   Actual remedial action start

   Construction dates (start, finish)

   Construction completion date

   Final Close-out Report

   Deletion from NPL

   Previous five-year reviews


III.      Background
        Describe the fundamental aspects of the site, providing a clear, succinct description of site
characteristics. The purpose of this section is to identify the threat posed to the public and
environment at the time of the ROD, so that the performance of the remedy can be easily compared
with the site conditions the remedy was intended to address. Include all major site activities prior
to the signing of the ROD. In addition to text, you may use site maps to help clarify the discussion.
The following checklist may assist you in developing the text for this section.

            Background Checklist

   Physical Characteristics Present the site's location and characteristics, including the following:

            Area of site, relation to parcel(s), extent and location of sources

            Whether site is located in a populated area or is near populated areas

            Whether site is located in an environmentally sensitive area or is near environmentally sensitive areas,
            where applicable

   Land and Resource Use Discuss the following:

            Former, current and projected land uses for the site, as identified in the ROD or other decision document

            Current and projected land uses for the area surrounding the site, at the time of the five-year review

            Human and ecological past, present and known future use of resources (e.g., groundwater or surface
            water as a drinking water supply) and any other current uses of the site not already addressed, as
            applicable




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           Background Checklist
  History of Contamination Discuss the following:

           The historical activities that caused contamination, including the type of activity or process, when it took
           place, the specific type of hazardous substances, and their volumes/proportions, if known

           How contamination was discovered and problems resulting from contamination

  Initial Response Describe anypre-ROD cleanup activities at the site:

           CERCLA removal actions, non-CERCLA removals/responses, closures, the ceasing of operations, as
           well as governing agreements and parties involved in these activities

  Basis for Taking Action Describe the contaminants found at the site by appropriate media type (soil,
  groundwater, surface water, air). Note the effect or potential effect of the contamination on people, resources
  they use, or the environment. Examples of elements of this discussion include the following:

           Contaminated media and structures (summary of remedial investigation)

           Resources/targets that have been or could potentially be affected, results of risk assessments,
           determination of primary health threat


IV.     Remedial Actions
        Discuss initial plans, implementation history, and current status of the remedy. Explain
events identified in the chronology, and generally include discussions of remedy selection, remedy
implementation, remedy performance, and system operations/O&M. Present ~ accurately,
adequately, and concisely - relevant site activities from the signing of the ROD to the present. You
should delineate all remedial measures, for instance, include monitoring, fencing, and institutional
controls. Discuss any changes to or problems with remedial components. The following checklist
may assist you in developing the text for this section.

           Remedial Actions Checklist
  Remedy Selection Describe the remedial action objectives and the selected remedy. This discuss/on should
  explain the following:

           Scope and role of actions including definition of OUs related to each ROD and how they relate to each
           other

           Source documents listing remedial action objectives and the remedy (e.g., RODs, ESDs), including
           signature/filing date

           Statement of remedial action objectives, related to each OU or ROD

           Description of remedial actions/remedy, related to each OU or ROD, noting media addressed; all
           components of the remedy, including engineering controls, access controls, institutional controls,
           cleanup measures, treatment types, and required monitoring should be described




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            Remedial Actions Checklist

  Remedy Implementation Discuss the history of and plans for implementation of the remedy. Discuss
  enforcement actions if applicable. The text may be presented either chronologically or by OU, and should include
  the following:

           Dates when remedial designs were started and completed

           Difficulties or changes that occurred during remedial design

           Dates when remedial actions were started and completed

           The performance of each remedial action since implementation

           Enforcement agreements, and parties involved in these agreements

           CERCLA removal actions or non-CERCLA removals/responses since the ROD

  System Operations/O&M Describe system operations/O&M requirements, activities to date, any problems that
  have arisen, and costs:

           System operations/O&M requirements, as noted in the system operations/O&M plan, system
           operations/O&M manual, enforcement documents, and monitoring plans

           System operations/O&M activities to date
           Problems in the implementation of system operations/O&M

           Originally estimated annual O&M costs

           Actual annual O&M costs over the review period

           Reasons for any unanticipated or unusually high O&M costs


        A table, such as Table 2, should be used to document total annual system operations/O&M
costs during the period preceding the current five-year review. In the text, you should discuss
significant variations from anticipated costs or between operating years.

Table 2: Annual System Operations/O&M Costs
                      Dates
                                                               Total Cost rounded to nearest $1 ,000
         From                      To




At the end of the remedial actions section, it is sometimes helpful for you to add a brief discussion
of the current status of each of the components of the remedy. This discussion can be particularly
helpful for large, complex sites.




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V.       Progress Since the Last Review

Progress since the last review should be discussed when follow-up actions which impact
protectiveness were noted in the previous Five-Year Review report. The following checklist may
assist you in developing the text for this section.

  •          Progress Since the Last Review Checklist
  Describe progress toward accomplishing recommendations and follow-up actions since the last five-year
  review was completed. Include the following:

             Protectiveness statements from the last review

            Status of recommendations and follow-up actions from last review

             Results of implemented actions, including whether they achieved the intended effect

            Status of any other prior issues

 Table 3 below presents one approach for providing infortnation on the recommendations and
follow-up actions stated in the past review and subsequent actions. The accompanying text should
also discuss why any recommendations and follow-up actions have not been implemented if that is
 the case, and whether implemented actions achieved desired results.

Table 3: Actions Taken Since the Last Five-Year Review
     Issues from        Recommendations/                Party            Milestone   Action Taken and    Date of
       Previous         Follow-up Actions            Responsible           Date          Outcome         Action
        Review




VI.      Five-Year Review Process
        Describe activities performed during the five-year review process and provide a summary
of findings when appropriate. The following checklist may assist you in developing the text for
this section.

     •     Five- Year Review Process Checklist
 Administrative Components of the Five-Year Review Process

           Notify potentially interested parties of start of five-year review

           Identify members of the review team

           Develop a review schedule



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           Five-Year Review Process Checklist
 Community Notification and Involvement

           Community notification

           Other community involvement activities

 Document Review See Appendix B for a full discussion of the document review

           What documents were reviewed .,

           Identify document source of RAOs, ARARs and cleanup levels

 Data Review Discuss and present the following:

           What data were reviewed

           Relevant trends and levels, noting levels which are not currently compliant and whether future compliance
           can be expected without additional action

           Tables summarizing monitoring and sampling data

           Increase and/or decrease or non-presence of specific chemical compounds and recommended changes
           for future monitoring programs

 Site Inspection Summarize the site inspection and site conditions:

          Date of site inspection (if more than one inspection was conducted to allow for monitoring or further
          inspection, list all inspections and activities conducted, and the reasons for conducting each inspection)

          Who conducted and/or attended the inspection

          Activities conducted (scope and procedures)

          Summary of site conditions, inspection results, conclusions

 Interviews Discuss the following:

          Interviews conducted (name, title, organization, date, location(S))

          Interview documentation

          Interview summary

          Successes/problems in the implementation of access and institutional controls

          Successes/problems with the construction of the remedy

          Successes/problems with system operations/O&M

          Unusual situations or problems at the site


VII.   Technical Assessment
         Discuss how each of the three questions asked in the technical assessment were answered
(e.g., yes, yes, no or a variation of this) and provide the information that presents the basis for
each answer as a framework for your protect! veness determinations). Explain the conclusions of


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your review, based on the information presented in the previous section. As explained in Chapter
4, the assessment should focus on answering three key questions:

•          Question A: Is the remedy functioning as intended by the decision documents?

•          Question B: Are the exposure assumptions, toxicity data, cleanup levels, and remedial
           action objectives (RAOs) used at the time of remedy selection still valid?

•          Question C: Has any other information come to light that could call into question the
           protectiveness of the remedy?

       Each question, and the associated information to be discussed, is presented in its own
checklist which may assist you in developing the text for this section. Checklist items shown may
be supplemented or modified based on site-specific circumstances.

              Checklist for Question A: Is the remedy functioning as intended by the decision
              documents?
    Remedial Action Performance Discuss the following:

              Whether the remedial action continues to be operating and functioning as designed

              Whether the remedial action is performing as expected and cleanup levels are being achieved

              Whether containment is effective

    System Operations/OftM Discuss the following:

              Whether operating procedures, as implemented, will maintain the effectiveness of response actions

              Whether large variances in O&M costs could indicate a potential remedy problems or remedy issues

    Opportunities for Optimization Discuss the following:

             Whether opportunities exist to improve the performance and/or reduce costs of monitoring, sampling, and
             treatment systems
    Early Indicators of Potential Issues Discuss the following:

             Whether frequent equipment breakdowns or changes indicate a potential issue

             Whether issues or problems could place protectiveness at risk

Implementation of Institutional Controls and Other Measures Discuss the following:

             Whether access controls are in place and prevent exposure (e.g., fencing and warning signs)

             Whether institutional controls are in place and prevent exposure

             Whether other actions (e.g., removals) necessary to ensure that immediate threats have been addressed
             are complete




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           Checklist for Question B: Are the exposure assumptions, toxicity data, cleanup levels,
           and remedial action objectives (RAOs) used at the time of remedy selection still valid?

  Changes in Standards and TBCs Discuss the following:

           Whether standards identified in the ROD have been revised and call into question the protectiveness
           of the remedy

           Whether newly promulgated standards call into question the protectiveness of the remedy

           Whether TBCs used in selecting-cleanup levels at the site have changed and could affect the
           protectiveness of the remedy

  Changes in Exposure Pathways Discuss the following:

           Whether land use or expected land use on or near the site changed

           Whether human health or ecological routes of exposure or receptors have been newly identified or
           changed in a way that could affect the protectiveness of the remedy

           Whether there are newly identified contaminants or contaminant sources

           Whether there are unanticipated toxic byproducts of the remedy not previously addressed by the
           decision documents

           Whether physical site conditions or the understanding of these conditions have changed in a way that
           could affect the protectiveness of the remedy

  Changes in Toxicity and Other Contaminant Characteristics Discuss the following:

           Whether toxicity factors for contaminants of concern at the site have changed in a way that could
           affect the psotectiveness of the remedy

           Whether other contaminant characteristics have changed in a way that could affect the protectiveness
           of the remedy

  Changes in Risk Assessment Methods Discuss the following:

           Whether standardized risk assessment methodologies have changed in a way that could affect the
           protectiveness of the remedy

  Expected Progress Towards Meeting RAOs

          Whether the remedy is progressing as expected


        Wtien a standard or requirement has changed, a table can be used to record the nature of
the change. Tables 4, 5, and 6 below demonstrate potential ways for you to note changes in
chemical-specific, action-specific, or location-specific requirements, respectively.




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Table 4: Changes in Chemical-Specific Standards
    Contaminant                Media        Cleanup Level                   Standard                 Citation/Year

  Chemical A             e.g.,             e.g., O.XX mg/L       Previous      e.g., O.XX        e.g., SOW A 1988
                         groundwater                                           mg/L

                                                                 New           e.g., O.YY        e.g., SOW A 1995
                                                                               mg/L

  Chemical B                                  i                  Previous

                                                                 New


 Table 5: Changes in Action-Specific Requirements
       Action                           Requirement                             Prerequisite          Citation/Year

  Action A           Previous       Include original ARAR here; if none
  (e.g., landfill)                  applies, state "None"

                     New


 Table 6: Changes in Location-Specific Requirements
    Location                            Requirement                              Prerequisite        Citation/Year

  Location A         Previous      Include original ARAR here; if none
  (e.g., critical                  applies, state "None"
  habitat upon
  which                    f
  endangered or      New
  threatened
  species
  depend)


              Checklist for Question C: Has any other information come to light that could call into
     •        question the protectiveness of the remedy?
  Other Information Discuss the following:

              Whether newly identified ecological risks been found

              Whether there are impacts from natural disasters

              Whether any other information has come to light which could affect the protectiveness of the remedy

Technical Assessment Summary


Discuss how each of the three questions were answered and provide the information that presents
the basis for each answer as a framework for your protectiveness determination(s).




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VIII. Issues
         Detail issues related to current site operations, conditions, or activities, noting which issue,
if any, currently prevent the remedy from being protective. You may use a table such as Table 7 to
note the issues identified.

  Table 7: Issues
                                                                    Affects Current    Affects Future
                               Issues                               Protectiveness     Protectiveness
                                                                         (Y/N)              (Y/N)




IX.     Recommendations and Follow-up Actions

        Specify the required and suggested improvements to current site operations, activities,
remedy, or conditions. Note the parties responsible for actions, milestone dates, and which
agencies have oversight authority. At a minimum, address all issues that currently affect cu, rent
and/or future protectiveness. Table 8 illustrates one way to include the necessary information.

      Table 8: Recommendations and Follow-up Actions
                                                                                     Affects
               Recommendations
                                       Party      Oversight     Milestone     Protectiveness (Y/N)
                      and
       Issue                        Responsible    Agency         Date
               Follow-up Actions                                             Current    Future




X.      Protectiveness Statement(s)
        Include a protectiveness statement for each OU at which a remedial action has begun. For
sites that have reached construction completion and have more than one OU, you should develop
and include an additional comprehensive site-wide protectiveness statement covering all of the
remedies at the site. You should not include this additional protectiveness statement until
construction completion because, until then, all remedies at the site have not necessarily been
selected and constructed.

       In order to promote consistency, you are strongly encouraged to model your protectiveness
statements on the sample protectiveness statements provided in Chapter 4, Exhibits 4-6 and 4-7.
Your Five-Year Review report should present the protectiveness statements at the beginning of a

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discussion that should explain and provide the supporting rationale of the protectiveness
determination.

Suggested statements are as follows:

If the remedial action at the OU is under construction, then use this statement:

Protective or will be protective:

       "The remedy at OU X is expected to be protective of human health and the environment
upon completion, and in the interim, exposure pathways that could result in unacceptable risks are
being controlled."

Not protective:

        "The remedy at OU X is not protective because of the following issues [describe the
issue(s)]. The following actions need to be taken [describe the actions needed to ensure
protectiveness]."

Protectiveness deferred:

        "A protectiveness determination of the remedy at OU X cannot be made at this time until
further information is obtained. Further information will be obtained by taking the following
actions [describe the actions]. It is expected that these actions will take approximately [insert time
frame] to complete, at which time a protectiveness determination will be made."

If the remedial action at the OU is operating or completed:

Protective:

       "The remedy at OU X is expected to be or is protective of human health and the
environment, and in the interim, exposure pathways that could result in unacceptable risks are
being controlled."

Protective in the short-term:
                                                  »
        "The remedy at OU X currently protects human health and the environment because
[describe the elements of the remedy that protect human health and the environment in the short
term]. However, in order for the remedy to be protective in the long-term, the following actions
need to be taken [describe the actions needed to ensure long-term protectiveness]."




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Not protective:

        "The remedy at OU X is not protective because of the following issue(s) [describe the
issue(s)]. The following actions need to be taken [describe the actions needed to ensure
protect! veness].

Protectiveness deferred:

        "A protectiveness determination of the remedy at OU X cannot be made at this time until
further information is obtained. Further information will be obtained by taking the following
actions [describe the actions]. It is expected that these actions will take approximately [insert time
frame] to complete, at which time a protectiveness determination will be made."

For Sites That Have Reached Construction Completion:

If the remedy(s) is/are protective then use:

        "Because the remedial actions at all OUs are protective, the site is protective of human
health and the environment."

If the remedy is not protective then use:

        "The remedial actions at OUs X and Y are protective. However, because the remedial
action at OU Z is not protective, the site is not protective of human health and the environment at
this time. The remedial action at OU Z is not protective because of the following issue(s) [describe
the issue(s)]. The following actions need to be taken [describe the actions needed to ensure
protectiveness]."

XI.    Next Review
         Discuss whether another five-year review will be conducted and the date on which that
report will be due. If no additional five-year reviews are to be conducted, explain why and provide
a justification for discontinuation of reviews.

Attachments
   Site Maps (if not included in the body of the report)
   List of Documents Reviewed
   Tables and Figures Documenting Remedy Performance and Changes in Standards
   (If not included in the body of the report)
   Interview Report (as appropriate)
   Photos Documenting Site Conditions

Appendix
   Comments received from Support Agencies and/or the community


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                            Appendix F
                  Sample Five-Year Review Report




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                                   Five-Year Review Report



                                  First Five-Year Review Report
                                                for
                                       Acme Superfund Site
                                         Town of Riverside
                                  Waters County, Massachusetts



                                           September 2000




                                             PREPARED BY:

                              United States Environmental Protection Agency
                                                 Region 1
                                          Boston, Massachusetts

                       (This is a hypothetical site. However, the site characteristics
                         were taken from an actual site in the Superfund program.)




Approved by:                                                      Date:



    ypBert Webster                                                        September 11,2000
Robert Webster
Superfund Division Director
U.S. EPA, Region 1



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                                    List of Acronyms

ARAR           Applicable or Relevant and Appropriate Requirement

CAMU           Corrective Action Management Unit

CD             Consent Decree

CERCLA         Comprehensive Environmental Response, Compensation, and Liability Act

EPA            United States Environmental Protection Agency

CFR            Code of Federal Regulations

DEQE           Massachusetts Department of Environmental Quality Engineering

ESD            Explanation of Significant Difference

MADEP          Massachusetts Department of Environmental Protection

MCL            Maximum Contaminant Level

MCLG           Maximum Contaminant Level Goal

NCR            National Contingency Plan

NPL            National Priorities List

O&M            Operation and Maintenance
               v


PAH            Polyaromatic Hydrocarbon

PCB            Polychlorinated Biphenyl

PRP            Potentially Responsible Party

PSD            Performing Settling Defendant

RA             Remedial Action
RAO            Remedial Action Objective

RD             Remedial Design

RI/FS          Remedial Investigation/Feasibility Study

ROD            Record of Decision

SDWA           Safe Drinking Water Act

VOC            Volatile Organic Compound




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                                      Executive Summary
     The remedy for the Acme Superfund site in Riverside, Massachusetts included stabilization and
capping of contaminated soils and sediments on site, institutional controls, and monitored natural
attenuation of contaminated groundwater. The site achieved construction completion with the signing of
the Preliminary Close Out Report on August 28, 1998. The trigger for this five-year review was the actual
start of construction on September 12, 1995.
                                          *
    The assessment of this five-year review found that the remedy was constructed in accordance with the
requirements of the Record of Decision (ROD). One Explanation of Significant Difference (ESD) was
issued to change the cap design and the treatment approach of soils and sediments. The remedy is
functioning as designed. The immediate threats have been addressed and the remedy is expected to be
protective when groundwater cleanup goals are achieved through monitored natural attenuation, which is
expected to require 10 years.




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                                                                                        OSWERNo. 9355.7-03B-P
                              Five-Year Review Summary Form

                                           SITE IDENTIFICATION
Site name (from WasteLAN): Acme Superfund Site

EPA ID (from WasteLAN): MADXXXXXXX

Region: 1           State: MA           City/County: Riverside/Waters
                                                 SITE STATUS

NPL status: H Final D Deleted D Other (specify)

Remediation status (choose all that apply): D Under Construction D Operating H Complete

Multiple OUs?' D YES H NO               Construction completion date: 8 /28 /1998

Has site been put into reuse? D YES H NO

                                             REVIEW STATUS
Lead agency: H EPA D State D Tribe D Other Federal Agency

Author name: Mary Jones

Author title: Remedial Project Manager                  Author affiliation: U.S. EPA, Region 1

Review period:" 3 /1 /2000 to 8 / 31 / 2000

Date(s) of site inspection: _3_ 712 /2000 & _5 723 /2000

Type of review:
                                   B Post-SARA D Pre-SARA D NPL-Removal only
                                   D Non-NPL Remedial Action Site D NPL State/Tribe-lead
                                   D Regional Discretion)

Review number: H 1 (first) D 2 (second) D 3 (third) D Other (specify)

Triggering action:
D Actual RA On-site Construction at OU #_             Actual RA Start at OU# NA
D Construction Completion                           D Previous Five-Year Review Report
D Other (specify)

Triggering action date (from WasteLAN):_9_ /12 /1995

Due date (five years after triggering action date): 9 / 12 / 2000
["OU" refers to operable unit.]
 [Review period should correspond to the actual start and end dates of the Five-Year Review in WasteLAN.]




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                      Five-Year Review Summary Form, cont'd.
Issues:

   Burrowing animals were observed to have left minor tunnels in cap soil, and a portion of the
   constructed wetlands have not been properly maintained.

   Failure to maintain a portion of the constructed wetlands due to restricted access to the property.

   Inadequate monitoring to verify that the plume is not migrating.

Recommendations and Follow-up Actions:

   The burrows are scheduled to be repaired. The State and Potentially Settling Defendants (PSDs) are
   actively seeking an alternate location for wetlands development.

   Identify an alternate location for wetlands development.

   Increase monitoring frequency for MW-103; Investigate groundwater discharge to river; sample
   sediments and groundwater at discharge points.

Protectiveness Statement(s):

   All immediate threats at the site have been addressed, and the remedy is expected to be protective of
   human health and the environment after the groundwater cleanup goals are achieved through MNA in
   an estimated 10 years.

Long-term Protectiveness:

   Long-term protectiveness of the remedial action will be verified by obtaining additional groundwater
   samples to fully evaluate potential migration of the contaminant plume downgradient from the
   treatment area and towards the river. Current data indicate that the plume remains on site. Additional
   sampling and analysis will be completed within the next six months. Current monitoring data indicate
   that the remedy is functioning as required to achieve groundwater cleanup goals.

Other Comments:

   The problems encountered in maintaining the wetlands result from access issues that will be resolved
   once an alternative location for development of wetlands is identified. This issue does not impact
   protectiveness and is expected to be resolved within the current year.




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                                          Acme Superfund Site
                                        Riverside, Massachusetts
                                     First Five-Year Review Report



I.      Introduction

         The purpose of the five-year review is to determine whether the remedy at a site is protective of
human health and the environment. The methods, findings, and conclusions of reviews are documented in
Five-Year Review reports. In addition, Five-Year Review reports identify issues found during the review,
if any, and identify recommendations to address them.

       The Agency is preparing this Five-Year Review report pursuant to CERCLA § 121 and the National
Contingency Plan (NCP). CERCLA §121 states:

        If the President selects a remedial action that results in any hazardous substances, pollutants, or
        contaminants remaining at the site, the President shall review such remedial action no less often
        than each five years after the initiation of such remedial action to assure that human health and
        the environment are being protected by the remedial action being implemented. In addition, if
        upon such review it is the judgement of the President that action is appropriate at such site in
        accordance with section [104] or 1106], the President shall take or require such action. The
        President shall report to the Congress a list of facilities for which such review is required, the
        results of all such reviews, and any actions taken as a result of such reviews.
                        >




        The Agency interpreted this requirement further in the NCP; 40 CFR §300.430(f)(4)(ii) states:

        If a remedial action is selected that results in hazardous substances, pollutants, or contaminants
        remaining at the site above levels that allow for unlimited use and unrestricted exposure, the lead
        agency shall review such action no less often than every five years after the initiation of the
        selected remedial action.

        The United States Environmental Protection Agency (EPA), Region 1, conducted the five-year
review of the remedy implemented at the Acme Superfund Site in Riverside, Massachusetts. This review
was conducted by the Remedial Project Manager (RPM) for the entire site from March 2000 through
August 2000. This report documents the results of the review.

         This is the first five-year review for the Acme Site. The triggering action for this statutory review
is the initiation of the remedial action on September 12, 1995. The five-year review is required due to the
fact that hazardous substances, pollutants, or contaminants remain at the site above levels that allow for
unlimited use and unrestricted exposure.




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II.        Site Chronology

Table 1 - Chronology of Site Events
                                              Event                                               Date
      Waste oil and solvent recovery activities at the site                                    1974- 1978
      Massachusetts Department of Environmental Quality Engineering (DEQE) (now
      Massachusetts Department of Environmental Protection or MADEP), initiates                   1978
      actions against facility owners resulting in closing of facility
      Removal activities - removing drums, liquids and sludge from tanks                       1978 - 1984
      Final listing on EPA National Priorities List                                              9/1983
      Interim removal activities - Demolition and removal of remaining storage tanks and
                                                                                                  1986
      waste material contained in tanks
      Remedial Investigation/Feasibility Study (RI/FS) made available to public                  1/1992
  Proposed plan identifying EPA's preferred remedy presented to public; start of
                                                                                                 3/1992
  public comment period.
  ROD selecting the remedy is signed                                                           9/30/1992
  Consent Decree finalizing settlement for responsible party performance of remedy
                                                                                                9/18/1994
  entered by Federal Court
  Start of on-site construction for building/structures demolition and decontamination
                                                                                               9/12/1995
  (l s l phase of site Remedial Action and date that triggers a five-year review).
  Completion of on-site construction for building/structures demolition and
                                                                                               12/28/1995
  decontamination
  ESD issued by EPA, primarily changing soil and sediment stabilization from "in-
                                                                                               11/26/1996
  situ" to "ex-situ", and changing cap design
  PRP Remedial Design approved by EPA                                                           3/5/1997
  Start of on-site construction for stabilization remedy (2nd phase of site Remedial
                                                                                               3/11/1997
  Action)
  Pre-final inspection of Phase II remedial action                                             11/19/1997
  Preliminary Close Out Report signed                                                          8/28/1998
  O & M Plan approved by EPA                                                                   9/18/1998




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III.      Background

Physical Characteristics

         The Acme Site property includes a four-acre facility located on Canal Street adjacent to and upgradient
of the Green River in Riverside, Massachusetts. Riverside is a community of approximately 12,000 residents,
located in Waters County. In addition to the facility, the site includes the adjacent wetlands, wooded area, and
the immediately adjacent portion of the river. The facility is located 200 feet northeast of the Green River and
is within the river's 100-year flood zone. The site is bordered by Canal Street, wetlands and woodlands, the
Green River, and a soccer field. Residential and commercial properties are located across Canal Street from
the site (See Attachment 1).

Land and Resource Use

        The historic land use of the site has involved some petroleum- or solvent-related industry since at
least 1900. From at least 1974 until operations ceased in 1978, activities at the site included waste oil and
solvent recovery and disposal. Since 1978, the facility has been inactive.

         The current land use for the surrounding area is residential, commercial and recreational (the
adjacent soccer field). The Green River is used for swimming and fishing. Although there have been a
number of zoning changes over the years, it is anticipated that a mix of land uses similar to that described
will continue into the future. In establishing cleanup requirements for the site, EPA considered the
theoretical possibility of residential development at the site. The site itself is currently fenced and the
treated, stabilized soils and sediments are contained within the fenced area under an impermeable cap.

       The groundwater aquifer underlying the site is currently not used as a drinking water source. The
dominant groundwater flow direction is to the southwest toward the Green River.

History of Contamination

         The Acme facility reclaimed used oils and solvents from State collection points, treated them with
a heat process, and sold them as lube oil and heavy fuel mixtures. In the course of these operations, spills
occurred causing contamination of soils, sediments, and groundwater. Contamination in groundwater at
the site consists primarily of volatile organic compounds (VOCs), including benzene and methylene
chloride. Contaminants in soils and sediments include polychlorinated biphenyls (PCBs), polyaromatic
hydrocarbons (PAHs), VOCs, and other organics and lead. Contamination at the site was discovered in the
course of several property inspections conducted by the State which documented improper maintenance, as
well as waste oil and hazardous materials spills. Millions of gallons of waste were left behind in tanks and
lagoons when the owner abandoned the facility in 1978.

Initial Response

        From 1978 to 1984, as a result of State enforcement efforts, approximately 1.5 million gallons of
waste material were removed from the site during a number of separate events. In 1982, the State
requested assistance from EPA's Superfund program. EPA discovered several leaking tanks and
contaminated ditches, as well as saturated soils. The site was proposed for the National Priorities List


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(NPL) on December 30, 1982, and finalized on the NPL in March 1983. In 1986, interim measures were
taken to establish complete fencing of the site, demolish and dispose of 19 storage tanks, dispose of the oil
and water contained in the tanks, and dispose of sludge generated during the cleaning of tanks. In January
1992, the Remedial Investigation/Feasibility Study was made available to the public. In March 1992, the
Proposal Plan identifying EPA's preferred remedy was presented to the public, starting the period for
public comment.

Basis for Taking Action

Contaminants

        Hazardous substances that have been released at the site in each media include:

 Soil                                                   Lagoon Sediment

 PCBs                                                   Bis (2-ethylhexyl) Phthalate
 PAHs                                                   PAHs
 1,1-Dichloroethane                                     1,1-Dichlorethane
 Cis-1,2-Dichloroethy lene                              1,1,1 -Trichloroethane
 Trans-1,2-Dichloroethy lene                            Trichloroethylene
 1,1,1 -Trichlorethane                                  Tetrachloroethylene
 Trichloroethylene                                      Methylene Chloride
 Tetrachloroethylene                                    Benzene
 Benzene                                                Acetone
 Lead                                                   Lead
 Groundwater                                            Wetland Sediment

 Bis (2-ethylhexyl) Phthalate                           PCBs
 Vinyl Chloride                                         PAHs
 1,1-Dichloroethane                                     Arsenic
 Cis-1,2-Dichloroethylene                               Lead
 Trans-1,2-Dichloroethylene                             Zinc
 1,1,1-Trichlorethane
 Methylene Chloride
 Trichloroethylene
 Tetrachloroethylene
 Benzene
 2-Butanone (MEK)
 Acetone
 Lead

         Exposures to soil, groundwater, wetland sediment, and lagoon sediment are associated with
significant human health risks, due to exceedance of EPA's risk management criteria for either the average
or the reasonable maximum exposure scenarios. The carcinogenic risks were highest for exposures to
lagoon sediments due to the high concentrations of carcinogenic polyaromatic hydrocarbons (PAHs). Non-


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carcinogenic hazards were highest for exposure to wetland sediment due to the high concentrations of lead
detected in the medium. Risks from exposure to soil were significant due to the presence of TCE, PCE,
and PCBs. Potential risks associated with exposure to groundwater are attributed to the presence of a
variety of VOC contaminants that exist at concentrations that exceed State and Federal MCLs.

IV.      Remedial Actions

Remedy Selection

        The ROD for the Acme Site was signed on September 30, 1992. Remedial Action Objectives
(RAOs) were developed as a result of data collected during the Remedial Investigation to aid in the
development and screening of remedial alternatives to be considered for the ROD. The RAOs for Acme
were divided into the following groups:

Source Control Response Objectives

•        Minimize the migration of contaminants from the property soils and lagoon sediment that could
         degrade groundwater quality;

•        Reduce risks to human health by preventing direct contact with, and ingestion of, contaminants in
         the property soils, wetland sediments, and lagoon sediments, and by preventing potential ingestion
         of contaminated groundwater;

•        Reduce risks to the environment by preventing direct contact with, and ingestion of, contaminants
         in the wetland sediments; and

•       Minimize the migration of contaminants (i.e., from property soils, lagoon sediments, and wetland
        sediments) that could result in surface water concentrations in excess of Ambient Water Quality
        Criteria.

Management of Migration Response Objectives

•       Eliminate or minimize the threat posed to human health and the environment by preventing
        exposure to groundwater contaminants;

•       Prevent further migration of groundwater contamination beyond its current extent; and

•       Restore contaminated groundwater to Federal and State applicable or relevant and appropriate
        requirements (ARARs), including drinking water standards, and to a level that is protective of
        human health and the environment within a reasonable period of time.

The major components of the source control remedy selected in the ROD include the following:

1.      Decontamination, demolition, and off-site disposal of property structures; treatment and discharge
        of lagoon surface water;
2.      Consolidation of contaminated property soils with lagoon and wetland sediments on site property;
3.      In-situ mixing and stabilization of property soils/sediments with treatment agents to bind

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        contaminants into a stable matrix;
4.      Construction of a permeable cap over stabilized property soils and sediments, and grading and
        planting of the cap's surface;
5.      Restoration of wetlands;
6.      Implementation of institutional controls on groundwater use and land development; and
7.      Long-term monitoring of groundwater, wetland sediments, and Green River water and sediments.

The major components of the management of migration remedy selected in the ROD include:

1.      Use of monitored natural attenuation (MNA) to achieve groundwater cleanup levels;
2.      Groundwater monitoring of existing wells on the Acme property and of monitoring wells adjacent
        to the property;
3.      Sediment sampling of portions of the wetland and the Green River, and where groundwater
        discharges to the wetland and the Green River;
4.      Surface water sampling in areas adjacent to the wetland and in the Green River; and
5.      Five-year site reviews to assess site conditions, contaminant distributions, and any associated site
        hazards.

        An ESD was issued on November 26, 1996. Subsurface conditions including the existence of
building foundations and low soil workability rendered in-situ stabilization impracticable. Additionally,
Potentially Responsible Parties (PRPs) suggested adding a geosynthetic layer to the cap that would make it
an impermeable cap rather than a soil cap. EPA approved the recommended change. The primary changes
documented in the ESD were:

•       Ex-situ stabilization instead of in-situ; and
•       Construction of an impermeable cap instead of a permeable cap.

       The change to ex-situ stabilization led to the necessity of designating a Corrective Action
Management Unit (CAMU) at the site concurrent with the ESD. This designation allowed the handling and
temporary storage of contaminated soils and sediments.

        Institutional controls are required for the Acme property as well as for the adjacent Town-owned
property, the only properties on or near the site requiring institutional controls. These institutional controls
are established through the Access and Institutional Controls Agreement between the Performing Settling
Defendants (PSDs) and the Town of Riverside, dated October 20, 1994, and recorded on June 19, 1997 in
the Waters County Registry of Deeds.

Remedy Implementation

        In a Consent Decree (CD) signed with EPA on September 18, 1994, 112 PSDs agreed to perform
the remedial design/remedial action (RD/RA) and pay past costs for cleaning up the site. The Remedial
Design (RD) was conducted in conformance with the ROD as modified by the ESD. The RD was approved
by EPA on March 5, 1997.

        The Remedial Action (RA) took place in two phases. The first phase entailed the decontamination,
demolition and off-site disposal at a non-hazardous waste landfill of property structures. The activities for
this phase were initiated on September 12, 1995 and were completed on December 28, 1995. The major

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components of this phase of the RA were the following:

        •       Decontamination of the buildings and structures on the property;

        •       Removal, treatment, and discharge to the Green River of water from the basement of one
                building and water collected from decontamination;

        •       Collection and analyses of composite samples of buildings and structures;

        •       Demolition and off-site disposal as non-hazardous waste of property buildings and
                structures and off-site disposal of miscellaneous debris from the property;

        •       Removal and off-site disposal of two underground storage tanks and their contents; and

        •       Restoration of demolition areas to match existing grade.

         The second phase entailed all other remedial activities. Components 2 through 7 of the Source
Control Remedy constituted the primary activities performed as the second phase of the RA. The activities
for the second phase of the RA were formally initiated on March 11, 1997 when the PSDs awarded the RA
contract. The contractor conducted remedial activities as planned and EPA and the State conducted a pre-
final inspection on November 19, 1997. During this period, 1,606 cubic yards of lagoon sediment, 1,187
cubic yards of wetland sediment, and 8,000 cubic yards of soil were treated, stabilized, and placed under
the impermeable cap. In addition, a fence with warning signs and surface water drainage structures were
built. At this time, the preparation for the wetland restoration (grading and backfilling of clean sediment
material) and the plantfrig of new replacement wetland species was accomplished. The pre-final inspection
concluded that construction had been completed in accordance with the remedial design plans and
specifications and did not result in the development of a punch list.

        The site achieved construction completion status when the Preliminary Close Out Report was
signed on August 28, 1998.

        EPA and the State have determined that all RA construction activities, including the
implementation of institutional controls, were performed according to specifications. It is expected that
cleanup levels for all groundwater contaminants will have been reached within approximately ten years.
After groundwater cleanup levels have been met, EPA will issue a Final Close Out Report.

System Operation/Operation and Maintenance

         The PSDs are conducting long-term monitoring and maintenance activities according to the
operation and maintenance (O&M) plan that was approved by EPA on September 8, 1998. The primary
activities associated with O&M include the following:

        •       Visual inspection of the cap with regard to vegetative cover, settlement, stability, and any
                need for corrective action. In addition, the cap is scheduled to be mowed semi-annually;

        •       Inspection of the drainage swale for blockage, erosion and instability, and any need for
                corrective action;

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         •       Inspection of the condition of groundwater monitoring wells;

         •       Environmental monitoring: Quarterly monitoring of groundwater, wetland surface water
                 and sediment, and Green River surface water and sediment; and

         •       Engineered wetlands inspection and assessment: Inspections are conducted primarily for
                 the purposes of assessing both weed control needs and the survival of plantings.
                 Assessments are performed specifically to determine if the engineered wetlands are
                 meeting the performance-standards regarding the survival and density of desired wetland
                 species.

         The primary cleanup of the Acme Site took place during the construction phase of the Remedial
Action (i.e. the stabilization of contaminated soil and sediments). The other remaining component of
cleanup is the natural attenuation of groundwater, as the source of groundwater contamination in soil and
sediment has been removed. Therefore, as indicated in the planned elements above, the primary O&M
activities have been geared towards monitoring groundwater, surface water, sediments, wetlands,
inspections, and maintenance of the cap.

         A currently evolving issue exists with regard to the engineered wetlands. The total area of
engineered wetlands at the Acme Site is 0.7 acres. This area encompasses wetland habitats that were
replanted with appropriate wetland plant species following the removal of contaminated sediments during
the RA. As previously mentioned, there are performance standards with regard to density of desired plant
species and to minimization of weeds and other undesirable species. The PSDs are obligated to meet these
standards. During the course of the O&M period, there have been repeated access issues involving the
property abutting the southern border of the Acme property. During the RA, contaminated sediments were
removed from this property, clean sediment was backfilled, and wetland plants were planted. Since
completion of the RA, the owner of this property has prevented PSD contractors from performing
maintenance (weeding and replanting, as necessary) in an area that is highly at risk from invasive species.
The area affected by this issue is 0.32 acres. EPA, the Riverside Conservation Commission, and the PSDs
are working together to determine if there is additional wetland acreage at the site which may be amenable
to restoration or enhancement. If an appropriate area is found, it may be substituted for the 0.32 acre area
that is not accessible for maintenance. The failure to provide proper maintenance for the wetlands does not
impact the protectiveness of the site.

         O&M costs include cap and drainage structure maintenance, sampling and monitoring efforts,
monitoring well maintenance, and wetlands maintenance. In the first year, costs were higher due to an
extra effort required to establish the vegetative cover on the cap and to establish wetlands. Less effort was
required the second year and the PSDs were denied access by a property owner and were not able to
maintain all of the wetlands. Costs are expected to rise when additional wetlands are identified and
developed. The O&M costs for the first two years are consistent with the originally estimated annual costs
of $20,000 per year.




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 Table 2 - Annual System Operations/O&M Costs
                       Dates
                                                             Total Cost rounded to nearest $1,000
            From                    To
         9/1998                  9/1999                                  $22,000.00
         9/1999                  9/2000                                  $17,000.00

V.       Progress Since the Last Five-Year Review

         This was the first five-year review for the site.

VI.      Five-Year Review Process

Administrative Components

         Members of the PSDs and the MADEP were notified of the initiation of the five-year review on
February 1, 2000. The Acme Five-Year Review team was led by Mary Jones of EPA, Remedial Project
Manager (RPM) for the Acme Site, and included members from the Regional Technical Advisory staff
with expertise in hydrology, biology, and risk assessment. Tom McDuff of the State assisted in the review
as the representative for the support agency.

      From March 1 to March 15, 2000, the review team established the review schedule whose
components included:

        •          Community Involvement;
        •          Document Review;
        •          Data Review;
        •          Site Inspection;
        •          Local Interviews; and
        •          Five-Year Review Report Development and Review.

The schedule extended through August 31, 2000.

Community Involvement

         Activities to involve the community in the five-year review were initiated with a meeting in early
January 2000 between the RPM and the Community Involvement Coordinator (CIC) for the Acme
Superfund site. A notice was sent to two local newspapers that a five-year review was to be conducted and
that there would be a public meeting on April 20, 2000. A letter stating the same was sent to the
Community Advisory Group (CAG), the Waters County Department of Health, the Fire and Rescue
Department of Riverside, the County Commissioner's office, and the residents of properties adjacent to the
Acme Superfund site. The letter invited the recipients to submit any comments to EPA.

       During the public meeting, representatives of the CAG and local residents expressed concerns that
work be completed as soon as possible at the site as they were concerned about the stigma that may be

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attached to the property in the future, limiting its availability for redevelopment. None of the attendees
expressed any concerns over the protectiveness of the remedy.

        On September 11, 2000, a notice was sent to the same local newspapers that announced that the
Five-Year Review report for the Acme Superfund site was complete, and that the results of the review and
the report were available to the public at the Riverside Town Library and the EPA Region 1 office.

Document Review

       This five-year review consisted of a review of relevant documents including O&M records and
monitoring data (See Attachment 3). Applicable groundwater cleanup standards, as listed in the 1992
Record of Decision, were reviewed (See Attachment 4).

Data Review

Groundwater Monitoring

        Groundwater monitoring has been conducted at the Acme Site since the late 1980s. In general,
most contaminants were detected at their highest levels early in the Removal/Remedial history of the site
(1989 to 1990). This high level followed by a drop in contaminant levels may well have been the result of
removal activities eliminating significant source material.

        The evaluation of the natural attenuation processes at the site was achieved by evaluating four
indicators that are recommended in the Use of Monitored Natural Attenuation at Superfund, RCRA
Corrective Action, and Underground Storage Tank Sites (OSWER Directive No. 9200.4-17P, April 21,
1999) for evaluating the performance of an MNA remedy. The four indicators are:

        •       Demonstrate that natural attenuation is occurring according to expectations;
        •       Detect changes in environmental conditions that may reduce the efficacy of the natural
                attenuation processes;
        •       Identify any potentially toxic or mobile transformation products; and
        •       Verify that the plume is not expanding either downgradient, laterally, or vertically.

         Since construction completion in 1997, 8 of the 13 contaminants for which groundwater cleanup
levels have been established, remained below their respective cleanup goals in all sampling events.
Furthermore, for the five contaminants that have exceeded their cleanup goals in recent sampling events,
there is a marked trend downward in concentrations. Recent monitoring results for the five contaminants
are shown in Table 3. MW-104b, MW-104c, and MW-105b are located on the southern end of the
treatment area which is the downgradient side. Therefore, trends in contaminant levels in these wells are
good indicators of the fate of contaminants remaining in the groundwater near to the original source areas.
In MW-104b and MW-104c, there is a clear downward trend in benzene concentrations, although
concentrations remain above the cleanup goals. There is a clear indication that concentrations of TCE and
the daughter products, cis 1,2-DCE and vinyl chloride are trending downward in MW-105b and MW-104c.
This monitoring record indicates that the groundwater attenuation process conceptualized in the ROD is
proceeding essentially as expected.



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 Table 3 - Quarterly Comparison of Groundwater Concentrations
                                      MCL                                   Concentration in ppb
                               Well
        Contaminant
                               No.    (ppb)     3/1999             6/1999         9/1999           12/1999        3/2000

           Benzene             104b     5        110*               130*         310 (est)*          120*          58*

           Benzene             104c     5       2,300*             4,900*          530*              190*          39*

           Benzene             103c     5        100*               130*            130*             100*           NS

       Trichlorethene          105b     5      15(est)*             5.5*            ND             0.29 (est)   0.014 (est)

        Vinyl chloride         105b     2         13*               5.2*            ND                ND        5.9 (est)*

    cis- 1 ,2,-Dicloroethene   104c    70        ND                 78*           7.4 (est)           5.8          0.88

             Lead              104c   0.015   0.005 (est)        0.004 (est)      0.017*              ND        0.003 (est)

* = Exceeds Cleanup Level
(est) = Estimated Value
ND = Not Detected
NS = Not Sampled

        No monitoring of environmental conditions that may affect the efficacy of the MNA remedy is
being conducted at this time. Given that contaminant concentrations continue to decline, such monitoring
may not be necessary, as attenuation processes appear to be functioning as expected.

        No potentially toxic or mobile transformation products have been identified during sampling events
that were not already present at the time of the ROD, and therefore have cleanup goals specified in the
ROD.

          Regarding plume migration, there is some concern that the plume may be migrating downgradient
toward the Green River. Concentrations of benzene in MW-103c have remained relatively stable since
March 1999, lacking the downward trend in concentrations for this contaminant seen in other wells. This
well is located downgradient from the treatment area and is closest to the river. This may be an indication
that the plume is being pulled toward the river. The lack of a sampling point for the March 2000 event, due
to the area of the well being flooded, gives rise to further concern. In the future, if it is not possible to
obtain a sample during a scheduled monitoring event, provisions have been made to return to the site at a
later date to obtain the sample and ensure that the monitoring record is complete.

Surface Water and Sediment Monitoring

        Quarterly analysis of surface water samples taken in areas adjacent to the wetland and in the Green
River found that all levels of contaminants of concern were below detection. Analysis of sediment samples
taken in portions of the wetland and the Green River where groundwater discharges to the surface found
contaminant levels also below detection limits.




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Site Inspection

        Inspections at the site were conducted on March 12, and May 23, 2000, by the RPM and an EPA
biologist (See Attachment 5). The purpose of the inspections was to assess the protectiveness of the
remedy, including the presence of fencing to restrict access, the integrity of the cap and the condition of the
restored wetlands. Institutional controls were evaluated by visiting the County Planning Office to review
zoning maps and by visiting the County Department of Health to review information on the site. A visit to
the County Office of Public Records to review the property deed confirmed that a deed covenant had been
filed.

         No significant issues have been identified at any time regarding the cap, the drainage structures, or
the fence. Examination of the cap revealed that there had been some slight burrowing of small animals.
Another minor issue was trespassing and its effect on plantings within restored wetlands. As noted, a joint
effort between the governments and the PSDs is being made to potentially change some of the wetland
areas which are subject to restoration. In addition, the use of additional fencing is being considered within
the site property boundaries to inhibit trespassing and better protect restored wetland plantings.

         The institutional controls that are in place include prohibitions on the use or disturbance of
groundwater until cleanup levels are achieved, excavation activities, disturbance of the cap, and any other
activities or actions that might interfere with the implemented remedy. No activities were observed that
would have violated the institutional controls. The cap and the surrounding area were undisturbed, and no
new uses of groundwater were observed.

Interviews

         Interviews were conducted with various parties connected to the site. Marjorie Edwards, owner of
nearby Pliny Products, was interviewed on June 17, 2000. Two nearby residents, Alice Parsons and
Michael Smith, were interviewed on July 18, 2000. No significant problems regarding the site were
identified during the interviews. However, Mr. Smith and Ms. Parsons did note that occasional passers by
have walked through the site. Paul Wainwright, a representative of the Riverside Conservation
Commission, was interviewed on July 18, 2000, and expressed concern that requirements for wetland
mitigation were not being observed. Mr. Wainwright was, however, confident that the problem would be
resolved when a parcel of neighboring land would be selected for the establishment of new wetlands.
During the May inspection, EPA interviewed the staff of the Fire and Rescue Department of Riverside,
MA. None of the staff were able to identify any concerns regarding the site and there had not been any
emergency responses at the site since the end of remedial construction.

VII. Technical Assessment

Question A: Is the remedy functioning as intended by the decision documents?

         The review of documents, ARARs, risk assumptions, and the results of the site inspection indicates
that the remedy is functioning as intended by the ROD, as modified by the ESD. The stabilization and
capping of contaminated soils and sediments has achieved the remedial objectives to minimize the
migration of contaminants to groundwater and surface water and prevent direct contact with, or ingestion



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 of, contaminants in soil and sediments. The effective implementation of institutional controls has
 prevented exposure to, or ingestion of, contaminated groundwater.

          Operation and maintenance of the cap and drainage structures has, on the whole, been effective. A
 few small areas showed evidence of burrowing of small animals. The burrows did not penetrate beyond
 the soil layer, and so did not affect protectiveness. The PSDs were arranging for filling of the burrows and
 will include the task of inspection and repair of small animal burrows in future O&M routines. O&M
 annual costs are consistent with original estimates and there are no indications of any difficulties with the
 remedy.                                     '

          Where the PSDs have had access to wetlands, the maintenance of the wetlands has been good. A
 0.32-acre portion of the wetlands has not been maintained because the property owner where the wetlands
 are located has denied access to the PSDs. EPA, the Riverside Conservation Commission, and the PSDs
 are currently working to identify an alternate location where wetlands can be developed. The failure to
 meet the wetlands mitigation requirements for the site does not affect the potential for release of
 contaminants and does not affect protectiveness for the site.

          There were no opportunities for system optimization observed during this review. The monitoring
 well network provides sufficient data to assess the progress of natural attenuation within the plume, and
 maintenance on the cap is sufficient to maintain it's integrity. There is some concern that the plume may
 be migrating downgradient toward the Green River. Concentrations of benzene in MW-103c have
 remained relatively stable since March 1999, lacking the downward trend in concentrations for this
 contaminant seen in other wells. This well is located downgradient from the treatment area and is closest
 to the river. This may be an indication that the plume is being pulled toward the river. The lack of a
 sampling point for the March 2000 event, due to the area of the well being flooded, gives rise to further
 concern.

        The institutional controls that are in place include prohibitions on the use or disturbance of
groundwater until cleanup levels are achieved, and prohibitions on excavation activities, disturbance of the
cap, and any other activities or actions that might interfere with the implemented remedy. No activities
were observed that would have violated the institutional controls. The cap and the surrounding area were
undisturbed, and no new uses of groundwater were observed. The fence around the site is intact and in
good repair.

  Question B: Are the exposure assumptions, toxicity data, cleanup levels, and remedial action objectives
. (RAOs) used at the time of the remedy selection still valid?

         There have been no changes in the physical conditions of the site that would affect the
protectiveness of the remedy.

 Changes in Standards and To Be Considereds

        As the remedial work has been completed, most ARARs for soil contamination cited in the ROD
have been met. ARARs that still must be met at this time and that have been evaluated include: the Safe
Drinking Water Act (SDWA) (40 CFR 141.11-141.16) from which many of the groundwater cleanup
levels were derived - [Maximum Contaminant Levels (MCLs), and MCL Goals (MCLGs)]; ARARs related


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to wetland protection; and ARARs related to post-closure monitoring. A list of ARARs is included in
Attachment 3. There have been no changes in these ARARs and no new standards or TBCs affecting the
protectiveness of the remedy.

Changes in Exposure Pathways, Toxicity, and Other Contaminant Characteristics

         The exposure assumptions used to develop the Human Health Risk Assessment included both
current exposures (older child trespasser, adult trespasser) and potential future exposures (young and older
future child resident, future adult resident and future adult worker). There have been no changes in the
toxicity factors for the contaminants of concern that were used in the baseline risk assessment. These
assumptions are considered to be conservative and reasonable in evaluating risk and developing risk-based
cleanup levels. No change to these assumptions, or the cleanup levels developed from them is warranted.
There has been no change to the standardized risk assessment methodology that could affect the
protectiveness of the remedy. The remedy is progressing as expected and it is expected that all
groundwater cleanup levels will be met within approximately 10 years.

 Question C: Has any other information come to light that could call into question the protectiveness of the
remedy?

         No ecological targets were identified during the baseline risk assessment and none were identified
during the five-year review, and therefore monitoring of ecological targets is not necessary. All sediment
and surface water samples analyzed found no contamination of wetlands or surface water. No weather-
related events have affected the protectiveness of the remedy. There is no other information that calls into
question the protectiveness of the remedy.
                      v



Technical Assessment Summary

         According to the data reviewed, the site inspection, and the interviews, the remedy is functioning
as intended by the ROD, as modified by the ESD. There have been no changes in the physical conditions
of the site that would affect the protectiveness of the remedy. Most ARARs for soil contamination cited in
the ROD have been met. There has been no changes in the toxicity factors for the contaminants of concern
that were used in the baseline risk assessment, and there have been no change to the standardized risk
assessment methodology that could affect the protectiveness of the remedy. There is no other information
that calls into question the protectiveness of the remedy.

VIM.    Issues

Table 4 - Issues
                                                                       Currently
                                                                                           Affects Future
                                                                        Affects
                              Issue                                                        Protectiveness
                                                                     Protectiveness
                                                                                               (Y/N)
                                                                         (Y/N)

 Evidence of small animal burrows at a few locations on the                 N                    N
 southwest corner of the cap.


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                                                                         Currently
                                                                                            Affects Future
                                                                          Affects
                               Issue                                                        Protectiveness
                                                                       Protectiveness
                                                                                                (Y/N)
                                                                           (Y/N)

 Failure to maintain 0.32 acres of the total 0.7 acres of wetlands           N                      N
 constructed to comply with wetlands mitigation requirements
 for the site.                             ?
 Inadequate monitoring data to verify that the plume is not                  N                      Y
 migrating

IX.     Recommendations and Follow-Up Actions

Table 5 - Recommendations and Follow-Up Actions
                                                                                               Affects
                  Recommendations/           Party          Oversight      Milestone       Protectiveness?
      Issue                                                                                     (Y/N)
                  Follow-up Actions        Responsible       Agency          Date
                                                                                          Current       Future

Animal           Repair current            PSDs            State/EPA      6/30/2001          N            N
burrows in       burrows; establish
cap              O&M task to ensure
                 future burrows are
                 identified and
                 repaired

0.32 acres of    Identify alternate        PSD,            State/EPA      9/30/2001          N            N
wetlands not     location at or near       Riverside
maintained       the site for wetlands     Conservation
due to access    development               Commission
problems

Inadequate        1 ) Increase             PSDs            State/EPA      9/30/2001          N            Y
monitoring       monitoring
data             frequency for MW-
                  103 cluster;
                 2) Investigate
                 groundwater
                 recharge to river;
                 and
                 3) Sample sediments
                 and groundwater
                 flux at recharge
                 points.


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X.      Protectiveness Statement

         The remedy is expected to be protective of human health and the environment upon attainment of
groundwater cleanup goals, through natural attenuation, which is expected to require 10 years to achieve.
In the interim, exposure pathways that could result in unacceptable risks are being controlled and
institutional controls are preventing exposure to, or the ingestion of, contaminated groundwater. All
threats at the site have been addressed through stabilization and capping of contaminated soil and
sediments, the installation of fencing and warning signs, and the implementation of institutional controls.

         Long-term protectiveness of the remedial action will be verified by obtaining additional
groundwater samples to fully evaluate potential migration of the contaminant plume downgradient from
the treatment area and towards the river. Current data indicate that the plume remains on site. Additional
sampling and analysis will be completed within the next six months. Current monitoring data indicate that
the remedy is functioning as required to achieve groundwater cleanup goals.

XI.     Next Review

        The next five-year review for the Acme Superfund Site is required by September 2005, five years
from the date of this review.




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                           ATTACHMENTS




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                                 ATTACHMENT 1
                               SITE LOCATION MAP




                                                    GREEN RIVER,




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                                     ATTACHMENT 2
                                        SITE PLAN




                   • .-*,
                     PROPERTY V'VUr.Rr. A. ;r,r-SS IS UNAVAIl ABLh :,




                                  ACME SUPERFUND SITE
                               RIVERSIDE. MASSACHUSETTS


                                     SITE PLAN
5819005-008                   1PQ         0         ..3*100
NOVEMBER 1999
                                    SCALE IN FEET

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                                         ATTACHMENT 3

                                    List of Documents Reviewed

Acme Remedial Design for Stabilization and Containment of Contaminated Soils and Sediments,
Riverside, MA, March 5, 1997

Acme Superfund Site Operations & Maintenance Plan, September 18, 1998

Acme Superfund Site PSDs/EPA Settlement Agreement, September 18, 1994

Acme Superfund Site Quarterly Groundwater Monitoring Reports, 1998 and 1999

Acme Superfund Site Record of Decision, September 30, 1992

Explanation of Significant Difference, Remedial Design, Acme Superfund Site, November 26, 1996

Riverside Wetlands Mitigation Plan, Riverside Conservation Commission, Riverside, MA, March 31, 1997




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                                                          ATTACHMENT 4

                                   Applicable or Relevant and Appropriate Requirements (ARARs)

 Medium/                    ARAR                      Status            Requirement Synopsis              Action to be taken to Attain
 Authority                                                                                                           ARAR

Groundwater/   Federal - SDWA - Maximum            Relevant      Standards (MCLs) have been             Remediation of contaminated
SDWA           Contaminant Levels (MCLs) (40       and           adopted as enforceable standards for   material in soils and sediment
               CFR Part 141.11 -141.16) and non-   Appropriate   public drinking water systems: goals   will eliminate ongoing discharges
               zero Maximum Contaminant                          (MCLGs) are non-enforceable levels     of contaminants to groundwater.
               Level Goals (MCLGs)                               for such systems.                      MCLs and non-zero MCLGs will
                                                                                                        be attained in groundwater at the
                                                                                                        point of compliance.




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 Medium/                    ARAR                     Status             Requirement Synopsis                Action to be taken to Attain
 Authority                                                                                                             ARAR
Surface        Federal - CWA - Ambient            Relevant and    AWQC are developed under the            The selected remedy will attain
Water/CWA      Water Quality Criteria (AWQQ-      Appropriate     Clean Water Act (CWA) as                AWQC in the wetland surface
               Protection of Freshwater Aquatic                   guidelines from which states develop    waters and river water after
               Life, Human Health, Fish                          -water quality standards. CERCLA         completion of remedial activities.
               Consumption                                        § 121(d)(2) requires compliance with
                                                                  such guidelines when they are
                                                                  relevant and appropriate. A more
                                                                  stringent AWQC for aquatic life may
                                                                  be found relevant and appropriate
                                                                  rather than an MCL, when protection
                                                                  of aquatic organisms is being
                                                                  considered at a site. Federal AWQC
                                                                  are health-based criteria which have
                                                                  been developed for 95 carcinogenic
                                                                  compounds; these criteria consider
                                                                  exposure to chemicals from drinking
                                                                  water and/or fish consumption.
                                                                  Acute and chronic exposure levels
                                                                  are established.

Groundwater/   State Department of                Applicable     State groundwater quality standards      The selected remedy will attain
CWA            Environmental Protection (DEP)                    have been promulgated for a number       State standards in the
               Massachusetts Groundwater                         of contaminants. When the state          groundwater at the point of
               Quality Standards (314 CMR                        levels are more stringent than federal   compliance after completion of
               6.00)                                             levels, the state levels will be used.   remedial activities.




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 Medium/                     ARAR                        Status              Requirement Synopsis              Action to be taken to Attain
 Authority                                                                                                                ARAR
Groundwater/   State - 310 CMR 22.06 Maximum          Relevant and     Maximum contaminant levels are        The selected remedy will attain
SDWA           Contaminant Levels for Inorganic       Appropriate      established for inorganic chemical    State MCLs for inorganics in the
               Chemicals in Drinking Water                             contaminants under 310 CMR 22.06.     groundwater at the point of
                                                                     * All public water systems must         compliance.
                                                                       comply with the levels of inorganic
                                                                       contaminants which are listed in
                                                                       Table 1 of 310 CMR 22.06.
Groundwater/   State - 310 CMR 22.07 Maximum          Relevant and    310 CMR 22.07 establishes              The selected remedy will attain
SDWA           Organic Chemical Contaminant           Appropriate     maximum contaminant levels for         State MCLs for organic
               Levels in Drinking Water                               selected chlorinated hydrocarbons,     contaminants in the groundwater
                                                                      pesticides and herbicides.             at the point of compliance.
Air/CAA        Federal - CAA - National               Applicable      NESHAP standards have been             Remediation technologies which
               Emissions Standards for                                promulgated for two organic            emit air contaminants regulated
               Hazardous Air Pollutants                               compounds present at the site,         under NESHAPs will attain the
               (NESHAP) (40 CFR Part 61)                              benzene and vinyl chloride.            appropriate standard during
                                                                                                             operation.
Soil/          Federal - Resource Conservation        Relevant and    Solid wastes containing PCBs           Any debris, soil, or sediment
Sediments/     and Recovery Act (RCRA) -              Appropriate     greater than lOppm must not be         which contains greater than 10
RCRA           Criteria for Classification of Solid                   incorporated into the soil (or mixed   ppm PCBs will be excavated and
               Waste Disposal and Practices (40                       with surface soil) applied to land     stabilized. Institutional controls
               CFR Part 257)                                          used for food chain or pasture crop    will prohibit the use of the site for
                                                                      production.                            agriculture.




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 Medium/                  ARAR                      Status           Requirement Synopsis                Action to be taken to Attain
 Authority                                                                                                          ARAR

Air/CAA      Federal - CAA - National            Applicable   NAAQS define levels of primary and       The levels established for these
             Ambient Air Quality Standards                    secondary levels for six common air      six air contaminants will be used
             (NAAQS) (40 CFR Part 50)                         contaminants [sulfur dioxide,            as target levels which may not be
                                                              paniculate matter (PM10), carbon         exceeded by air release from on-
                                                              monoxide, ozone, nitrogen dioxide        site activities.
                                                              and lead].

Surface      State Operation and Maintenance     Applicable   Regulations to ensure proper             Remedial activities will comply
Water/CWA    and Pretreatment Standards for                   operation and maintenance of             with all provisions of this
             Wastewater Treatment Works and                   wastewater treatment facilities and      regulation.
             Indirect Discharge (314 CMR                      sewer systems within the State.
             12.00)

Air/OSHA     Federal - Occupational Health and   To be        Acceptable employee exposure             Action levels for volatile a.id
             Safety Act (OSHA) (29 CFR Part      Considered   levels have been promulgated for an      semi-volatile air contaminants
             1910.1000 - Air Contaminants)                    extensive list of materials to control   will be established for
                                                              air quality in workplace                 implementation during on-site
                                                              environments.                            remedial actions. Exposure levels
                                                                                                       will also be used in the risk
                                                                                                       assessment to determine overall
                                                                                                       site risk.




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 Medium/                   ARAR                      Status           Requirement Synopsis                Action to be taken to Attain
 Authority                                                                                                           ARAR
Groundwater/   Federal - (Guidance) Groundwater   To be        Classifies groundwater by its            The groundwater aquifer will
CWA            Classification Guidelines          Considered   potential beneficial uses such as        meet the standards under the
                                                               special groundwater (Class 1) which      SDWA for the appropriate
                                                               is "highly vulnerable to                 classification of groundwater
                                                               contamination because of the             after completion of remedial
                                                               hydrological characteristics of the      activities.
                                                               areas in which it occurs and
                                                               characterized by either of the
                                                               following factors:

                                                               -   The groundwater is
                                                                   irreplaceable; no reasonable
                                                                   alternative source of drinking
                                                                   water is available to substantial
                                                                   populations.

                                                                   The groundwater is ecologically
                                                                   vital; the aquifer provides the
                                                                   base flow for a particularly
                                                                   sensitive ecological system that,
                                                                   if polluted, would destroy a
                                                                   unique habitat.

                                                               Class 2 groundwater is classified as a
                                                               current and potential source of
                                                               drinking water and waters having
                                                               other beneficial uses. All
                                                               groundwater which does not fit
                                                               under Class 1 and which is not
                                                               heavily saline (total dissolved solids
                                                               (TDS) > 10,000 mg/1) are considered
                                                               Class 2 groundwater.

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 Medium/                 ARAR                      Status           Requirement Synopsis               Action to be taken to Attain
 Authority                                                                                                        ARAR
Sediments/   Federal - NOAA Technical           To be        The memorandum identifies               Contaminated sediments will be
CWA          Memorandum NOS OMA 52              Considered   reference doses for various             remediated.
                                                             contaminants in sediments and their
                                                             potential biological effects on biota
                                                             exposed to the contaminants.
Wetlands/    Federal - CWA Section 404(b)(l);   Applicable   Requirements under these codes          Discharges to wetlands around
CWA          40 CFR Part 230,                                prohibit the discharge of dredged or    the site will comply with these
             33 CFR Parts 320 - 330                          fill material into wetlands unless      requirements.
                                                             those actions comply with the
                                                             substantive requirements which are
                                                             identified under these regulations.
Wetlands/    Federal Executive Orders 11990     Applicable   Under this regulation, Federal          Wetlands protection
CWA          Protectiori of Wetlands                         agencies are required to minimize       considerations will be
                                                             the destruction, loss, or degradation   incorporated into the planning
                                                             of wetlands, and preserve and           and implementation of this
                                                             enhance natural and beneficial          selected remedy.
                                                             values of wetlands.




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 Medium/                   ARAR                Status             Requirement Synopsis                Action to be taken to Attain
 Authority                                                                                                       ARAR

Floodplains/   Federal 40 CFR Part 264.18   Relevant and   This regulation identifies geological    This site is located within a 100-
RCRA           Location Standards           Appropriate    features that a proposed location for    year floodplain and a portion of
                                                           a RCRA hazardous waste treatment         the site may be within 200 feet of
                                                           and/or disposal facility must avoid.     a fault. On-site remediation
                                                           Three specific geological features       activities will comply with the
                                                           are identified of which two apply to     requirements of 40 CFR Parts
                                                           the site. These features and the         264.18(a)and(b).
                                                           significance are:

                                                           -   Floodplain - A facility located in
                                                               a 100-year floodplain must be
                                                               designed, constructed, operated,
                                                               and maintained to prevent
                                                               washout of any hazardous waste
                                                               unless the owner or operator can
                                                               demonstrate to the EPA
                                                               Regional Administrator that he
                                                               can meet the criteria established
                                                               under this subpart which
                                                               exempts him from complying
                                                               with this requirement.




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 Medium/                  ARAR                       Status           Requirement Synopsis                Action to be taken to Attain
 Authority                                                                                                           ARAR

Rivers/CWA   Federal - 16 USC 661 et. seq. Fish   Applicable   Mitigative actions must be taken to      Relevant federal agencies will be
             and Wildlife Coordination Act                     minimize potential adverse impacts       contacted to help analyze impacts
                                                               to natural sources such as wetlands.     of the implementation of remedial
                                                               Restoration of damaged natural           alternatives on wildlife in
                                                               features are required.                   wetlands and rivers. Restoration
                                                                                                        of impacted wetlands will occur
                                                                                                        once all excavation and
                                                                                                        stabilization activities are
                                                                                                        completed.
Wetlands/    State - Department of                Applicable   These regulations are promulgated        The selected remedy will include
CWA          Environmental Protection -                        under Wetlands Protection Laws,          measures to mitigate and/or
             Wetlands Protection (310 CMR                      which regulate dredging, filling,        replace loss of habitat or
             10.00)                                            altering or polluting inland wetlands.   hydraulic capacity in accordance
                                                               Work within 100 feet of a wetland is     with 310 CMR 10.00.
                                                               regulated under this requirement.
                                                               The requirement also defines
                                                               wetlands based on vegetation types
                                                               and requires that effects on wetlands
                                                               be mitigated.




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                            Appendix G
Methods and Examples for Evaluating Changes in Standards and Toxicity




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    Methods and Examples for Evaluating Changes in Standards and
                              Toxicity

    This appendix provides a series of flowcharts and examples that you can use to aid in
evaluating changes in promulgated standards and chemical toxicity characteristics. The following
tables are arranged in two sets, with a generic decision flowchart first. A hypothetical example
follows with an example of the flowchart filled in according to the information in the hypothetical
example.




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Exhibit G-1: Evaluating Changes in Standards



        Review standards identified as
         ARARs in the ROD and new
                                                     Have there been
           standards that might be                                                   ARAR/standard
                                                   changes that might
          applicable or relevant and                                                analysis complete
                                                  affect protectiveness?
         appropriate, and that might
             affect protectiveness


                                                           Yes


        Evaluate and compare the old
            standard with the new                  Is the new standard               ARAR/standard
        standard and their associated                more stringent?                analysis complete
                    risks




                                                                              ARAR/standard analysis
              Is the new currently
                                                                                complete; evaluate
          calculated risk associated
                                                                             RAOs and the impact of the
           with the old standard still
                                                                             new/revised standard (see
           within EPA's risk range?
                                                                                   Section 4.2.4)




                                                                              Consider recommending
        Old standard is considered not
                                                    Can the remedy            the adoption of the more
      protective: therefore newly revised
                                                     meet the new            stringent standard through
        (protective) standard should be
                                                      standard?               the appropriate decision
                    adopted
                                                                                      document




                                                           No



                                                  Recommend follow-up
                                                       actions




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Exhibit G-2: Hypothetical Scenario for a Change in a Standard
 During the 1998 Five-Year Review for the Flower Dye site in the State of Franklin, the review team learned that
 the State drinking water standard for 2,4-Dinitrochickenwire changed from 20 parts per billion (ppb) to 2 ppb. The
 Record of Decision (ROD), signed in 1988, identified the state standard for 2,4-Dinitrochickenwire as an ARAR
 and established a cleanup level for 2,4-Dinitrochickenwire at 20 ppb. The ROD also specified that the remedial
 action objective (RAO) for groundwater is to restore groundwater to drinking water standards. The remedy is to
 pump-and-treat groundwater using extraction and reinjection wells with air stripping.

 In the ARAR/standard analysis (See Exhibit G-1) it was identified that the standard (ARAR) of 20 ppb at the time
 the ROD was signed had an associated risk of 5x105, which was within EPA's risk range. However, the current
 risk associated with the same level (20 ppb) now is 5x1O"4 due to changes in the toxicity information that is the
 basis for the standard. This is generally considered outside of EPA's risk range and therefore, generally
 considered not protective. As part of the evaluation it was determined that the new standard (2 ppb) has an
 associated risk of 5x10"5, which is within EPA's risk range.

 In examining the treatment records, monitoring reports, and existing groundwater modeling information, it was
 determined that the system can treat to 2 ppb, and potentially the remedy can achieve that level in the
 groundwater. Since the old standard (20 ppb) is no longer considered protective, further actions needed to be
 taken to ensure that the remedy achieves protectiveness. These actions included the adoption of a protective
 cleanup level. Therefore, the Five-Year Review report recommended that the new standard (2 ppb) be adopted
 through an Explanation of Significant Difference. The physical remedy did not have to be modified because it
 was determined that it could achieve the 2 ppb level. In addition, the RAOs would also be achieved and would
 not require any modification.




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      Exhibit G-3: Decision Process for a Hypothetical Change in Standard



                                                                   Have there been
            2-4 Di-NitroChickenwire: ARAR
                                                                 changes that might
               Original standard: 20 ppb
                                                                affect protectiveness?




                                                                          Yes:
                                                               Standard in ROD: 20 ppb
                                                              New State Standard: 2 ppb




       Evaluate and compare the old standard with                Is the new standard
                                                      -Yes
       the new standard and their associated risk                  more stringent?




                                                  5
         Risk at 20 ppb at time of ROD: 5 x 1 0
               Risk at 20 ppb now: 5 x 10 "4
               Risk at 2 ppb now: 5 x 1 0 " 5




                                                                                           ARAR/standard analysis
             Is the new currently calculated                                                  complete; evaluate
               risk associated with the old                                                RAOs and the impact of
                                                                 Yes-
             standard still within EPA's risk                                                  the new/revised
                          range?                                                            standard (see Section
                                                                                                    4.2.4)




                                                                                          The review recommends
                 Can the remedy meet                                                      the adoption of the new
                  the new standard?                                                        State standard through
                                                                                                   an ESD




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      Exhibit G-4: Evaluating Changes in Toxicity and Other
      Contaminant Characteristics

               Review toxicity and
               other contaminant
               characteristic data




                                                            Analysis is complete




              Has the estimated risk
                                                            Analysis is complete
              potentially increased?




      Recalculate risk using the cleanup
         level identified in the ROD




                                                            Recommended follow-up actions,
              Is the new currently
                                                                such as developing a new
          (:alculated risk still within
                                                           protective cleanup level through the
               EPA's risk
                                                             appropriate decision document




                       Yes



              Analysis is complete




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Exhibit G-5: Hypothetical Scenario for a Change in Toxicity




 During the 1998 Five-Year Review at the Old Pesticide Disposal site in the State of Franklin, the review team
 determined that the Cancer Slope Factor (CSF) for the pesticide "Hypochem" had been increased in 1996
 from 0.05 (mg/kg-day)"1 to 20.00 (mg/kg-day)"1. Hypochem, among other contaminants, had been found in the
 water supply well across the street from the Old Pesticide Disposal facility at a concentration of 0.001 mg/L.
 When the ROD was signed in 1986, this level was associated with a risk level less than one in one million
 excess cancer cases based on the following equations and site-specific exposure parameters:

                   Average Daily Intake (mg/kg-day) = (CWater * IR*EF*ED)/(BW*AT)                                 (1)

          where:
                   Parameter                                                                 Site Scenario
                   Cwaier    =        Contaminant concentration in water (mg/L)
                   IR        =        Drinking water intake (ingestion) rate (L/day)         2 LVday
                   EF        =        Exposure frequency (days/year)                         350 days/year
                   ED        =        Exposure duration (years)                              30 years
                   BW        =        Body weight (kg)                                       70 kg
                   AT        =        Average time (days)                                    25,550 days

          Target Risk (R) = Average Daily Intake * Cancer Slope Factor                                            (2)

 When equations (1) and (2) are combined, the allowable concentration of Hypochem (CWaler) that corresponds
 to a given risk level "R," can be determined by inserting the site-specific parameters into the following
 equation:

                   Cwa,er (mg/L) = (R*BW*AT) /(CSF*IR*EF*ED)                                                      (3)

 The Old Pesticide Disposal site's original one in one million risk level R = 1x10"6) was based on the original
 CSF of 0.05. Thus, equation (3) yielded a health-based screening level for Hypochem of:

                                      Cwaler for R of 1x106 = 0.001704 mg/L

 Since the actual concentration of Hypochem in the water in 1986 was 0.001 mg/L, and thus fell within
 acceptable limits, there was no need to reduce its levels. (The risk corresponded to 0.6 new cases per million
 people.) However, using the new CSF of 20.00 to achieve a one in one million risk level R = 1x10"6), the new
 health-based screening level for Hypochem becomes:

                                     Cwater for R of 1x106 = 0.00000426 mg/L

 and using the new CSF of 20.00 to achieve one in a ten thousand risk level R = IxlO"4), equation (3) yields a
 Cwale, value of:

                                      Cwaie, for R of 1x10'4 = 0.000426 mg/L




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Exhibit G-5: Hypothetical Scenario for a Change in Toxicity, cont'd.


 The 1986 ROD selected pumping and air stripping of the groundwater to remove solvents also found in the
 groundwater, and groundwater recharge. Based on sampling records of the recharge water, the stripping unit did
 not significantly reduce Hypochem concentrations. In fact the current concentration of Hypochem in groundwater
 is 0.0008 mg/L Given the new cancer risk factor, the levels of Hypochem are not acceptable because the risk
 based on this new factor is greater than one in ten thousand (1 X 10"4).

 Based on this result, the Five-Year Review report recommended that a protective cleanup level be developed
 through the appropriate decision document. In addition, the physical remedy would have to be evaluated to
 determine whether the current system would be able to reduce the level of Hypochem to protective/acceptable
 concentrations.




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 Exhibit G-6: Decision Process for a Hypothetical Change in Toxicity


                                                     The cancer slope factor for Hypochem has
                                                      changed from20.0 to 0.05 (mg/kg-day)'1;
       Review toxicity and
                                                       original cleanup level was 0.0017 mg/L
       other contaminant
       characteristic data




            Have data                                       Yes, the cancer slope factor
            changed?                                                  changed




           Has the risk                                  The new excess lifetime cancer risk
            potentially                                has increased from less than 1 x 10'6 to
           increased?                                            greater than 1 x 10"1




                                                         The risk is above EPA's generally
         Recalculate risk
                                                         acceptable 10' 4 to 10"6 risk range




                                                        The cleanup level would need to be
         Is the new risk
                                                    0.00000426 mg/L or lower to yield the same
          acceptable?
                                                                     risk level




                                                     The review recommends adopting a new
                                                     cleanup standard documented through an
                                                                      ESD




      an the remedy meet the                       The remedy will need evaluation to determine
          new standard?                                      if it can meet this level




                                            G-10
